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 *FOR PUBLICATION*

                     UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
 ____________________________________
 IN RE: JOHNSON & JOHNSON             : MDL No. 2738
 TALCUM POWDER PRODUCTS               : Civil Action No.: 16-2738(FLW)
 MARKETING, SALES PRACTICES :
 AND PRODUCTS LITIGATION             :         OPINION
                                     :
 ____________________________________:

 WOLFSON, Chief Judge:

        Individual consumer-plaintiffs (“Plaintiffs”) brought product-liability actions

 in their respective states against defendants Johnson & Johnson (“J&J”), Johnson &

 Johnson Consumer Inc. f/k/a Johnson & Johnson Consumer Companies, Inc., Imerys

 Talc America, Inc. f/k/a Luzenac America, Inc. f/k/a Ro Tinto Minerals, Inc.

 (“Imerys”), 1   and   Personal   Care    Products    Council    (“PCPC”)    (collectively,

 “Defendants”), alleging that the prolonged perineal use of talcum powder products

 manufactured by J&J has caused ovarian cancer. Those cases have been transferred

 to this Multidistrict Litigation (“MDL”) by the MDL Panel for pretrial coordination

 purposes. Plaintiffs’ theory of liability centers on their claim that talcum powder

 causes ovarian cancer, in substantial part, because it contains traces of cancer-

 causing asbestos and other heavy metals. After years of discovery, both parties have

 proffered their experts on various scientific issues related to, inter alia, causation and




 1     During the pendency of these matters, Imerys petitioned for bankruptcy in the
 United States Bankruptcy Court for the District of Delaware. As such, all cases
 against Imerys have been stayed as a result of the automatic stay, and no Daubert
 motions have been filed on behalf of Imerys.
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 testing of talcum powder for asbestos, and each side has moved to exclude the

 testimony of the other side’s experts. Although each party has named numerous

 experts, a combined total of more than 35 experts, the Court held a Daubert hearing

 in which only five experts testified on behalf of Plaintiffs, and three experts testified

 on behalf of Defendants. 2 In this Opinion, the Court determines whether these eight

 experts are qualified to testify in this case and whether their proffered testimony is

 admissible under Rule 702 of the Federal Rules of Evidence. For the reasons set forth

 below, Defendants’ motions are GRANTED in part and DENIED in part 3;

 Plaintiffs’ motions are DENIED. Importantly, the reasoning in this Court’s Opinion,

 applies with equal force to the remainder of the pending Daubert motions; and, in

 that regard, the parties are directed to confer and raise any issues with respect to




 2      The Daubert hearing was held as a result of a number of motions filed by both
 parties to disqualify each other’s experts. Rather than calling every expert
 challenged by the motions, the parties selected certain experts as representatives of
 each field of science involved in this case. The following experts testified on behalf of
 Plaintiffs: Dr. Ghassan Saed, Dr. William Longo, Dr. Arch Carson, Dr. Anne
 McTiernan, and Dr. Daniel Clarke-Pearson. The defense experts who testified are as
 follows: Dr. Benjamin Neel, Dr. Gregory Diette, and Dr. Cheryl Saenz.

 3      Defendants’ motion to exclude the testimony of Dr. Saed is granted in part and
 denied in part; Dr. Saed will not be permitted to testify that his in vitro study
 demonstrated a causal relationship between talc and ovarian cancer. Defendants’
 motion to exclude the testimony of Dr. Longo is granted in part and denied in part;
 Dr. Longo will not be permitted to opine on the results of his PLM testing nor will he
 be permitted to opine as to whether talc users were exposed to asbestos. Defendants’
 motion to exclude Plaintiffs’ general causation experts, Dr. McTiernan, Dr. Clarke-
 Pearson, and Dr. Carson, is granted in part and denied in part; the general causation
 experts will not be permitted to opine as to their theory that ovarian cancer may be
 caused by the inhalation of talcum powder that travels through the lymphatic system
 to the ovaries.


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 specific experts, e.g., qualifications, that are not covered by this Opinion, within 45

 days of the date of the accompanying Order. 4

                                   BACKGROUND

       The following factual overview is derived from Plaintiffs’ Amended Long Form

 Complaint. J&J manufactures certain Baby Powder and Shower to Shower products

 that contain talcum powder as their main ingredient. Imerys was in the business of

 mining and distributing talc for use in those J&J products during the relevant time

 period. 5 PCPC is a national trade association representing the personal care and

 cosmetics industry for the purposes of interacting with and influencing local, state

 and federal government agencies on issues related to the regulation and marketing

 of talc based body powders, including J&J talc products.

       An inorganic mineral, talc is a magnesium trisilicate that is mined from the

 earth. While talc powder is used for many different purposes, J&J talc products use

 talcum powder to absorb moisture and to dry skin when applied on the human body.

 According to Plaintiffs, J&J advertised and marketed their talc products as safe for



 4      PCPC has joined J&J’s Daubert motions to exclude Plaintiffs’ experts. (See
 PCPC’s Mot. to Join & Adopt J&J’s Daubert Mots., ECF No. 9721.) In addition,
 Plaintiffs filed a motion to disqualify PCPC’s epidemiologist, Jonathan Borak, who
 did not testify at the Daubert hearing. Although that motion is not addressed here,
 the reasoning, discussed in this Opinion, as to why Plaintiffs’ motions to exclude Drs.
 Neel and Saenz are denied, apply with equal force to PCPC’s expert. Nevertheless, if
 there are any remaining issues as to Dr. Borak, the parties may bring it to the Court’s
 attention within 45 days of the date of the accompanying Order.

 5     Imerys is the successor or continuation of Luzenac America, Inc. and Rio Tinto
 Minerals, Inc. Imerys is legally responsible for the conduct of Luzenac America, Inc.
 and Rio Tinto Minerals, Inc.


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 use by women in the genital area in order to keep skin feeling dry and comfortable.

 Compl.,¶ 26. In that regard, Plaintiffs claim that J&J touted that its products are

 “clinically proven gentle and mild.” Id. at ¶ 25.

       The Complaint details various studies, conducted as early as 1971, that

 suggest an association between the perineal use of talc and ovarian cancer. 6 See

 Compl., ¶¶ 28-33. In fact, according to Plaintiffs, J&J knew the danger of talc as

 early as the 1970s. Id. ¶ 29; see also Compl., Ex. 8. In that regard, Plaintiffs maintain

 that Defendants knew of the adverse risks of using talc and talc-based body powders

 in the perineal area and developing ovarian cancer, and had a duty to warn about the

 potential hazards associated with use of those products. Compl., ¶ 50. Distilling

 Plaintiffs’ claims to their essence, central to this case is whether the use of talcum

 powder increases the risk of ovarian cancer. In support of their claims, Plaintiffs,

 first, theorize that the presence of asbestos fibers, among other heavy metals, in

 talcum powder likely increases the risk of ovarian cancer.         Moreover, Plaintiffs




 6      Because of talc’s alleged carcinogenic properties, studies continue to be
 conducted by the scientific community. In fact, during the pendency of these motions,
 the parties have updated the Court with a number of studies that have been recently
 released on this topic. Those submissions, however, do not alter the Court’s Daubert
 analyses in this Opinion, since the parties have not requested leave to supplement
 any expert reports based on newly published studies. Rather, because the experts
 who are the subject of these Daubert motions did not review the newly-released
 studies in forming their expert opinions challenged here, I will not consider those
 studies for the purpose of resolving the pending motions. However, this does not
 foreclose the possibility that the parties may seek leave from the Court to supplement
 an expert’s report based on any new and relevant studies. And, indeed, if such
 supplemental reports impact my Daubert decisions made in this Opinion, I may
 amend my rulings at a later time.


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 submit that the vast majority of the epidemiological 7 studies prove a positive and

 strong correlation of talc use and ovarian cancer.

           Plaintiffs seek to prove such a correlation through experts in the areas of

 epidemiology, biology/oxidative stress and ovarian cancer, and materials science.

 Drs. McTiernan, Carson, and Clarke-Pearson were proffered as experts in

 epidemiology. Dr. Saed was presented as an expert in oxidative stress and ovarian

 cancer.   And, finally, Dr. Longo testified on behalf of Plaintiffs as an expert in

 materials science. Defendants seek to disprove such a correlation and presented Dr.

 Diette as an expert in epidemiology, Dr. Neel as an expert in molecular biology, and

 Dr. Saenz as an expert in gynecology and oncology.

                                     DISCUSSION

 I.    LEGAL STANDARD

       The admission of expert testimony is governed by Rule 702 of the Federal

 Rules of Evidence, which provides that

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form
               of an opinion or otherwise if:

               (a) the expert's scientific, technical, or other specialized
                   knowledge will help the trier of fact to understand the
                   evidence or to determine a fact in issue;

               (b) the testimony is based on sufficient facts or data;

               (c) the testimony is the product of reliable principles and


 7     Epidemiology is the study and analysis of the distribution (who, when, and
 where), patterns and determinants of health and disease conditions in defined
 populations. Michael D. Green, et al., Reference Guide on Epidemiology, in Reference
 Manual on Scientific Evidence 549, 551, 623 (Fed. Jud. Ctr., 3d Ed. 2011)
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                  methods; and

              (d) the expert has reliably applied the principles and
                  methods to the facts of the case.

 Fed. R. Evid. 702.     It is well-established that “Rule 702 embodies a trilogy of

 restrictions on expert testimony: qualification, reliability, and fit.” Ruggiero v.

 Yamaha Motor Corp., U.S.A., 778 F. App’x 88, 93 (3d Cir. 2019) (quoting Schneider

 ex rel. Estate of Schneider v. Fried, 320 F.2d 396, 404 (3d Cir. 2003)). In Daubert v.

 Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), the Supreme Court defined

 the operation and scope of Rule 702 with respect to expert testimony. The Daubert

 Court ruled that trial courts must perform a gatekeeping function to ensure the

 relevance and reliability of expert testimony. Id. at 589–95. In conducting this

 analysis, courts are to consider “all aspects of the expert’s testing: the methodology,

 the facts underlying the expert’s opinion, [and] the link between the facts and the

 conclusion.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 291–92 (3d Cir. 2012)

 (alteration in original) (quoting Heller v. Shaw Indus., Inc., 167 F.3d 146, 155 (3d Cir.

 1999)).   Moreover, courts must ensure that expert testimony reflects accepted

 standards within the relevant scientific and business communities. See In re Johnson

 & Johnson Derivative Litig., 900 F. Supp. 2d 467, 492 (D.N.J. 2012) (“[T]he Court's

 role under Rule 702 is to ensure that expert testimony reflects accepted standards

 within the relevant scientific and business communities—it is not to serve as an

 umpire between competing subsets of a given community.”).

       The first prong of admissibility considers whether an expert is qualified “to

 render an opinion when he or she ‘possesses specialized expertise.’” In re Human

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 Tissue Prods. Liability Litig., 582 F. Supp. 2d 644, 655 (D.N.J. 2008) (quoting Pineda

 v. Ford Motor Corp.,520 F.3d 237, 244 (3d Cir. 2008)). This factor is applied liberally

 and “courts have been cautioned not to exclude expert testimony merely because the

 court feels that the expert is not the best qualified or that the expert does not possess

 the most appropriate specialization.” Id.

       The second prong of admissibility concerns the reliability of the expert’s

 methodology. See Fed. R. Evid. 702(c). The Third Circuit has explained that “’an

 expert’s testimony is admissible so long as the process or technique the expert used

 in formulating the opinion is reliable.” Pineda, 520 F.3d at 244 (quoting In re Paoli

 R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d Cir. 1994)); see also In re TMI Litig., 193

 F.3d 613, 663–64 (3d Cir. 1999), amended, 199 F.3d 158 (3d Cir. 2000). This has been

 interpreted to mean that an “expert’s opinion must be based on the ‘methods and

 procedures of science’ rather than on ‘subjective belief or unsupported speculation.’”

 In re Paoli, 35 F.3d at 742 (quoting Daubert, 509 U.S. at 590); see also Karlo v.

 Pittsburgh Glass Works, LLC, 849 F.3d 61, 81 (3d Cir. 2017) (“‘The test of

 admissibility is not whether a particular scientific opinion has the best foundation,

 or even whether the opinion is supported by the best methodology or unassailable

 research.’ Instead, the court looks to whether the expert’s testimony is supported by

 ‘good grounds.’” (citation omitted) (quoting In re TMI, 193 F.3d at 665). In Paoli, the

 Third Circuit explained that even if the judge believes that “there are better grounds

 for some alternative conclusion,” or that there are some flaws in the scientist’s

 methods, the expert’s testimony should be admitted so long as there are “good



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 grounds” for his or her conclusion. Id. at 744. In that connection, “an expert opinion

 is not inadmissible because it may contain flaws, nor is it excludable because it

 provides testimony regarding only one facet or aspect of an action but does not prove

 the whole case; such vulnerabilities affect the weight of the testimony, not its

 admissibility.” Feit v. Great-W. Life & Annuity Ins. Co., 460 F. Supp. 2d 632, 641

 (D.N.J. 2006).

       In evaluating whether an expert’s particular methodology is reliable, a trial

 court may consider any of these several factors: (1) whether a method consists of a

 testable hypothesis; (2) whether the method has been subject to peer review; (3) the

 known or potential rate of error; (4) the existence and maintenance of standards

 controlling the technique’s operation; (5) whether the method is generally accepted;

 (6) the relationship of the technique to methods which have been established to be

 reliable; (7) the qualifications of the expert witness testifying based on the

 methodology; and (8) the non-judicial uses to which the method has been put. See

 United States v. Downing, 753 F.2d 1224, 1238–39 (3d Cir. 1985); see also Pineda, 520

 F.3d at 247–48 & n.8; Elcock v. Kmart Corp., 233 F.3d 734, 745–46 (3d Cir. 2000)

 (noting that “each factor need not be applied in every case”). While the court’s

 reliability analysis is focused on the methodology employed by the expert, as opposed

 to his or her conclusions, the Supreme Court has acknowledged that “conclusions and

 methodology are not entirely distinct from one another.” General Elec. Co. v. Joiner,

 522 U.S. 136, 146 (1997). Thus, it is acceptable for the court to conduct “at least a

 limited review of the expert’s conclusions ‘in order to determine whether they could



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 reliably flow from the facts known to the expert and the methodology used.’” In re

 Human Tissue, 582 F. Supp. 2d at 656 (quoting Heller v. Shaw Indus., Inc., 167 F.3d

 146, 152 (3d Cir. 1999)).

       The third prong of admissibility, fit, concerns whether the expert’s testimony

 will be helpful to the trier of fact. See Fed. R. Evid. 702(a). The Third Circuit has

 explained that “admissibility depends in part on ‘the proffered connection between

 the scientific research or test result to be presented and particular disputed factual

 issues in the case.’” In re Paoli, 35 F.3d at 743 (quoting Downing, 753 F.2d at 1237).

 Whether an expert’s testimony meets the fit requirement “is not always obvious, and

 scientific validity for one purpose is not necessarily scientific validity for other,

 unrelated purposes.” Id. (quoting Daubert, 509 U.S. at 591).

 II.   PLAINTIFFS’ EXPERTS

       The Court will discuss each expert, and the relevant legal issues that pertain

 to each of them, separately.

       A.     DR. GHASSAN SAED

              i.     Qualifications

       Plaintiffs proffer Dr. Saed as an expert in inflammation and oxidative stress.

 Dr. Saed is the Director of Ovarian Cancer Research and an Associate Professor at

 Wayne State University in Detroit, Michigan. (Saed Daubert Hr’g Tr., at 2.) He

 serves as a faculty member of the School of Medicine in the departments of Obstetrics

 & Gynecology, Cell Biology, and Anatomy & Physiology, and is also an Associate

 Professor in the Department of Oncology at Karmanos Cancer Institute in Detroit,



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  Michigan. (Id.) Before then, the doctor received a Ph.D. in Molecular Biology at the

  University of Essex in Colchester, England. (Id.) Dr. Saed’s laboratory “studies the

  effect of oxidative stress, inflammation in the causation of diseases, especially

  cancer.” (Id.) Indeed, he has purportedly published over 140 peer-reviewed articles

  in different specialty journals, over 50 of which are “specifically related to oxidative

  stress and ovarian cancer.” (Id.) 8

        In August 2017, Plaintiffs contacted Dr. Saed to “discuss the possibility of

  acting as a witness expert in ovarian cancer[,] inflammation, and oxidative stress.”

  (Saed Dep. Tr., Jan. 23, 2019, at 25.) Thereafter, Dr. Saed met with Plaintiffs’ counsel

  and “agreed in principle to serve as a consultant for what [he is] an expert in, which

  is oxidative stress and ovarian cancer, and [he] promised to run data, do some work,

  because [he] wanted to find out if there is molecular evidence to support the effect of

  talcum powder on the . . . markers for risk of ovarian cancer.”            (Id. at 276.)

  Accordingly, in the fall of 2017, Dr. Saed and his laboratory began an in vitro 9 study



  8      Defendants do not specifically challenge Dr. Saed’s qualifications to testify as
  an expert in his stated specialty of “inflammation and oxidative stress that is linked
  to ovarian cancer.” (See Defs.’ Br., in Supp. Mot. to Exclude Dr. Saed (“Defs.’ Saed
  Br.,”) at 5–6; Saed Dep Tr., Jan. 23, 2019, at 27.) Nevertheless, Defendants note in
  their briefing that Dr. Saed is not experienced in conducting studies with talc. (Defs.’
  Saed Br., at 5.) Notwithstanding this position, the Court is satisfied that Plaintiffs
  have met their threshold burden of demonstrating Dr. Saed’s qualifications to testify
  as an expert in this matter. Simply because Dr. Saed had not previously conducted
  any studies involving talc does not disqualify him from testifying as an expert with
  respect to his in vitro study on talc, see In re Human Tissue, 582 F. Supp. 2d at 655,
  and Defendants do not suggest that Dr. Saed is unqualified to conduct in vitro studies
  related to oxidative stress.

  9      In vitro is defined as “[a] research or testing methodology that uses living cells
  in an artificial or test tube system, or that is otherwise performed outside of a living
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  to explore the role of talc in the carcinogenesis of ovarian cancer. (See Saed Daubert

  Hr’g Tr., at 116.) Upon completion of the study, Dr. Saed submitted a manuscript

  setting forth the results of his study for publication to Gynecologic Oncology, a peer-

  reviewed journal, which declined to publish the study. (Id. at 67.) Ultimately, Dr.

  Saed’s manuscript was published in a journal, Reproductive Sciences, after

  undergoing peer review. (Id. at 18.)

               ii.      Dr. Saed’s Experiment Design

        In his expert report, Dr. Saed opined that talc, like asbestos, is a silicate

  mineral that has been linked to have potential carcinogenic effects. (Saed Expert

  Rep., at 10.)   In order to determine whether there is a molecular basis for the

  association between the use of talcum powder and ovarian cancer, Dr. Saed designed

  a cellular experiment wherein he explored talc and its causal connection to the

  pathogenesis of ovarian cancer and the relationship between inflammation and other

  pathological conditions in ovarian cells. (Id. at 13.) A summary of his methodologies

  is set forth below.

        First, Dr. Saed chose six different cells for his experiment: 1) three separate

  types of ovarian cancer cells (i.e., SKOV-3, A2780 and TOV112D); 2) human

  macrophage cells; 3) human primary normal ovarian epithelial cells; 4) immortalized

  human fallopian tube secretory epithelial cells. The cells were grown pursuant to




  organism.” Bernard D. Goldstein & Mary Sue Henefin, Reference Guide on
  Toxicology, in Reference Manual on Scientific Evidence 633, 682 (Fed. Jud. Ctr., 3d
  ed. 2011).


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  each of their respective specifications. (Id.) Second, the cells were then seeded in

  100mm cell culture dishes. After 24 hours, certain cell dishes were treated with a

  mixture consisting of talcum powder and a solvent, DMSO. The cells were treated

  with either 0, 5, 20 or 100 ug/ml of the mixture for 72 hours. (Id. at 14.) Thereafter,

  cell pellets were collected for RNA, DNA, and protein extraction. Cell culture was

  collected for CA-125 analysis, as well.

        Once the cells were prepared, Dr. Saed performed the following tests:

        1.     Real Time-PCR (“RT-PCR”) “to quantify RNA expression using redox

               gene specific primers.” (Pls.’ Saed Br., at 10.) In other words, the cells

               were subjected to reverse transcriptase, a method used in order to detect

               the presence of specific proteins in the cells. Dr. Saed explained that the

               presence of certain proteins or enzymes is an indicator that the cell is in

               a pro-oxidative state, or experiencing oxidative stress. (Saed Expert

               Rep., at 4.) According to Dr. Saed, those indicators include, inter alia,

               ß-actin, CAT, GSR, iNOS, MPO, GTX, and SOD3. (Id.) To opine on

               whether certain cells were experiencing oxidative stress, Dr. Saed

               measured the presence of these proteins or enzymes and recorded the

               data accordingly.

        2.     Commercially available ELISAs, which “measure redox protein levels

               and enzyme activities. (Pls.’ Saed Br., at 9–10.) Dr. Saed explained that

               ELISAs are “a well-established technique” and were used to measure

               CA-125, a cancer antigen and “marker of inflammation,” and the



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               enzymes CAT, SOD3, GSR, GPX1, and MPO. (See Saed Daubert Hr’g

               Tr., at 12, 54; Saed Expert Rep., at 15.)

        3.     MTT cell proliferation assay, “which is a very commonly used assay to

               measure cell divisions.” (Saed Daubert Hr’g Tr., at 54; Pls.’ Saed Br., at

               10.) Cell proliferation “is cell division, but in cancer cell division which

               is uncontrolled.” (Saed Daubert Hr’g Tr., at 56.)

        4.     Caspase 3 colorimetric assays “to measure apoptosis and programmed

               cell death.”   (Pls.’ Saed Br., at 10; Saed Daubert Hr’g Tr., at 54.)

               Apoptosis is “a programmed cell death that occurs in the body that

               eliminates bad cells that develop very single minute in our body.” (Saed

               Daubert Hr’g Tr., at 56.)

        5.     Taqman SNP Genotyping Assay, which “identif[ies] DNA point

               mutations induced by talcum powder treatment.” (Pls.’ Saed Br., at 10;

               Saed Daubert Hr’g Tr., at 54.)

        Each of the tests was performed across all six cell lines and the samples,

  according to Dr. Saed, were assayed in triplicate. At the Daubert Hearing, the doctor

  explained the concept of testing in triplicate and how he conducted his study:

               Triplicate . . . in cell culture as we do it. We do it in one
               way to take one cell, one plate, and divide it into three
               different plates, and that’s considered the triplicate.

               The other way which I like to do in cases like this is to,
               instead of getting one cell line, divid[ing] it into three, I got
               six different cell lines and I used them.

               So if you find the effect, the same that we found with
               talcum powder in six different cell lines, it will be way more

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               powerful than finding this effect in one cell line split into
               three.

  (Saed Daubert Hr’g Tr., at 50–51.)        Further, Dr. Saed maintained laboratory

  notebooks of his research, where he, or an assistant, recorded the collected data for

  each assay or test.     Dr. Saed explained that his laboratory’s instruments are

  computerized, so all the data is collected from “the computer of the assay machine to

  a main computer” where the data is transferred to an Excel spreadsheet. (Id. at 19.)

  The spreadsheet of data for a certain assay is then printed and glued into the

  experiment’s notebook. (Id. at 19–20.) The methodology being used for each assay is

  additionally set forth in the notebook adjacent to the relevant table of data. (See id.)

  Dr. Saed claims that these practices “are established methods in [his] laboratory and

  also very well known to the scientific research community.” (Id. at 20.)

        Based on the collective results of the various assays ran by Dr. Saed’s

  laboratory, the relevant literature, and his experience in the field of oxidative stress,

  Dr. Saed makes several essential conclusions in his report:

        (1)    Johnson’s Baby Powder elicits an inflammatory response
               in normal ovarian and tubal cells and in ovarian cancer
               cells that can result in the development and the
               progression of ovarian cancer.

        (2)    This pro-carcinogenic process involves oxidative stress,
               alteration of the redox environment by increasing oxidant
               enzymes and decreasing anti-oxidant enzymes, promotion
               of cell proliferation, inhibition of apoptosis, and induction
               of specific genetic mutations.


        (3)    Johnson’s Baby Powder exposure results in elevation of
               CA-125, a clinically relevant biomarker for ovarian cancer,
               in normal and ovarian cancer cells.


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        (4)    The molecular effects resulting from Johnson’s Baby
               Powder exposure exhibit a clear dose-response pattern.

        (5)    In [his] opinion, based on established molecular
               mechanisms for the pathogenesis of ovarian cancer (as
               evidenced in the peer-reviewed scientific literature and
               [his] previously published research) and [his] in vitro
               experiments, Johnson’s Baby Powder exposure can cause
               ovarian cancer.

        (6)    In [his] opinion, based on established molecular
               mechanisms for the pathogenesis of ovarian cancer (as
               evidenced in the peer-reviewed scientific literature and
               [his] previously published research) and [his] in vitro
               experiments, Johnson’s Baby Powder exposure worsens the
               prognosis for patients with ovarian cancer.

  (Saed Expert Rep., at 20–21.)

               iii.   Dr. Saed’s Opinion on Talc Use and Ovarian Cancer

        Defendants challenge the admissibility of Dr. Saed’s opinions on multiple

  grounds. First, Defendants attack the reliability of certain methods employed by Dr.

  Saed and his laboratory in conducting his study. Defendants contend that Dr. Saed’s

  study is unreliable pursuant to Daubert because (1) he failed to follow his own

  methods; (2) he failed to use a relevant dose of talc; (3) the results of the study were

  not replicated; and (4) his lab notebooks are rife with errors that undermine the

  study. (Defs.’ Post-Hr’g Br. at 46–56.) 10 Second, Defendants argue that the results



  10     Defendants additionally challenge Dr. Saed’s expert testimony based on his
  alleged failure to properly disclose to Gynecologic Oncology and Reproductive Sciences
  that he was retained by Plaintiffs’ counsel to act as an expert in this matter and that
  Plaintiffs’ counsel funded a portion of his study. (Defs.’ Saed Br., at 75–79.) While
  this argument may undermine Dr. Saed’s credibility as an expert, it does not render
  his study so unreliable as to warrant exclusion under Daubert. See Venus v. Seville
  Food, LLC, No. 14-2476, 2017 WL 2364192, at *17 (D.N.J. May 31, 2017) (declining
  to exclude expert testimony based on evidence of bias and instructing defendant that
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  of Dr. Saed’s study do not support his ultimate opinions. (Id. at 56–64.) Specifically,

  Defendants maintain that Dr. Saed’s study is one step removed from demonstrating

  causation because it is an in vitro study and the results have not been duplicated in

  either an in vivo or animal study. (Id. at 56–59.) Moreover, Defendants argue that

  Dr. Saed’s study fails to establish any carcinogenic potential of talc at the in vitro

  level. (Id. at 60–64.)

         Before discussing the reliability of Dr. Saed’s study, the Court addresses

  Defendants’ contention that the results of Dr. Saed’s study do not support his opinion

  that the use of talc causes ovarian cancer.          (See Defs.’ Post-Hr’g Br. 56–64.)

  Defendants submit that “(1) [Dr. Saed] admitted that he needed to – but did not –

  conduct animal studies to confirm that his petri dish findings faithfully replicate

  what would happen in vivo; and (2) even his conclusions about what he found in his

  petri dishes are not supported by the data his experiment generated.” (Defs.’ Saed

  Br. at 56.)

         In vitro studies, like the one conducted by Dr. Saed, must have good grounds

  to reach conclusions regarding human results. These particular studies “involve the

  examination of disease ‘within an artificial environment, such as a test tube.’” In re




  to the extent it sought to challenge the expert’s bias, “it is permitted to do so on cross-
  examination”); In re Welding Fume Prods. Liab. Litig., 534 F. Supp. 2d 761, 766 (N.D.
  Ohio 2008) (“[A]bsent a showing of bias so extreme that exclusion is appropriate
  under Daubert, the Court believes that disclosure of possible financial bias coupled
  with cross-examination by the parties is a more appropriate and fine-tuned
  mechanism for arriving at the truth.”). Although relevant, possible bias alone is not
  a basis for exclusion here, but instead a proper avenue for cross-examination by
  Defendants.
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  Human Tissue, 582 F. Supp. 2d at 663 (quoting Michael D. Green, et al., Reference

  Guide on Epidemiology, in Reference Manual on Scientific Evidence 439, 444 (Fed.

  Jud. Ctr., 2d Ed. 2000)). In that connection, they “are not as helpful as either

  epidemiological or animal studies because they are conducted outside of a biological

  environment, and the conclusions of these studies will always remain one step

  removed from directly providing causation.” Id.; see also In re Accutane Prods. Liab.,

  511 F. Supp. 2d 1288, 1294–95 (M.D. Fl. 2007) (“The problem with [the in vitro]

  approach is also extrapolation—whether one can generalize the findings from the

  artificial setting of tissues in laboratories to whole human beings.”). Nevertheless,

  such studies “can provide a reliable basis for medical and scientific opinions as long

  as their extrapolations are warranted.” In re Human Tissue, 582 F. Supp. 2d at 663.

  In other words, there must be “good grounds” for the extrapolation. See Paoli, 35 F.3d

  at 742.

        I do not find that Dr. Saed’s opinion—that the use of talc causes ovarian

  cancer—is a supported extrapolation from his in vitro study. In his expert report, Dr.

  Saed explains that his study (and the related research) “demonstrates that talcum

  powder induces inflammation and alters the redox balance favoring a pro-oxidant

  state in normal and [epithelial ovarian cancer] cells.” (Saed Expert Rep. at 186.) Dr.

  Saed then extrapolates from that finding that talcum powder can cause ovarian

  cancer. (See id. at 186–87.) However, Dr. Saed fails to support his conclusion that

  such an extrapolation is scientifically sound. In his deposition testimony, Dr. Saed

  candidly admitted that the study did not show any “transformation of normal ovarian



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  cells to cancerous cells” because he used immortalized cells which “do not transform.”

  (Saed Dep. Tr., Feb. 14, 2019, at 464.) Significantly, Dr. Saed did not “test for actual

  cell transformation.” (Saed Daubert Hr’g Tr., at 58.) Instead, Dr. Saed explained at

  the Daubert hearing that he relied upon apoptosis and proliferation 11 as “strong

  indicators of cells on their way to transformation.” (Saed Daubert Hr’g Tr., at 57.) In

  that connection, however, Dr. Saed further conceded at his deposition that cell

  proliferation can occur “as a normal response of all normal cells to agents.” (Saed

  Dep. Tr., Feb. 14, 2019, at 264.) And, he acknowledged that he was unable to

  determine through his study whether the cell proliferation was simply an acute

  response to talc, because “[i]n cell culture you cannot distinguish between acute



  11     Defendants argue that Dr. Saed’s data on the proliferation analysis was
  erroneously recorded. Specifically, Defendants questioned Dr. Saed at the hearing
  regarding a ninth line of data that appeared in the tables, setting forth an analysis
  that was not identified in the table’s key. (See Defs.’ Post-Hr’g Br. at 49–52; Saed
  Daubert Hr’g Tr., at 209–21.) While Dr. Saed testified that the ninth line of data
  must have been the control, (Saed Daubert Hr’g Tr., at 210), that testimony conflicts
  with the laboratory notebooks, which appears to indicate that the seventh line of data
  was actually disregarded as the control. (See Defs.’ Post-Hr’g Br. at 50–51.) Indeed,
  Dr. Saed did not provide a satisfactory explanation regarding the type of data
  recorded on the ninth line, and whether in fact, an error had occurred. In that regard,
  it appears that the reliability of the data on cell proliferation is called into question.
  However, even if the relevant data is accurate, Dr. Saed’s experiment results with
  respect to cell proliferation are not admissible, because, as discussed infra, the doctor
  is not permitted to provide opinion testimony that talc use causes ovarian cancer.
  This is so, since Dr. Saed, himself, explained that “[p]roliferation is cell division, but
  in cancer cell division which is uncontrolled. So the cells keep dividing without
  control mechanism.” (Saed Daubert Hr’g Tr., at 56.) But, as Dr. Saed admitted, the
  presence of cell proliferation only evidences a degree of cell transformation, not that
  a cell was fully transformed into a cancer cell. (Id. at 57 (testifying that he “found an
  increase in proliferation in uncontrolled cell division, which is a “strong indicator[] of
  cells on their way to transformation”).) Accordingly, the Court need not resolve
  whether any error occurred when performing the cell proliferation assay, because Dr.
  Saed is not permitted to testify as to those results.
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  response versus chronic response.” (Id.) Dr. Saed’s testimony in this regard is

  damning to his own conclusion that talc use can ultimately lead to ovarian cancer.

         The lack of support for Dr. Saed’s extrapolation is consistent with, and

  bolstered by, comments Dr. Saed received from peer reviewers at Gynecologic

  Oncology, criticizing his manuscript. One reviewer specifically noted that “[t]he first

  bulleted highlight, ‘Oxidative stress is a key mechanism to the initiation and

  progression of cancer’ is not supported by this investigation and should be omitted.”

  (Tersigni Cert., Ex. B-23, at 2.) The reviewer further recommended that an animal

  study be conducted to corroborate Dr. Saed’s opinion on ovarian cancer, because “the

  cell lines studies alone and the increase in CA-125 while intriguing are not

  sufficiently convincing.” (Id.) A second reviewer pointedly questioned the conclusions

  of the study because the “data do not show, despite the author’s claim, any evidence

  that [the] cells are transformed.” (Id. at 3.) Indeed, the second reviewer noted that

  the study did not document either “tumor initiation nor progression” and highlighted

  that “[w]hile changes in redox potentially play an important role in tumor biology in

  general, the present data are insufficient to back up the claim that talcum is central

  to the development of ovarian cancer.” (Id.)

         In addition to being unsupported by his study, Dr. Saed’s opinions with respect

  to causation are similarly inadmissible because certain aspects of Dr. Saed’s study

  render that portion of the opinion unreliable. Defendants argue in their opening brief

  that Dr. Saed relied on “irrelevant” cell lines in conducting his in vitro study. 12 (Defs.’



  12     Defendants do not re-raise this argument in their Post-Hearing briefing.
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  Saed Br. at 44–46.) Plaintiffs, however, maintain that the cell lines used by Dr. Saed

  are appropriate because the purpose of Dr. Saed’s in vitro study was not to determine

  human causation but to “determine the effects of talcum powder on the expression of

  key redox enzymes, CA-125 levels, and cell proliferation and apoptosis in normal and

  [epithelial ovarian cancer] cells.” (Pls.’ Saed Br. at 39–40.) In his study, Dr. Saed

  used six different cell lines: three distinct ovarian cancer cells, human macrophage

  cells, human ovarian epithelial cells, and immortalized human fallopian tube

  secretory epithelial cells. 13 (Saed Expert Rep. at 13.)

        A critical factor in determining the reliability of an in vitro study is “whether

  the test is predictive of in vivo outcomes related to the same cell or target organ

  system.” Goldstein & Henefin, supra at 646. For example, in In re Rezulin Products

  Liability Litigation, the district court excluded expert testimony where the experts

  relied on studies that did not use normal human liver cells to opine that the drug in

  question caused silent liver injury in humans; rather, the expert used animal cells.

  See 369 F. Supp. 2d 398, 429 (S.D.N.Y. 2005). The Rezulin court determined that

  those studies were not a reliable basis for the expert’s opinions. Id. at 430. Here,

  similarly, the Court finds that Dr. Saed’s in vitro study is not a reliable basis for his

  opinion that the use of talc can cause ovarian cancer in vivo because, as Dr. Saed

  admitted, the cell lines he used did not, and could not, actually transform into cancer




  13    Dr. Saed explained at his deposition that immortalized cells “do not change
  unless you really beat them up.” (Saed Dep., Feb. 14, 2019, at 464.)


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  cells.

           Furthermore, Dr. Saed’s failure to conduct a neoplastic transformation assay14

  demonstrates that his findings with respect to any “cause and effect” relationship

  between talc and ovarian cancer are unsupported. In a “Budget Proposal” created by

  Dr. Saed in planning his in vitro study, he expressed “Three Aims” for his study. (See

  Cert. of Tersigni, Ex. B-25.) The third aim of the Budget Proposal sets forth a goal of

  demonstrating that “[e]xposure to talc results in neoplastic transformation of normal

  ovarian surface epithelial cells.” (Id. at 4.) To show such transformation, the Budget

  Proposal provides that a neoplastic transformation assay would be conducted as

  neoplastic transformation “is critical in establishing a cause and effect relationship”

  between talc and ovarian cancer. (Id.) Dr. Saed, however, did not perform such an

  assay because, as he explained:

                 I proposed three specific aims [for his study], not one, three
                 specific aims: Aim 1 to look at the redox balance change
                 and look at genetic mutation.           Aim 2, looking at
                 inflammation; Aim 3, looking at neoplastic transformation.
                 We started one by one. We got convincing evidence from
                 Aim[s] 1 and 2; and when we did the proliferation and
                 apoptosis, which are strong indicators of cell
                 transformation, we were happy with that finding. We
                 didn’t need to do a new transformation assay.

  (Saed Daubert Hr’g Tr., at 123.) As Dr. Saed’s testimony reveals, the tests that he

  ran showed cell proliferation and apoptosis, which “indicated” cell transformation,

  but the tests did not show whether neoplastic transformation had occurred. As Dr.



  14    A neoplastic transformation assay is conducted to determine whether “normal
  ovarian cells chang[ed] into cancer cells.” (See Saed Daubert Hr’g Tr., at 120–21.)


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  Saed never conducted the test he called “critical” to show transformation, the Court

  further finds that his study cannot support his opinion that talc can cause ovarian

  cancer.

        Relatedly, Dr. Saed’s study failed to show actual mutation of relevant single

  nucleotide polymorphisms (“SNPs”). Dr. Saed explains in his expert report that a

  SNP “occurs as a result of gene point mutations” and that common SNPs “are known

  to be strongly associated with an altered enzymatic activity in these enzymes and

  helps explain the enhanced redox state that has been linked to several malignancies,

  including ovarian cancer.” (Saed Expert Rep., at 7.) Dr. Saed explained that his

  study “found that if you expose normal surface epithelial cells from the ovary to

  talcum powder 100 micrograms per mill for 72 hours, you get a switch in the genome

  in the DNA sequences that corresponds to these key enzymes that regulate the redox

  balance.” 15 (Saed Daubert Hr’g Tr., at 57; see also Saed Expert Rep., at 19 (finding

  that “talc treatment induced gene point mutations that happen to correspond to SNPs

  in locations with functional effects, thus altering overall redox balance for the

  initiation and development of ovarian cancer”). Dr. Saed admits, however, that his

  treatment of talc showed only an induction of these mutations and no actual mutation

  or cell transformation occurred. (See Pls.’ Saed Br., at 42; Saed Daubert Hr’g Tr., at

  58 (noting the “gene mutation is before transformation” and that “[J&J] Baby Powder




  15     Plaintiffs and Defendants further dispute whether cell mutation can even
  occur in a 72-hour period. (See Defs.’ Saed Br., at 48–49; Pls.’ Saed Br., at 42.) The
  Court need not address this dispute because, as explained above, the fact remains
  that Dr. Saed only showed an induction of cell mutation and not actual mutation.
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  was able to induce mutations in key oxidant enzymes and antioxidant enzymes . . .”).)

  But, induction does not equate mutation. While Dr. Saed states that treatment of

  talc induces certain mutations of relevant SNPs, his study fails to support the notion

  that those mutations actually occurred, or that any of the cells were transformed into

  cancer. Without evidence of mutation of relevant SNPs, the Court finds that this is

  yet another reason why Dr. Saed’s opinion that talc can cause ovarian cancer is

  unreliable.

        What is more, Dr. Saed’s findings with respect to CA-125 further demonstrate

  that his opinion with respect to ovarian cancer causation is unreliable. Dr. Saed

  explains in his expert report that his study showed heightened levels of CA-125. (See

  Saed Expert Rep., at 19.) CA-125, as explained by Dr. Saed, is a cancer antigen

  marker that is used to “monitor patient response” to treatment for ovarian cancer.

  (Saed Daubert Hr’g Tr., at 59.) Defendants do not challenge Dr. Saed’s finding of

  increased levels of CA-125 in the treated cells, but dispute whether CA-125 is a

  clinically relevant biomarker for showing increased risk of ovarian cancer. (See Defs.’

  Saed Br., at 73–74.) Indeed, Dr. Saed admitted as much at the Daubert hearing,

  testifying that that measurement of CA-125 levels is not used to diagnose ovarian

  cancer and conceding that he knew of no studies that showed an association between

  elevated CA-125 levels and increased risk of ovarian cancer. (Saed Daubert Hr’g Tr.,

  at 144–45.) Ultimately, it is apparent that elevations of CA-125 are not a reliable

  measure of the risk of ovarian cancer resulting from talc use. This is one of many

  reasons why Dr. Saed’s conclusion with respect to ovarian cancer causation is



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  unsupported by his study. 16

        For all these reasons, the Court finds that Dr. Saed’s opinion that talc causes

  ovarian cancer is unsupported by the findings of his study—which can only arguably

  demonstrate that use of talcum powder causes inflammation in ovarian cells. Dr.

  Saed’s extrapolation from inflammation to ovarian cancer is a step too far to

  constitute a reliable scientific opinion and, therefore, that opinion will be excluded

  from his testimony. Indeed, it is within my discretion to exclude unreliable portions

  of an expert’s testimony “[w]hen faced with . . . testimony that contains both reliable

  and unreliable opinions.” In re Pfizer Inc. Securities Litig., 819 F.3d 642, 665 (2d Cir.

  2016). The Court need not “‘prune away all of the problematic’ elements of an expert’s

  proposed testimony ‘to save the remaining portions, however small.’” Id. (quoting

  Bricklayers & Trowel Trades Int’l Pension Fund v. Credit Suisse Sec. (USA) LLC, 752

  F.3d 82, 96 (1st Cir. 2014)). But, where “the unreliable portion of an opinion can be

  easily distinguished from testimony that could help the jury, it may be an abuse of

  discretion to throw out the good with the bad.” Id. (citing City of Tuscaloosa v. Hacros

  Chems., Inc., 158 F.3d 548, 564 (11th Cir. 1998)). The Court will thus excise only

  this, admittedly critical, portion of his proposed testimony because, as set forth below,

  the Court finds that other aspects of Dr. Saed’s opinions meet the Daubert standard.

  In sum, Dr. Saed is not permitted to testify at any trial in this matter that his study




  16     While the Court will not permit Dr. Saed to testify that CA-125 evidences cell
  transformation into ovarian cancer cells, based on the Court’s findings, infra, he will
  be permitted to testify as to his opinion that CA-125 is a marker of inflammation.


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  demonstrated a link between use of talcum powder and ovarian cancer.

               ii.    Dr. Saed’s Conclusion Regarding Talc Use Causes
                      Cellular Inflammation and Oxidative Stress

        Having determined that Dr. Saed cannot opine on a causal link between talc

  use and ovarian cancer, the Court next determines whether Dr. Saed may opine on

  the association of the use of talc and cellular oxidative stress. In that regard, unlike

  his opinion on talc use and ovarian cancer, I find that Dr. Saed’s study is sufficiently

  reliable under Daubert to show that the use of talc may cause inflammation and

  oxidative stress.   Dr. Saed’s opinion in this regard is based on “methods and

  procedures of science,” as opposed to his own subjective beliefs. See In re Paoli, 35

  F.3d at 742. Moreover, the Court finds that several of the factors that are to be

  considered with respect to reliability are satisfied by Dr. Saed’s testimony: Dr. Saed’s

  experiment used a methodology that consisted of a testable hypothesis; his work was

  subject to peer-review; and the methodology is generally accepted in the scientific

  community. See id. The Court addresses the arguments raised by Defendants as to

  why Dr. Saed’s methods were unreliable, in turn, below. Ultimately, the Court finds

  that Defendants raise issues that go to the weight of Dr. Saed’s testimony, the

  resolution of which is preserved for the factfinder, not for the Court in its capacity as

  a gatekeeper on a Daubert motion.

        Defendants first argue that Dr. Saed’s expert opinion is unreliable because he

  predetermined his conclusions before conducting the study and failed to follow his

  own methods. Defendants’ argument is premised on the “Budget Proposal” drafted

  by Dr. Saed, which proposed three aims for his study. It appears that the Proposal

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  was drafted sometime after Dr. Saed’s first meeting with Plaintiffs’ counsel in or

  around August 2017. (See Saed Dep. Tr., Jan. 23, 2019, at 25, 276.)        The Budget

  Proposal details Dr. Saed’s aims and “expectations” for his research on the role of

  talcum powder exposure in ovarian cancer. (Saed Daubert Hr’g Tr., at 60–65; Pls.’

  Saed Opp. Ex. F.) At the Daubert Hearing, Dr. Saed explained that before his

  laboratory begins a new project, the laboratory “outline[s] the project in a hypothesis-

  driven research [budget].”    (Saed Daubert Hr’g Tr., at 61.)      The doctor further

  explained that this format is used by federal agencies and follows a “hypothesis

  rationale,” which asks “what are your expected results, what do you expect to get; if

  you don’t get what you expect to get, what is your alternative approach, and what is

  your future direction.”   (Id. at 61–62.)    In this context, Dr. Saed clarified that

  “expectation doesn’t mean this is what I want to get. It means based on the results

  would show positive, this is what we would get, and then we would have a[n]

  alternative approach if our approach doesn’t work.” (Id. 63–64.)

        Based on the general purpose of the Budget Proposal, I cannot find that the

  Budget Proposal, in of itself, reveals that Dr. Saed drew his conclusions before

  conducting his study. Indeed, whatever flaws in Dr. Saed’s study might be borne out

  at trial, the Budget Proposal is an internal document used by the laboratory to set

  forth the methodology of the study and its estimated costs. (See Saed Daubert Hr’g

  Tr., at 59–61.) Based on its plain language, the expectations proposed in the Budget

  Proposal neither support nor confirm that Dr. Saed reached any definitive

  conclusions regarding the relationship between talcum powder and ovarian cancer



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  before conducting his in vitro study, or that Dr. Saed somehow designed this study to

  reach certain results. The cases cited by Defendants in support of this argument do

  not lend significant support for their position. In those cases, the proffered experts

  were excluded because they signed affidavits setting forth their conclusions before

  reading the relevant literature, see Claar v. Burlington N. R.R. Co., 29 F.3d 499, 502–

  03 (9th Cir. 1994); or there was clear evidence that the expert manipulated data to

  achieve a specific result, see Snodgrass v. Ford Motor Co., No. 96-1814, 2002 WL

  485688, at *12 (D.N.J. Mar. 28, 2002). Here, the mere use of the word “expect” in the

  Budget Proposal does not establish the necessary result-driven bias to exclude Dr.

  Saed’s opinion under Daubert.

        Defendants further argue that Dr. Saed’s failure to conduct a neoplastic

  transformation assay, as written in the Budget Proposal, evidences that he failed to

  adhere to his own methodology, such that it substantiates the unreliability of Dr.

  Saed’s whole study.     I disagree.   As I discussed above, the lack of neoplastic

  transformation is fatal to Dr. Saed’s opinion that talc use causes ovarian cancer.

  However, this type of assay has no bearing on the doctor’s opinion on inflammation

  and oxidative stress. As already noted, Dr. Saed’s experiment had three separate

  aims; while Dr. Saed failed to conduct the neoplastic transformation, which would

  satisfy aim three of his experiment, it does not render other parts of his study, i.e.,

  conclusions as to the first and second aims, unreliable.         Rather, because the

  transformation assay would tend to prove or disprove that talcum powder causes

  ovarian cancer, a conclusion that the Court has not permitted Dr. Saed to testify, the



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  failure to conduct the assay does not impact Dr. Saed’s other opinions regarding cell

  oxidative stress or inflammation for the purposes of Daubert. Indeed, unlike the cases

  cited by Defendants in support of their argument, Dr. Saed did not fundamentally

  alter the way his studies were conducted on an ad hoc basis to achieve some desired

  result. See, e.g., Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 268–69 (2d

  Cir. 2002) (excluding expert testimony where expert failed to include in his

  calculations available data regarding variables that he stated should be included in

  any such assessment); Soldo v. Sandoz Pharm. Corp., 244 F. Supp. 2d 434, 561 (W.D.

  Pa. 2003) (excluding expert testimony where experts inconsistently applied their

  stated methodology); Wade-Greux v. Whitehall Labs., Inc., 874 F. Supp. 1441, 1460

  (D. V.I. 1994) (excluding expert testimony where expert failed to conduct certain tests

  required to support his conclusion). 17

        Defendants next argue that Dr. Saed’s testimony should be excluded because

  Dr. Saed did not “attempt” to use a relevant dose when exposing the cell lines to

  talcum powder. As part of the in vitro study, Dr. Saed testified that his laboratory



  17     In their Post-Hearing Brief, Defendants additionally take issue with the fact
  that Dr. Saed did not perform “all the tests for redox balance in his proposal” or
  “single nucleotide polymorphism (‘SNP’) testing for BRCA mutations.” (Defs.’ Post-
  Hr’g Br., at 47.) While Defendants highlight that Dr. Saed did not perform these
  particular tests, they do not explain how that failure impacts the reliability of Dr.
  Saed’s study, except to suggest that he departed from his “own specified methods.”
  (See id.) Indeed, it is unclear to the Court what impact these tests would have had
  on Dr. Saed’s experiments. Rather, Defendants are free to explore this issue on cross-
  examination; at this stage, the Court finds it inappropriate to exclude Dr. Saed’s
  testimony, particularly in light of the fact that this testing method, which was
  suggested by Dr. Saed, himself, has not been shown here to be indispensable or
  required by the scientific community.


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  used doses of talc of “zero, five, 20, and 100-micrograms per milliliter.” 18 (Saed

  Daubert Hr’g Tr., at 50.) According to Dr. Saed, these doses were chosen because they

  are “similar” to doses used in published studies that discuss “testing talcum powder

  and determining whether the powder has a biological effect in cells.” (Id. at 50.)

  Indeed, the published studies are as follows: Shukla, et al., Alterations in Gene

  Expression in Human Mesothelial Cells Correlate with Mineral Pathogenicity, 41 Am.

  J. Respir. Cell Mol. Biol. 114–123 (2009); Buz’Zard, et al., Pycnogenol reduces Talc-

  induced Neoplastic Transformation in Human Ovarian Cell Cultures, 21 Phytother.

  Res. 579–586 (2007); Akhtar, et al., The Primary role of iron-mediated lipid

  peroxidation in the differential cytotoxicity cause by two varieties of talc nanoparticles

  on A549 cells and lipid peroxidation inhibitory effect exerted by ascorbic acid, 24

  Toxicology, 1139–1147 (2010); Akhtar, et al., Cytotoxicity and Apoptosis Induction by

  Nanoscale Talc Particles from Two Different Geographical Regions in Human Lung

  Epithelial Cells, Environ. Tech. (2012). (See Pls.’ Saed Br., at 32.) Dr. Saed explained

  that relying on these studies was helpful in ensuring that he was “right in the range

  of doses and not using an excessive dose that may kill the cell.” Saed Daubert Hr’g

  Tr., at 50.)

         Nevertheless, on cross-examination during the Daubert hearing, the doctor

  was pressed as to whether those doses he used “are similar to or the same level of




  18     Dr. Saed testified that he determined the doses by first treating the cells with
  high levels of talc—starting with 1000 micrograms, then 500 micrograms, and then
  200 micrograms. (Id. at 148.) Dr. Saed then chose the relevant doses used for the
  study. (Id.)
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  exposure in women who use talc.” (Id. at 146.) In response, Dr. Saed conceded that

  he was not aware of the doses of talc that women use in real life. (Id.) Based on that

  concession, Defendants contend that Dr. Saed’s testimony should not be admitted

  because he did not use a dose similar to that used by women in real life. (See Defs.’

  Post-Hr’g Br. at 46–47.) Plaintiffs counter that a determination of the relevant dose

  was not necessary since Dr. Saed’s study was never intended to mimic the dose used

  in humans. (Pls.’ Saed Br. at 31–32.)

        The Court does not find Defendants’ argument persuasive. First, Defendants

  do not suggest what specific doses would have been appropriate for the purpose of Dr.

  Saed’s testing. Indeed, Defendants do not dispute that the doses used by Dr. Saed

  were appropriate in conducting his in vitro study on cellular inflammation or

  oxidative stress. On this issue, Defendants’ own expert, Dr. Brooke Mossman, a

  toxicologist, testified that the doses used by Dr. Saed are “appropriate concentration

  levels to determine pathogenicity of asbestos and talc.” (Mossman Dep., at 355–358.)

  Rather, Defendants take issue with Dr. Saed’s failure to use a dose that would mimic

  the amount of talc that a woman uses. But, that apparent failure does not render the

  doctor’s opinion on inflammation or oxidative stress unreliable. As discussed above,

  portions of Dr. Saed’s testimony that pertain to human causation, i.e., that the use of

  talc can cause ovarian cancer, are excluded as unsupported. Absent that conclusion,

  the question of dose is less critical. Courts have generally determined that “in vitro

  tests provide useful information about metabolic processes at a cellular level, and

  may supplement existing animal and human data.” See, e.g., Bourne ex rel. Bourne



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  v. E.I. Dupont de Nemours & Co., Inc., 189 F. Supp. 2d 482, 496 (S.D. W. Va. 2002)

  (citing Allen v. Pa. Engineering, 102 F.3d 194, 198 (5th Cir. 1996)). Only where

  experts extrapolated human causation from the results of in vitro studies do

  questions of relevant dose arise with respect to the reliability of the expert’s methods.

  See id. at 498 (excluding expert testimony where they relied on animal and in vitro

  studies that involved high dosage of the relevant chemicals and long exposure

  periods). Here, because Dr. Saed’s study can only be admitted to show that the use

  of talc may cause inflammation in cells, his failure to use a relevant dosage that

  mimics actual human use in an in vitro study does not render the study regarding

  inflammation unreliable. See Feit, 460 F. Supp. 2d at 641.

        Defendants next argue that Dr. Saed’s methodology was unreliable because he

  failed to properly replicate his experiment. (See Defs.’ Post-Hr’g Br. at 48–49.) Dr.

  Saed stated in his manuscript that all assays were performed in triplicate. (See

  Tersigni Cert., Ex. A38, at 5–7, 9.) As discussed above, Dr. Saed explained that he

  performed each part of the study in triplicate by dividing each cell into three different

  plates and, further, by performing each test on six separate cell lines. (See Saed

  Daubert Hr’g Tr., at 50–51; see also Saed Dep. Tr., Jan. 23, 2019, at 123–26.)

  Defendants, nonetheless, insist that Dr. Saed’s purported failure to conduct his

  experiment in triplicate, and in a manner consistent with how their own experts

  would conduct the experiment, renders his study unreliable and impossible to

  reproduce. Plaintiffs respond that Dr. Saed did conduct his experiments in triplicate

  and that his study can be reproduced. (Pls.’ Saed Br. at 37–39.) While there can be



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  no doubt that replication is an important part of the scientific process, the Court is

  satisfied that Dr. Saed’s methods, in this regard, are reliable under Daubert.

        Dr. Saed’s testimony demonstrated that the specific triplicate methodology he

  used was based on known scientific methods and was regularly conducted by his

  laboratory. (See Saed Daubert Hr’g Tr., at 51–52.) Indeed, Dr. Saed testified that he

  had published peer-reviewed studies that employed the same triplicate methodology.

  (See id. at 52.) Most critically, the Court reiterates that the article, written by Dr.

  Saed and published in Reproductive Sciences, that discusses the in vitro study at issue

  was peer reviewed, and the methodology was not a concern of those who reviewed the

  article. 19 The fact that a study has been subject to peer review “does not equate with

  reliability,” but it does suggest that good science was used by the authors. Oddi v.

  Ford Motor Co., 234 F.3d 136, 145 (3d Cir. 2000) (quoting Daubert, 509 U.S. at 593);

  see also Daubert, 509 U.S. at 593 (“[S]ubmission to the scrutiny of the scientific

  community is a component of ‘good science,’ in part because it increases the likelihood

  that substantive flaws in methodology will be detected.”). I find that the fact that Dr.

  Saed’s study was peer reviewed, suggests that the triplicate methodology is based on

  “good science.”

        Defendants, nonetheless, argue that Dr. Saed’s triplicate procedure was

  wrong. Defendants do not, however, cite to any scientific support for this assertion.

  Rather, Defendants refer to the Court a single statement from one of their experts,



  19     As discussed supra, the reviewers at Gynecologic Oncology criticized certain
  aspects of Dr. Saed’s in vitro study. However, those criticisms did not involve the
  triplicate methodology used by Dr. Saed.
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  Dr. Mossman, who, without citation or elaboration, provides in her expert report that

  Dr. Saed failed to perform his experiment in triplicate. (See Defs.’ Saed Br., at 43 &

  n.120 (quoting Mossman Expert Rep., at 33).)           Moreover, although Dr. Neel, a

  rebuttal expert to Dr. Saed, heavily criticizes Dr. Saed’s in vitro study, Dr. Neel’s

  report does not provide any explanation as to the purported flaws of the triplicate

  methodology. Indeed, Dr. Neel’s testimony at the Daubert hearing on this issue is

  similarly limited; he testified as to his understanding of how to conduct an

  experiment in triplicate, but he did not comment upon, or explain why, the

  methodology used by Dr. Saed was flawed. (See Neel Daubert Hr’g Tr., at 308–09.)

  Without any evidence that Dr. Saed’s triplicate methods are somehow contrary to

  those used in the scientific community, the Court has no basis to find that those

  methods were unreliable. To the extent Defendants’ experts may disagree with Dr.

  Saed’s triplicate methodology, the Court is faced with a classic battle of the experts

  scenario. See United States v. W.R. Grace, 455 F. Supp. 2d 1196, 1199 (D. Mont. 2006)

  (“It is not the Court’s role to settle scientific disputes.”); see also Dzielak v. Whirlpool

  Corp., No. 12-0089, 2017 WL 1034197, at *26 (D.N.J. Mar. 17, 2017). 20



  20     In addition to the arguments set forth, supra, Defendants additionally assert
  that Dr. Saed’s study is unreliable because he “failed to use valid controls.” (Defs.’
  Saed Br., at 37.) Although this argument is raised in their moving brief, Defendants
  did little to cross-examine Dr. Saed on this issue at the Daubert hearing and do not
  focus on it in their post-hearing brief. (See Saed Daubert Hr’g Tr., at 148–51.) In
  their view, Dr. Saed improperly treated certain cells with dimethyl sulfoxide
  (“DMSO”) without “rul[ing] out the possibility that DMSO and talc interacted in a
  way that skewed the results” (id. at 36–38), and for allegedly failing to incorporate
  other “negative controls such as glass beads, cornstarch, or other inert substances to
  verify that the alleged changes in protein levels and DNA are caused by exposure to
  talc specifically, rather than exposure to foreign particulate matter generally.” (Id. at
                                              33
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         Finally, Defendants argue that errors and inconsistencies in Dr. Saed’s

  laboratory notebooks further indicate the unreliable nature of his in vitro study,

  because these errors make it “impossible to replicate his work.” (Defs.’ Post-Hr’g Br.

  at 49–56.) For example, Defendants identify the following issues with Dr. Saed’s

  laboratory notebooks: (1) use of white-out throughout the notebooks; (2) errors in

  certain calculations; and (3) missing pages. (Id. at 49–55.) Dr. Saed testified at

  length regarding his laboratory notebooks during both his deposition and the Daubert

  hearing. 21



  39–41.) However, as Plaintiffs point out, and which Defendants do not dispute,
  DMSO is a “universal solvent” typically used in the scientific community as a control
  in in vitro studies. In fact, Defendants’ own expert admitted this fact. (See Boyd
  Dep., at 36.) Dr. Saed explained that if there were any unusual interactions with
  DMSO and talc, he would have been able to observe such interactions by the design
  of his experiments, and the doctor testified that no such interactions occurred. (See
  Saed Dep., Jan. 23, 2019, at 272-73.) In addition, Dr. Saed claims that for the
  purposes of his experiment, he did not include any negative control such as cornstarch
  or glass beads. (Id.) Essentially, the points raised by Defendants with respect to Dr.
  Saed’s choice of controls go not to the reliability of his methodology but to the weight
  of his testimony, because they reflect mere disagreements over the controls used by
  Dr. Saed. See W.R. Grace, 455 F. Supp. 2d at 1199.

  21     Defendants additionally contend that Dr. Saed altered his methodology after
  receiving comments from a peer reviewer at Gynecologic Oncology. (Defs.’ Post-Hr’g
  Br., at 55.) Defendants explain that Dr. Saed’s manuscript and initial reports stated
  that he treated cells with talc for 48 hours. (Id.; see also Tersigni Cert., Ex. A38, at
  1.) Dr. Saed’s expert report and final published manuscript, however, state that the
  cells were treated for 72 hours. (Defs.’ Post-Hr’g Br., at 55.) Dr. Saed explained that
  this was “an error in the actual manuscript” and that no such error appeared in his
  laboratory notebooks.” (Saed Daubert Hr’g Tr., at 38.) Dr. Saed testified that
  “trainees[,] like clinical residents and fellows” draft the manuscript and he later
  reviews and corrects any errors that do not match what is in the laboratory
  notebooks.” (Id. at 38–39.) The Court has reviewed Dr. Saed’s laboratory notebooks
  and finds that the data in the notebooks confirms that the cell lines were treated for
  72 hours. (See Tersigni Cert., Ex. B13 at 26 (setting forth methodology and stating
  that “after 72 hours treatment, collect cells and medium for ELISA”).)
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         Defendants point out the improper use of whiteout in Dr. Saed’s laboratory

  notebooks.    While admitting that using whiteout in laboratory notebooks is not

  “proper laboratory practice,” (Saed Daubert Hr’g Tr., at 177), Dr. Saed testified that

  whiteout was used only where the methodology was written out, and he emphasized

  that there was “no white-out in any of the original data.” (Id. at 178.) Indeed, on

  cross-examination, defense counsel reviewed several instances in which whiteout was

  used with Dr. Saed. (See id. at 177–82.) These instances included (1) an entry where

  “Johnson & Johnson” was written over whiteout; (2) an entry where a reference to

  the sterilization method used was written over whiteout; (3) an entry where the name

  of a cell line used was whited-out and rewritten below the whiteout; and (4) several

  entries where part of the date entry was whited-out. (Id.)

        Defendants also note computation errors that appear in Dr. Saed’s laboratory

  notebooks. (See id. at 183–85.) For example, at the Daubert hearing, defense counsel

  highlighted an erroneous average calculation in a table measuring glutathione

  reductase (“GPX”) levels of the cell lines. (See Saed Daubert Hr’g Tr., at 184; Tersigni

  Cert., Ex. B-13 at 122.) For a particular cell line, the average of 2.17, 2.46, and 2.39

  was listed as 2.47. (See Saed Daubert Hr’g Tr., at 184; Tersigni Cert., Ex. B-13 at

  122.) Dr. Saed explained that these computations are conducted by a computer

  program that determines what outliers should be excluded. (Saed Daubert Hr’g Tr.,

  at 184–87.)

        Finally, with respect to missing pages in his laboratory notebooks, Dr. Saed

  explained at the hearing that certain pages had been removed from the notebooks by



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  a new research assistant who “was not familiar with the . . . normal practice of lab

  notebooks.” (Id. at 33.) Dr. Saed explained that

                  She wanted to keep everything related to talcum powder in
                  one notebook. So she started a different project in those
                  two pages. So she decided to take them out. I instructed
                  her not to do it. This is very bad laboratory conduct.

  (Id.) Dr. Saed explained that this was not his ordinary practice of maintaining

  laboratory notes, but that the missing pages had no substantive effect on his study

  because they “are completely for a different project.” (Id. at 33–34.) Moreover, to the

  extent that handwritten methodologies were replaced with the computer-generated

  data, Dr. Saed explained that such data is glued into the notebooks once the

  calculations are completed. (Id.)

            Certainly, each of these issues calls into question the credibility of Dr. Saed’s

  testimony as to his explanations of these errors, but they do not fundamentally

  undermine the methodologies Dr. Saed utilized when conducting the cell line testing,

  itself.    While these errors, taken together, may well impact whether Dr. Saed

  exercised good practices and his credibility, especially since certain mistakes were

  admitted by Dr. Saed to be improper laboratory conduct, the laboratory notebooks

  clearly disclosed the methods and procedures used in conducting the experiment. Cf.

  Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care, Inc., 282 F.R.D.

  655, 667 (M.D. Fla. 2012), aff’d 725 F.3d 1377 (11th Cir. 2013) (excluding expert

  testimony where expert “failed to document and disclose the procedures he used to




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  conduct tests”). 22 While Defendants point out these errors, what this Court lacks is

  how these errors impacted the reliability of the conducted studies such that I must

  exclude Dr. Saed’s opinion wholesale. Indeed, having reviewed the multiple entries

  of the notebooks, I find that careless mistakes and shoddy record keeping occurred.

  They do not indicate, however, that the actual data collected from the cell lines were

  unreliable or somehow altered in bad faith. As such, these issues go to the weight of

  Dr. Saed’s opinion and the credibility of his testimony. Crowley v. Chait, 322 F. Supp.

  2d 530, 540 (D.N.J. 2004) (“Daubert does not require that an expert's testimony be

  excluded simply because he admitted . . . his own mistakes or retracted his false

  statements.”); see also Oddi, 234 F.3d at 145-46 (the test of admissibility is not

  whether a particular scientific opinion has the best foundation or whether it is

  demonstrably correct); Mahli, LLC v. Admiral Ins. Co., No. 14- 175, 2015 WL

  4915701, at *7 (S.D. Miss. Aug. 18, 2015) (holding that any miscalculations or

  inaccuracies go to the weight of the expert's opinions, not its admissibility); Aetna Inc.

  v. Express Scripts, Inc., 261 F.R.D. 72, 81 (E.D. Pa. 2009) (“‘[F]laws’ in an expert's

  investigative process do not render the opinion excludable. An expert's opinion is

  suspect when it is based on a ‘subjective belief’ or ‘unsupported speculation’ but

  remains admissible so long as the process used by the expert is reliable.”); Southwire

  Co. v. J.P. Morgan Chase & Co., 528 F. Supp. 2d 908, 935 (W.D. Wis. 2007) (finding

  that “alleged errors and inconsistencies are grounds for impeaching the credibility of



  22    See also Hanson v. Colgate-Palmolive Co., 353 F. Supp. 3d 1273, 1284–85 (S.D.
  Ga. 2018) (excluding expert’s testimony where he failed to record the location of fibers
  alleged to be asbestos found in talc).
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  the experts . . . however, mistakes and miscalculations are not grounds for excluding

  evidence”); Phillips v. Raymond Corp., 364 F. Supp. 2d 730, 743 (N.D. Ill. 2005)

  (noting that miscalculations and inaccuracies in an expert’s testimony go to weight);

  Astra Aktiebolag v. Andrx Pharms., Inc., 222 F. Supp. 2d 423, 493–94 (S.D.N.Y. 2002)

  (finding that the fact that expert's test results had very high standard deviation went

  to weight, not admissibility); In re TMI Litigation Cases Consolidated II, 911 F. Supp.

  775, 813 (M.D. Pa. 1996) (the potential rate of error of expert's study goes to weight

  to be accorded the testimony).     Indeed, serious questions have been raised by

  Defendants which a jury will have to weigh.

        In conclusion, the Court will admit the testimony of Dr. Saed, but subject to

  the limitations outlined above. While Dr. Saed’s opinion may not be “supported by

  the best methodology or available research,” Karlo, 849 F.3d at 81, or without flaws,

  I ultimately conclude that in light of my limited role as gatekeeper on a Daubert

  motion, the flaws in Dr. Saed’s testing and record keeping do not so undermine the

  reliability of the doctor’s opinion as to warrant exclusion. Defendants have not

  presented sufficient grounds on which the Court can find that Dr. Saed’s opinions,

  other than his cursory conclusion that the use of talc can cause ovarian cancer, are

  not “good science” or otherwise “inadmissible junk science.” The potential flaws in

  Dr. Saed’s lab practices and the study may well negatively impact the weight that a

  factfinder gives to Dr. Saed’s opinions, but those flaws may be tested by cross-

  examination, and do not warrant exclusion of Dr. Saed’s testimony.

        B.     Dr. William Longo



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        Plaintiffs present Dr. Longo as an expert in materials science, who will testify

  as to the presence of asbestos in Defendants’ talc products. Dr. Longo received a

  Bachelor of Science in microbiology, with a minor in chemistry; a Master of Science

  in materials science and engineering; and Ph.D. in materials science and engineering

  from the University of Florida. (Longo Daubert Hr’g Tr., at 441.) Dr. Longo explained

  that materials science “is literally the study of materials[,] both to characterize them,

  to understand them, and to develop new materials.” (Id.) Dr. Longo is currently the

  president of Materials Analytical Services (“MAS”), a company that tests materials

  for asbestos, among other substances. (Id. at 441, 447.)23 In the late 1980s and early

  1990s, Dr. Longo served on the Environmental Protection Agency (“EPA”) peer review

  group for the EPA’s asbestos engineering program. (Id. at 449.) In that capacity, Dr.

  Longo collaborated on the creation of the American Society for Testing of Materials

  (“ASTM”) protocol for testing asbestos materials with a transmission electron

  microscope (ASTM-5755). (Id. at 452.) There is no dispute that Dr. Longo is qualified

  to testify as an expert on the issue of whether the subject talc products contain

  asbestos. I will note at the outset that while Defendants repeatedly reference Dr.

  Longo’s status as a “professional expert,” the fact that he testifies on behalf of

  plaintiffs regularly raises questions of his credibility, rather than his expertise, which

  are reserved for the factfinder. See In re Paoli, 35 F.3d at 753–54.

        In this proceeding, Dr. Longo and MAS tested 72 historical talc samples from



  23    Plaintiffs have also designated Dr. Longo’s former-assistant, Mark Rigler, as a
  potential expert in this matter as the coauthor of Dr. Longo’s expert report. (See
  Longo Daubert Hr’g Tr., at 597–98.)
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  J&J and Imerys from the 1960’s, 1970’s, 1980’s, 1990’s, and the early 2000’s for

  asbestos using two methods: transmission electron microscope (“TEM”) and polarized

  light microscope (“PLM”). (Longo 2d Supp. Rep., Feb. 1, 2019, at 2, 5; see also Longo

  Daubert Hr’g Tr., at 473–75.) In short, after performing these tests, Dr. Longo found

  that “[t]here was a total of 50 positive containers ([TEM] and PLM combined) out of

  the 72 tested that gave an overall 69 % positive result for the historical [Johnson’s

  Baby Powder/Shower to Shower] containers and Imerys’ railroad car samples that

  were tested for [Dr. Longo’s] report.” (Longo 2d Supp. Rep., at 32.) Based on this

  testimony, Dr. Longo opines that “individuals that used Johnson & Johnson talcum

  powder products (Johnson’s Baby Powder and Shower to Shower) in the past, would

  have, more likely than not, been exposed to significant airborne levels of both

  regulated amphibole asbestos and fibrous (asbestiform) talc.” (Id.)

        Having considered the parties’ arguments and Dr. Longo’s Daubert hearing

  testimony, I find that Plaintiffs’ have met their burden of demonstrating that the

  doctor’s testimony regarding the results of his TEM analysis is reliable for the

  purposes of admission under Daubert. See Crowley, 322 F. Supp. 2d at 537 (“The

  proponent bears the burden of establishing admissibility by a preponderance of the

  evidence.”)   Indeed, the Court finds that Defendants’ arguments in support of

  excluding Dr. Longo’s testimony, as to his testing, more appropriately go to the

  application of his methodologies, rather than their reliability. However, with two

  critical exceptions as detailed infra, the Court excludes Dr. Longo’s testimony to the

  extent he bases his opinions on his PLM analysis or opines on the exposure of talc



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  users to asbestos.

        The Court first addresses the reliability of Dr. Longo’s TEM methodology. Dr.

  Longo testified that he followed the three-step TEM method, a scientifically accepted

  method when analyzing a material to determine whether it contains asbestos. (Id. at

  487.) The first step—morphology—involves measurement of “the dimensions of the

  fiber or bundle of asbestos.” (Id. at 488.) The second step is “called energy dispersive

  X-ray analysis [(“EDXA”) which] determine[s] the chemistry of that particular

  asbestos structure.” (Id.) Finally, the third step is “what’s called selected area

  electron diffraction or SAED, which gives you information on the crystalline structure

  of that asbestos structure.” (Id.) Defendants do not challenge the reliability of the

  three-step TEM methodology. That methodology is a generally accepted method in

  the scientific community and is recommended by the EPA Asbestos Hazard

  Emergency Response Act (“AHERA”), (see Asbestos-Containing Materials in Schools

  (“AHERA Regs.”), 52 Fed. Reg. 41826 (Oct. 30, 1987) (to be codified at 40 C.F.R. pt.

  763)); ISO Methods 22262-1 and -2, (see Cert. of Tersigni, Ex. A74 (ISO 22262-1); id.,

  Ex. A75 (ISO 22262-2)); and the American Society for Testing Materials (“ASTM”)

  Standard 5755.       Notably, Defendants have employed the same three-step TEM

  analysis for testing their own talc products for asbestos. (See Johnson & Johnson,

  Analysis of Powdered Talc for Asbestiform Minerals by Transmission Electron

  Microscopy, Mar. 8, 1989, Pls.’ Hr’g Binder, Tab 6.)

        Instead, Defendants take issue with Dr. Longo’s application of the three-step

  TEM method. First, Defendants maintain that “Dr. Longo’s hearing testimony made



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  clear that his TEM methodology failed to distinguish asbestos particles or asbestiform

  (an alleged cause of ovarian cancer) from cleavage fragments (which no scientific

  literature has linked to ovarian cancer).” (Defs.’ Post-Hr’g Br., at 33.) Defendants’

  argument in this regard is based on their disagreement with the “counting rules” used

  by Dr. Longo in the morphology step of the TEM method. (See id. at 33–34.)

         The EPA AHERA regulations identify as asbestos any of the designated

  asbestos minerals (i.e., tremolite, actinolite, or anthophyllite) that are fibrous; the

  regulations specify that a mineral is fibrous if it has 1) parallel sides; 2) is at least .5

  microns in length; 3) and has an aspect ratio of 5-to-1 or greater. (See Longo Daubert

  Hr’g Tr., at 467–69.) Defendants argue that Dr. Longo should not have relied upon

  these regulations, because they were “not designed to distinguish between asbestos

  and cleavage fragments,” 24 and were instead intended “for asbestos remediation in

  school buildings, where there is no question that the building previously contained

  asbestos.”   (Defs.’ Post-Hr’g Br., at 34.)      Defendants posit that because these

  regulations are not “designed” to distinguish cleavage fragments from asbestiform,

  Dr. Longo’s use of the regulations regarding “counting” is unreliable.

         At the outset, the Court finds that Dr. Longo’s reliance on the AHERA

  regulations does not render his opinion unreliable. While Defendants contend that

  the AHERA regulations should not be followed in a situation, such as this, where it

  is not known whether asbestos is present in the test subject, Defendants do not



  24    A cleavage fragment is a crushed-up piece of non-asbestiform rock. (Longo
  Daubert Hr’g Tr., at 569.) Dr. Longo testified that “a true cleavage fragment is not
  asbestos,” but cleavage fragments may meet the AHERA counting rules. (Id. at 569.)
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  identify different “counting rules” that should be used, or point to any other specific

  rules used by the scientific community under these circumstances; this is fatal to

  their argument. See In re Air Cargo Shipping Servs. Antitrust Litig., MDL No. 1775,

  2014 WL 7882100, at *17 (E.D.N.Y. Oct. 15, 2014) (finding that the mere fact a party

  disagrees with an expert’s methodology is not a basis for exclusion under Daubert),

  report and recommendation adopted, 2015 WL 5093503 (E.D.N.Y. July 10, 2015); In

  re Heparin Prods. Liab. Litig., 803 F. Supp. 2d 712, 733-34 (N.D. Ohio 2011) (holding

  that “[t]he fact that different studies [have] obtained different results does not render

  [the expert’s] opinions ‘junk science[,]’” so long as the results are the product of

  reliable methods).

        I stress that, as the Supreme Court has advised, “[t]here are no certainties in

  science,” Daubert, 509 U.S. at 590, and establishing reliability does not require

  Plaintiffs to prove that the assessments of their experts are correct. See id. Perceived

  weaknesses in Dr. Longo’s methods, such as those identified here by Defendants, go

  to weight rather than to admissibility, particularly since Dr. Longo has published

  numerous peer-reviewed studies in which he applied the AHERA “counting rules” in

  situations where the substances were not previously confirmed to contain talc. (See

  Longo Daubert Hr’g Tr., at 489–96). The Court finds that Dr. Longo’s reliance upon

  the AHERA regulations to designate asbestos minerals does not render his opinions

  unreliable.

        Next, Defendants dispute Dr. Longo’s utilization of the AHERA “counting

  rules” because, they argue, the regulations do not appropriately distinguish between



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  asbestiform and cleavage fragments, which permits Dr. Longo to include in his

  findings of what is “asbestos,” minerals that do not meet the “universal” definition of

  asbestos, i.e., the “asbestiform version of six regulated minerals”—chrysotile,

  crocidolite, amosite, tremolite, anthophyllite, and actinolite. (Defs.’ Asbestos Br., at

  6, 26.)   Defendants further argue that while Dr. Longo accepts the universal

  definition of asbestos, the AHERA “counting” rules he applies in his study “sweep[]

  in minerals that cannot be asbestos,” including cleavage fragments. (Id. at 29.)

  Plaintiffs counter that Dr. Longo’s method was not overinclusive because he

  “eliminated non-asbestos fibers that did not meet the requisite morphological

  criteria” and subsequently “subjected the fibers to further analysis by SAED and

  EDXA to confirm they are asbestos.” (Pls.’ Post-Hr’g Br., at 62.)

        Fundamentally, the dispute between the parties is their disagreement over

  what fibers should be identified as “asbestos.” Defendants take the view that the

  “counting rules” of the AHERA regulations are, when applied in this instance, overly

  broad, such that cleavage fragments are counted as asbestos when they are not. On

  this issue, Dr. Longo explained that during the first step of the TEM testing, the

  purpose is to count the number of asbestos fibers contained in the talc sample by

  utilizing the AHERA counting rules. Because certain cleavage fragments do in fact

  resemble asbestos fiber, Dr. Longo agrees that—at the first step—certain cleavage

  fragments could be counted as asbestos in accordance with the rules. (See Longo

  Daubert Hr’g Tr., at 577–78.) However, Dr. Longo goes on to explain that steps two

  and three of the TEM eliminate most of those fragments based on their chemistry



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  and electron diffraction pattern. (See also id. at 502 (explaining that an analyst

  would not identify a fiber until all three TEM steps have been completed); id. at 517

  (stating that a fragment would not be identified as asbestos if “[i]t doesn’t meet one

  of [the] criteria, the morphology, the EDXA, the chemistry, or the electron diffraction

  pattern”); see also id. at 578.) Defendants’ position on this issue does not take into

  account that steps 2 and 3 of the TEM seek to eliminate certain fibers, which are

  counted in step 1, that are not asbestos. But, more importantly, Defendants do not

  challenge whether Dr. Longo performed his counting in accordance with the AHERA

  counting rules. Indeed, those rules do not eliminate the possibility that cleavage

  fragments could be included in step 1. Again, Defendants make no suggestion that

  there are other scientific methods which should have been used in counting asbestos

  fibers in this instance. Instead, Defendants take issue with the rules themselves. In

  other words, Defendants contend the AHERA counting rules are not accurate, but

  yet, they do not identify to which set of rules Dr. Longo should have adhered. What

  this boils down to is that Defendants raise a scientific disagreement that is not for

  the Court to decide in its capacity as a gatekeeper under Daubert. See, e.g., W.R.

  Grace, 455 F. Supp. 2d at 1199 (“It appears that there is some scientific disagreement

  as to the dangerousness of cleavage fragments and as to how these fragments should

  be treated when performing asbestos sampling. It is not the Court’s role to settle

  scientific disputes.”); see also Broe v. Manns, No. 15-985, 2016 WL 7048988, at *4

  (M.D. Pa. Dec. 5, 2016) (“Any disagreement plaintiffs have with the expert can be

  dealt with through cross-examination, presentation of contrary evidence and proper



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  jury instructions.”); In re Gabapentin Patent Litig., MDL Dkt. No. 1384, 2011 WL

  12516763, at *10 (D.N.J. Apr. 8, 2011) (concluding that disagreement between

  experts regarding application of a methodology presents “a battle of the experts” to

  be resolved by the trier of fact); In re Asbestos Prods. Liab. Litig., 714 F. Supp. 2d 535,

  544 (E.D. Pa. 2010); In re Diet Drugs Prods. Liab. Litig., MDL No. 1203, 2000 WL

  962545, at *13 (E.D. Pa. June 28, 2000) (finding that disagreement with the methods

  used by an expert is a question that “goes more to the weight of the evidence than to

  reliability for Daubert purposes”).

        In short, I find that the three-step TEM method applied by Dr. Longo, and his

  reliance on the AHERA counting rules, were reliable; thus, any disagreement with

  those rules is a question for the jury. See Walker v. Gordon, 46 F. App’x 691, 695–96

  (3d Cir. 2002). Indeed, the role of this Court on a Daubert motion is “simply to

  evaluate whether the methodology used by the expert is reliable, i.e., whether, when

  correctly employed, that methodology leads to testimony helpful to the trier of fact.”

  Id. at 695. Accordingly, the Court declines to exclude Dr. Longo’s testimony on the

  grounds that he improperly counted cleavage fragments as asbestos at step 1 of the

  TEM method.

        Related to their argument regarding inadequacies in the AHERA counting

  rules, Defendants also argue that the prevalence of “bundles” of asbestos fibers in Dr.

  Longo’s step 1 analysis underscores the unreliability of his methods. (See Defs.’ Post-

  Hr’g Br., at 35–36.) A bundle is defined by the EPA as “[a] structure composed of

  three or more fibers in a parallel arrangement with each fiber closer than one fiber



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  diameter.” AHERA Regs., 52 Fed. Reg. at 41858. The AHERA counting rules provide

  that asbestos structures may be designated as “fibers, bundles, clusters, or matrices.”

  Id. at 41867; see also Longo Daubert Hr’g Tr., at 524 (“One is not more asbestos than

  the other. It is all regulated asbestos if it is a fiber bundle or what have you.”). Of

  the asbestos fibers found in the historical talc samples examined by Dr. Longo, 93 %

  of identified asbestiform are designated as bundles. (Longo Daubert Hr’g Tr., at 592.)

  Defendants’ challenge to Dr. Longo’s finding of bundles is twofold: (1) the increased

  prevalence of bundles in Dr. Longo’s supplemental expert report constitutes a sudden

  reversal of opinion that undermines the reliability of his testimony, 25 and (2) that the

  analysts who conducted the testing had “no objective way of determining whether a

  particle is a single fiber or bundle.” (Defs.’ Post-Hr’g Br., at 36.)

         The Court again finds that these issues go to the weight of Dr. Longo’s opinions,



  25     Notably, in a report from March 2018, referenced by Defendants, with respect
  to testing conducted on Defendants’ products, Dr. Longo states that 53% of the
  identified asbestos were counted as bundles. (See Tersigni Cert., Ex. E14; see also
  Tersigni Cert., Ex. E26, at 153.) In that report, Dr. Longo tested 30 talc samples that
  had been provided to him by various law firms. (See Tersigni Cert., Ex. E14, at 4.)
  Then, in Dr. Longo’s expert reports in this MDL proceeding, he classified 96% of the
  counted asbestos as bundles. (See Longo 2d Supp. Rep., Feb. 1, 2019, at 25.)
  Importantly, in preparation for the MDL reports, Dr. Longo tested different historical
  samples that were provided by Defendants. (See id. at 2 (“The J&J and Imerys’
  containers and samples analyzed for this report were all supplied by both J&J and
  Imerys from their historical inventory.”).) In that respect, Defendants’ position does
  not take into account that each of these rounds of testing were conducted on different
  talc samples. Accordingly, the Court does not find that the fact Dr. Longo reported
  different numbers of bundles from different talc samples constitutes a change in
  opinion. I note that during the Daubert hearing, Dr. Longo attempted to address this
  very issue, however, counsel did not provide the doctor the opportunity to explain this
  purported discrepancy. (See Longo Daubert Hr’g Tr., at 592–94.) Hence, in resolving
  this question, the Court painstakingly reviewed all of Dr. Longo’s past reports
  submitted by the parties, including the ones prepared for the MDL.
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  rather than reliability. The genesis of Defendants’ argument in this context is that

  Dr. Longo’s counting method is inaccurate when it comes to differentiating between

  bundles and fibers of asbestos. They illustrate the inconsistencies by comparing

  different images of asbestos structures from Dr. Longo’s expert reports and argue

  that one report classifies certain structures as a fiber, and in the supplemental report,

  those similar structures are identified as bundles. Putting aside the inconsistencies,

  the AHERA counting rules, as iterated above, group bundles and fibers alike as

  asbestos. Simply stated, the rules call for the counting of both structures as asbestos.

  Indeed, Dr. Longo’s explanation in this regard is consistent with the purpose of the

  rules; he testified that distinguishing between a fiber and a bundle is one of the more

  difficult aspects of the TEM analysis. But, whether a particular asbestiform is a fiber

  or bundle does not make any qualitative difference since they are both asbestos. (See

  Longo Daubert Hr’g Tr., at 528 (stating that it does not “make a difference whether

  it is a fiber or bundle in terms of whether it is asbestos”).) Significantly, Defendants

  do not express any views on how the purported inconsistency between the

  differentiation of bundles and fibers impacts Dr. Longo’s overall test results about

  the quantity of asbestos found in any given historic sample of talc. In fact, Defendants

  do not dispute that bundles and fibers are both asbestiform that must be counted

  under AHERA regulations.          In short, because bundles and fibers are both

  qualitatively asbestos, to challenge the reliability of Dr. Longo’s testing results,

  Defendants must explain how the inconsistency impacts the overall study. Simply

  pointing out that certain asbestiform should be counted as bundles rather than fibers



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  and vice versa, does not somehow impugn Dr. Longo’s analysis under step 1 of the

  TEM.

         Moreover, regarding the identification of bundles and fibers, Defendants argue

  that Dr. Longo and his analysts do not have an objective method to ensure that their

  counting of bundles and fibers can be replicated. Dr. Longo testified that the AHERA

  rules, on this issue, are inherently subjective; that is, depending on the analyst and

  the manner in which he or she conducts the analysis, different analysts may come to

  differing counting results.   To account for this subjectivity, Dr. Longo and his

  laboratory conducted a quality control study—which is not required under the

  AHERA regulations—“to measure the error rate of the four TEM analysts counting

  and looking at the same grid openings and determining how many asbestos

  structures that they are seeing and identifying compared to the next analyst.” (Id. at

  524–25.) That control study determined the percentage of agreement among the

  analysts as to whether an asbestos was a fiber or a bundle was 72 % with respect to

  tremolite, and 83.7 % with respect to anthophyllite. (Id. at 526.) Because Dr. Longo,

  in his view, considered that to be a low percentage of error rate, he was satisfied that

  his lab was accurately differentiating between bundles and fibers, and more

  importantly, that the lab was counting these structures as asbestos. 26 (See id. at 524–

  28, 575.) In any event, any errors in differentiating between fibers and bundles, at

  step 1 of the TEM, does not ultimately demonstrate that Dr. Longo’s testing is



  26     Putting aside that this control study was not necessary under the AHERA
  regulations, Defendants do not suggest that these percentages were statistically
  significant or do not demonstrate a low error rate.
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  unreliable, because steps 2 and 3 further confirm whether the counted fibers or

  bundles—at step 1—are asbestos or cleavage fragments.

         Accordingly, pursuant to Daubert, the Court cannot find that Dr. Longo’s

  counting method in this regard was unreliable. On a threshold level, Dr. Longo’s test

  results as to step 1 of the TEM rest on “good grounds” and are based on reliable

  scientific methods under the AHERA rules. See United States v. Mitchell, 365 F.3d

  215, 244 (3d Cir. 2004). To the extent Defendants seek to attack Dr. Longo’s opinion

  in this context, they may do so before a jury, as any purported inaccuracies in his

  method of counting go more appropriately to the weight of his opinion rather than

  reliability.

         Defendants next challenge the reliability of step 3 of Dr. Longo’s TEM

  methodology—the SAED analysis. A SAED analysis “gives you information on the

  crystalline structure of [the particular] asbestos structure being examined.” (Longo

  Daubert Hr’g Tr., at 489.) According to the AHERA regulations, to which Dr. Longo

  adhered, SAED is intended to “verify the identification of the pattern by

  measurement or comparison of the pattern with patterns collected from standards

  under the same conditions.” AHERA Regs., 52 Fed. Reg. at 41870; (Longo Daubert

  Hr’g Tr., at 508). Dr. Longo explained that this final step of the TEM is critical “to

  distinguish between the fibrous talc and anthophyllite asbestos.”       (Id. at 508.)

  Defendants disagree with Dr. Longo’s approach and contend that his SAED

  methodology is unreliable because he did not take multiple diffraction patterns at

  different zone-axis orientations.   Defendants further contend that “[i]n order to



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  uniquely identify a mineral by SAED, the analyst must obtain diffraction patterns

  from ‘near-exact zone axis orientations.’” 27 (Defs.’ Asbestos Br., at 52.) In support of

  their argument, Defendants primarily rely on a TEM protocol authored by Dr. George

  Yamate in the early 1980s. (See id.) I disagree with Defendants’ position on this

  issue.

           The SAED methodology that Dr. Longo applied is derived from the AHERA

  regulations and the more recent ISO standards. These standards have not been

  challenged by Defendants as unreliable, and indeed, there is no dispute that these

  standards are generally accepted by the scientific community. Moreover, Dr. Longo

  testified that ISO Standard 22262-1 specifically provides that “laboratory samples in

  general seldom require zone axis measurements.” (Longo Daubert Hr’g Tr., at 512.)

  That is because, Dr. Longo explained, “the types of asbestos [they were] looking at,

  beside the anthophyllite, which you should tilt for the two diffraction patterns, either

  the tremolite series or the anthophyllite series, is fairly straightforward and you are

  not dealing in unknowns.” (Id. at 513.) To the extent Defendants disagree with Dr.

  Longo’s methodology and advance that the Yamate protocol is superior—that is an

  issue for cross-examination. 28 Indeed, this is a classic “battle of the experts” scenario.



  27      At the Daubert hearing, Dr. Longo testified that “[i]n some cases, some of the
  analysts did perform zone axis. Our mineralogists will tend to do it from time to time,
  but it is not required. It is not a required step in the EPA AHERA method other than
  a typical what we’ll call a d-spacing diffraction pattern that allows you to say this is
  an amphibole.” (Longo Daubert Hearing Tr., at 507.)

  28    Defendants rely on Hanson v. Colgate-Palmolive Co., 353 F. Supp. 3d 1273,
  1285–86 (S.D. Ga. 2018), to support their argument that a zone-axis analysis is
  required. In that case, the court excluded expert testimony where an expert followed
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  See In re Gabapentin Patent Litig., 2011 WL 12516763, at *10.

        Defendants’ final argument with respect to the doctor’s TEM analysis relates

  to the second step of TEM—EDXA. Defendants maintain that Dr. Longo’s opinions

  should be excluded because his EDXA analysis was unreliable and “deliberately

  designed to be unverifiable.” (Defs.’ Asbestos Br. at 62.) Specifically, Defendants

  fault Dr. Longo for omitting certain numerical data from his EDXA graphs. (Defs.’

  Asbestos Br., at 66.)    The EDXA analysis, which is required by the AHERA

  regulations, involves “compar[ing] spectrum profiles 29 with profiles obtained from

  asbestos standards. The closest match identifies and categorizes the structure.”

  AHERA Regs., 52 Fed. Reg. at 41887; (Longo Daubert Hr’g Tr., at 503). Dr. Longo

  testified that the AHERA method does not require inclusion of any numerical values

  of each element because this step “is [solely] a visual comparison [of the profiles] to

  the asbestos standards.” (Longo Daubert Hr’g Tr., at 504.) He then went on to explain

  that the numerical values are similarly not required by the ASTM and ISO methods.

  (Id. at 506.) Defendants do not contest Dr. Longo’s visual comparisons of the profiles

  from the talc samples and the standard asbestos profiles. Instead, they insist that




  an unreliable “modified Yamate method” that did not involve using step 3 of SAED.
  Here, Dr. Longo does not rely on the Yamate method and, further, his methodology
  complies with other generally accepted scientific methodologies for TEM analysis—
  namely, the EPA’s AHERA regulations and ISO Standard 22262-1. Accordingly, I
  find that the Hanson decision does not alter my analysis of this issue.

  29     A spectrum profile is a graph generated by the EDXA that shows “the ratios
  and levels of different elements that are shown in the mineral.” (Longo Daubert Hr’g
  Tr., at 503.)


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  Dr. Longo should have included certain numeric data that Defendants, themselves,

  have not disputed are not required under the relevant standards. These numeric

  data, Defendants posit, are essential to verify Dr. Longo’s results. However, because

  Defendants’ challenge does not go to the reliability of the methodologies employed by

  Dr. Longo, this is, again, an issue for cross-examination. Defendants may present

  evidence and argue to the jury as to why this numeric data is important, even though

  generally accepted scientific methods do not require it. Hence, the Court will not

  exclude Dr. Longo’s testimony on this ground.

        However, the same does not hold true as to Dr. Longo’s testing using the PLM

  methodology. Because I find Dr. Longo’s testing in this context unreliable, I exclude

  any portions of his proposed testimony related to the results derived from the PLM

  testing. I note that while Dr. Longo was not required by any of the relevant scientific

  methods to use the PLM methodology, he nevertheless conducted the PLM analyses

  to further support his results under the TEM. In his report, Dr. Longo explains that

  “[t]he PLM method is primarily used today for the analysis of asbestos-added

  products where the asbestos-content of these products are typically over 1% by

  weight.” (Longo 2d Supp. Rep. at 5.) Dr. Longo states:

               The strengths of the method are that it can positively
               identify the different regulated asbestos mineral types and
               provide a qualitative estimate of the weight percent of
               asbestos. The primary weaknesses of the method are 1)
               analytical sensitivity issues for samples that may contain
               less than 0.1 wt. % of asbestos such as cosmetic talcs and
               2) because asbestos fiber and bundle structure resolution
               in the PLM method is dependent on the wave length of
               light, asbestos particles must be at least 0.5 um in the
               smallest dimension to be visible. . . . For [this] analysis the

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               ISO 22262-1 PLM method was used.

  (Id. at 5.) In addition to the ISO 22262-1 PLM methodology, Dr. Longo conducted a

  heavy liquid separation before conducting the PLM analysis because it “increase[es]

  the analytical sensitivity of the PLM analysis for cosmetic grade talc.” (Id. at 5.)

        Defendants argue that Dr. Longo should have followed the PLM methodology

  set forth in ISO 22262-2, as opposed to ISO 22262-1. 30 Defendants assert that ISO

  22262-1 states that “when the asbestos concentration found is between 0% and 5%

  and ‘it is necessary to make critical decisions on the basis of the results’ (including a

  result of ‘non-detected’) then ISO 22262-2 should be used.” (Defs.’ Asbestos Br., at

  74.) Indeed, Defendants correctly point out that under the more powerful TEM

  microscope, Dr. Longo claimed to have detected asbestos at concentrations ranging

  from .0092% on the high end to .0000033% on the low end. With this ultra-trace

  amount of asbestos, there is no conceivable reason why Dr. Longo determined that

  the ISO 22262-1 standard was appropriate for testing cosmetic talc.           Tellingly,

  nowhere in Dr. Longo’s expert report, his testimony, or even Plaintiffs’ opposition

  papers, is there an explanation as to why Dr. Longo used ISO 22262-1. To quote Dr.

  Longo, the “primary weakness” of this method is “the analytical sensitivity issues for

  samples that may contain less than 0.1 wt. % of asbestos, such as cosmetic talcs.”



  30    The Court’s analysis of whether ISO 22262-1 should have been utilized in the
  context of PLM method does not impact Dr. Longo’s usage of ISO 22262-1 in
  conducting his TEM analysis. Both ISO 22262-1 and ISO 22262-2 set forth separate
  standards for testing asbestos in materials using TEM and PLM. See Cert. of
  Tersigni, Ex. A74 (ISO 22262-1); id., Ex. A75 (ISO 22262-2). Importantly, while
  Defendants challenge Dr. Longo’s use of ISO 22262-1 with respect to his PLM
  analysis, they do not do so as to his use of the ISO standards in the TEM testing.
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  (Longo 2d Supp. Rep. at 5.) Even having so admitted, Dr. Longo, nevertheless, used

  this standard to perform his PLM analyses.

        Significantly, this very decision is contrary to Dr. Longo’s view prior to this

  litigation, as demonstrated by the following Daubert hearing testimony:

               Q.   Prior to issuing your MDL report, you had not used
               PLM in your initial report. Correct?

               A.    That is correct.

               Q.    And in fact you were of the opinion back then in 2017
               and 2018 that PLM basically wasn't going to
               work. Correct?

               A.    Using the standard method, yes ma’am.

               Q.    You were of the opinion that PLM was not
               appropriate for this kind of cosmetic talc analysis. Correct?

               A.    That is correct.

  (Longo Daubert Hr’g Tr., at 606–07.) The fact that Dr. Longo changed his view

  regarding the use of PLM to test cosmetic talc for asbestos solely for the purposes of

  this litigation, and combined with the lack of an appropriate explanation as to why

  ISO 22262-1 was used, I cannot find, on these bases, that Dr. Longo’s PLM testing is

  reliable under Daubert.

        What is more, as Defendants further point out, Dr. Longo’s PLM methodology

  is unreliable because it was replete with subjectivity and reproducibility problems.

  Dr. Longo explained at the Daubert hearing that pursuant to the PLM methodology,

  for positive asbestos samples, the quantity of asbestos in the samples was determined

  by visual examination “based on past standards, based on petrographic that show



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  what the various percentages are.” (Longo Daubert Hr’g Tr., at 611–13.) These

  standards (weight percentages) were generated by MAS and were not produced to

  Defendants. (Id. at 614.) Defendants argue that because Dr. Longo did not disclose

  this information in connection with his expert report, replication of Dr. Longo’s

  testing is difficult. I agree. Dr. Longo was questioned on the stand during the

  Daubert hearing as to why he did not disclose the weight percentages. (Id. at 611–

  615.) He did not have an adequate explanation. This is troubling, because the weight

  percentages are central to the asbestos analysis under the PLM; indeed, these

  percentages were used by individual lab analysts to determine the amount of asbestos

  in a given sample. Without that information, which is internally created by MAS,

  reproducing Dr. Longo’s test under the PLM would not be possible, and hence, the

  testing is unreliable.

        This reproducibility issue was made plain by Dr. Longo’s decision to have a

  third-party laboratory replicate his findings. Dr. Longo requested Dr. Lee Poye of J-

  3 Laboratory (“J-3”) to perform a PLM analysis using the same ISO 22262-1 method

  on 22 of the historical talc samples. (See Longo Daubert Hr’g Tr., at 618.) However,

  J-3’s PLM analysis was negative for asbestos for each sample. (Longo 2d Supp. Rep.

  at 20.) While Dr. Longo attempted to explain away why this discrepancy occurred,

  he nevertheless conceded that “[t]hese differing results between the two labs will

  require further investigation to understand the reason for these differences.” (Longo

  2d Supp. Rep. at 5.) Again, Dr. Longo had no explanation. This underscores the very

  real reliability and reproducibility issues plaguing Dr. Longo’s PLM testing. As such,



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  Dr. Longo is not permitted to testified as to his testing results under the PLM.

        Finally, Defendants argue that Dr. Longo’s testimony should be excluded as it

  is irrelevant to the issue of general causation because he failed to conduct any sort of

  exposure analysis. (Defs.’ Post-Hr’g Br., at 40.) This argument specifically challenges

  Dr. Longo’s opinion “that individuals who used Johnson & Johnson talcum powder

  products (Johnson’s Baby Powder and Shower to Shower) in the past would have,

  more likely than not, been exposed to significant airborne levels of both regulated

  amphibole asbestos and fibrous (asbestiform) talc.” (Longo 2d Supp. Expert Rep., at

  32.) Dr. Longo opines as such, despite the fact that he has described the amount of

  talc in Defendants’ products as “ultra-trace.” (See Longo Daubert Hr’g Tr., at 559–

  61.) Indeed, Dr. Longo and the MAS analysts have found asbestos levels of less than

  one percent in the asbestos products tested. (See id. at 559.) Defendants cross-

  examined Dr. Longo on this issue at the Daubert hearing:

               Q.     And what you state in your report, Doctor, is that
               you were of the opinion that individuals who used Johnson
               & Johnson talcum powder products in the past would have
               more likely that not been exposed to significant airborne
               levels of both regulated amphibole asbestos and fibrous
               asbestiform talc. Right?

               A.     That’s correct.

               Q.    So it is your opinion that individuals who used this
               product have a significant exposure. Correct?

               A.     Yes.

               Q.    But you haven’t done in this MDL an exposure
               analysis. Correct?

               A.     Not with these samples, no.


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             Q.     Meaning you have not calculated, Dr. Longo,
             whether or not it is even possible for those ultra, ultra trace
             levels that we just looked at to make it out of a bottle and
             into a human being who is using that product as a
             consumer. Correct?

             A.      We haven’t done that study. If it is in the bottle, and
             even though those, quote, ultra, trace concentrations are
             still very significant, it is going to get out of the bottle, will
             get it up in the air, and be in the breathing zone.

             THE COURT:           How       do    you     use     the    term
             “significance”?

             THE WITNESS: I term it as, can we measure it? So it is
             10 to 20 times above background. In this case, there is very
             little to no background involving tremolite and
             anthophyllite. It is not on a health basis. It is, is there an
             exposure?

             ...

             Q.     You just said 10 to 20 times above background. The
             fact of the matter here, as it relates to the MDL samples,
             you haven’t measured or calculated anything at all?

             A.     Not with the MDL samples.

             Q.    And it is not that your facility at MAS doesn’t know
             how to do an exposure simulation, Right?

             A.   Right.       We have done those, not with the MDL
             samples.

             THE COURT:          What was your opinion based on; it was
             significant in the MDL?

             THE WITNESS: That it is significant in that they would
             have had an exposure that more than half of the samples
             that we measured were positive for asbestos. We have done
             exposure calculations in the past with Johnson & Johnson
             in which we have calculated these exposures with Johnson
             & Johnson products and made a measurement.

             THE COURT:           How about these samples that you
             were given?

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                THE WITNESS:         No, ma’am.

  (Longo Daubert Hr’g Tr., at 560–62.)

         The Court agrees that Dr. Longo has not presented “good grounds” for this

  opinion. Dr. Longo fails to offer any scientific support for his opinion that the use of

  Defendants’ talc products causes exposure, let alone significant exposure, to asbestos.

  It is well-established that “nothing in either Daubert or the Federal Rules of evidence

  requires a district court to admit opinion evidence that is connected to existing data

  only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

  In that connection, “[a] court may conclude that there is simply too great an analytical

  gap between the data and the opinion proffered.” Id. By failing to conduct an

  exposure analysis, Dr. Longo’s opinion on the likelihood that talc users were exposed

  to “significant” amounts of asbestos, and indeed, any exposure, is too attenuated from

  his findings of trace levels of asbestos in talc. Accordingly, Dr. Longo is not permitted

  to testify as to this opinion at any trial in this matter.

         Nevertheless, the Court finds that Dr. Longo’s remaining opinion on the

  presence of “ultra-trace” asbestos in Defendants’ talc products is still admissible as

  useful to the trier of fact. Indeed, the issue of whether there is asbestos, and the

  amount of asbestos, in Defendants’ talc products are key issues in this litigation. For

  example, Plaintiffs’ epidemiology experts rely upon Dr. Longo’s report for the

  assumption that Defendants’ talc products contain asbestos to support their opinions

  that talc use is associated with ovarian cancer. (See McTiernan Expert Rep., at 57;

  Carson Expert Rep., at 5; Clarke-Pearson Expert Rep., at 6.) Hence, the Court, in its

  discretion, only excludes Dr. Longo’s opinion on exposure. See In re Pfizer, 819 F.3d
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  at 665 (“When faced with expert testimony that contains both reliable and unreliable

  opinions, district courts often exclude only the unreliable testimony.”).        In that

  connection, to the extent that other Plaintiffs’ experts in this litigation rely upon Dr.

  Longo’s findings, their reliance will be limited solely to his finding that Defendants’

  talc products contain asbestos, and they cannot rely on his opinion that talc users

  were exposed to asbestos.

        C.       Plaintiffs’ General Causation Experts

        The following three experts testified on behalf of Plaintiffs on the issue of

  general causation, i.e., whether use of talc products can cause ovarian cancer: Dr.

  Anne McTiernan, an epidemiologist; Dr. Daniel Clarke-Pearson, a gynecologic-

  oncologist; and Dr. Arch Carson, a toxicologist (the “general causation experts”). A

  plaintiff in a products liability action must prove both general and specific causation.

  In re Zoloft (Sertralinehydrochloride) Products Liab. Litig., 176 F. Supp. 3d 483, 491

  (E.D. Pa. 2016). Specifically, “[g]eneral causation is whether a substance is capable

  of causing a particular injury or condition in the general population, while specific

  causation is whether a substance caused a particular individual’s injury.” Id.

  Generally speaking, “epidemiology is the best evidence of general causation in a toxic

  tort case.” Id. (quoting Norris v. Baxter Healthcare Corp., 397 F.3d 878, 882 (10th

  Cir. 2005)).

        Because the parties address the admissibility of these experts collectively, the

  Court, first, sets forth the experts’ qualifications and opinions, and then determines

  the admissibility of those opinions under Daubert.



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                    i.   The Experts

                              a. Dr. Anne McTiernan, Ph.D., M.D.

        Dr. McTiernan is proffered as an expert in epidemiology. She completed a

  Ph.D. program in epidemiology at the University of Washington Seattle in 1982.

  (McTiernan Daubert Hr’g Tr., at 715.) She obtained her medical degree at New York

  Medical College in 1989, and thereafter, did a residency in internal medicine at the

  University of Washington in 1992. (Id.) Dr. McTiernan currently serves as a member

  of the Fred Hutchison Cancer Research Center in Seattle, Washington, where she

  conducts epidemiologic research, identifies risk factors for women with respect to

  breast and ovarian cancer, and studies “prevention methods to reduce population and

  other markers of cancer risk.” (Id. at 716.) The doctor is also a research professor in

  the epidemiology and gerontology and geriatric medicine departments at University

  of Washington Schools of Medicine and Public Health. (Id.) The Court finds that Dr.

  McTiernan is qualified to act as an expert in epidemiology. 31

        Dr. McTiernan opines that use of talcum powder products in the female genital

  perineal area can increase the risk of, or indeed cause, ovarian cancer. (Id. at 720.)




  31     Defendants attempt to present Dr. McTiernan’s opinions as unreliable and
  “made for litigation” based on the fact that Dr. McTiernan met with Plaintiffs’ counsel
  before testifying before Congress regarding the alleged connection between talc and
  ovarian cancer. (See Defs.’ Post-Hr’g Br., at 78.) The Court is unconvinced that this
  undermines the reliability of Dr. McTiernan’s testimony. As set forth below, the
  Court finds that Dr. McTiernan reliably applied the Bradford Hill factors and
  considered the body of epidemiologic evidence. To the extent Defendants wish to
  explore any possible biases of Dr. McTiernan’s opinions and/or testimony, that is an
  issue for cross-examination. See Venus, 2017 WL 2364192, at *17; see also infra, note
  32.
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  Dr. McTiernan explained her methodology, which included formulating a question to

  answer, i.e., (1) “What is the association between talcum powder products and ovarian

  cancer,” and (2) “can the use of talcum powder products cause ovarian cancer.” (Id.

  at 726.) Dr. McTiernan then conducted a systematic review of the available evidence

  – “in this case, epidemiologic evidence, and [she did] a careful [search] through a

  database and through relevant journal articles to make sure [she had] the totality.”

  (Id. at 726–27.) She then reviewed the data and in doing so

               considered the statistical data, the strength and
               weaknesses of study type, the effect of possible bias,
               chance, confounding and differences in exposure measures.
               [She] considered dose-response . . . . [She] also considered
               data from non-epidemiologic lines of evidence, such as
               animal, cell, clinical and pathological studies. [She]
               considered non-talc components of talcum powder products
               and impact on carcinogenicity such as asbestos, fibrous
               talc, heavy metals, and fragrances.

  (Id. at 727–28.)   Dr. McTiernan explained that her opinion was based “on the

  statistically significant elevated risk seen with the epidemiology data when they are

  combined, the pathological evidence, the consistency of results across geographic

  areas, and in different race and ethnic groups, evidence of a positive dose-response

  effect and the plausible biological mechanism.” (Id.) Dr. McTiernan further extracted

  certain information from the studies, including

               the study characteristics that would be most important to
               know about the breadth and depth of the individual
               studies, particularly to be able to know how large the study
               was, where it was conducted, when it was conducted, how
               many cases were included, how many people without
               cancer were included, if it was a cohort, [and] how long it
               had been followed. [She] looked at dose-response. The key
               metric is relative risk. Relative risk is clearly the

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               important element. And [she] also looked at the statistical
               testing on cancer subtype.

  (Id. at 728–29.) Based on that information, Dr. McTiernan conducted a Bradford Hill

  analysis 32 “to assess for causality” and based on her independent judgment and

  weight of the relevant evidence, she reached her conclusion “that use of talcum

  powder products, including Johnson & Johnson Baby Powder and Shower to Shower,

  in the genital perineal area can cause ovarian cancer.” (Id. at 720.)

                              b. Dr. Daniel Clarke-Pearson

        Dr. Clarke-Pearson has been presented as an expert in gynecologic oncology.

  (Clarke-Pearson Daubert Hr’g Tr., at 1519.) Dr. Clarke-Pearson received a Bachelor

  of Science in biology from Harvard University and an M.D. at Case Western

  University. (Id.) He completed both a residency in obstetrics/gynecology and a

  fellowship in oncology at Duke University Medical Center.         (Id.)   Following his

  fellowship, for 18 years, the doctor was part of the faculty at Duke University. (Id.)

  During his career in academic medicine, Dr. Clarke-Pearson has published

  approximately 250 peer-reviewed publications, most of which “are in the field of

  gynecologic oncology, and some have dealt with ovarian cancer, in particular, clinical

  trials describing advances in the treatment of ovarian cancer.” (Id. at 1523.) Dr.

  Clarke-Pearson is qualified to act as an expert in this matter.

        Dr. Clarke-Pearson followed a similar methodology as Dr. McTiernan. He first




  32    A Bradford Hill analysis involves consideration of the Bradford Hill criteria,
  “which are nine factors widely used in the scientific community to assess general
  causation.” Gannon v. United States, 292 F. App’x 170, 172–73 (3d Cir. 2008).
                                            63
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  conducted a literature search and reviewed the epidemiological studies, including

  “case-control studies, cohort studies, pooled studies, and meta-analyses.” (Id. at

  1531.) Dr. Clarke-Pearson explained that based on his “extensive research,” he

  “believes that genital application of talcum powder, such as Johnson & Johnson’s

  Baby Powder and Shower to Shower, increases the risk of epithelial ovarian cancer

  in all women and can cause epithelial ovarian cancer in some women.” (Id. at 1530.)

  The doctor also applied a Bradford Hill causation analysis to reach his conclusion,

  which is “similar to what I do in medicine with an evidence-based medicine decision

  analysis to come to the conclusion what’s best to treat a patient.” (Id.)

                              c. Dr. Arch Carson

        Dr. Carson is offered as an expert in toxicology. Dr. Carson is an associate

  professor at the University of Texas School of Public Health and “a physician scientist

  who specializes in medical toxicology.” (Carson Daubert Hr’g Tr., at 1258.) He

  received an M.D. from Ohio State University and a Ph.D. in toxicology from the

  Kettering Laboratory at the University of Cincinnati. (Carson Expert Rep., at 1.)

  The doctor is currently an Associate Professor at the University of Texas School of

  Public Health and the Program Director of the Occupational and Environmental

  Medicine Residency training program at the University of Texas Health Center in

  Houston, Texas. (Id.) Dr. Carson’s professional activities “have included patient

  care, basic and applied research, teaching of medical students, graduate students and

  post-graduate medical trainees, and professional consulting.” (Id.) Dr. Carson has

  also been the Program Director of the National Institute for Occupational Safety and



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  Health-funded Education and Research Center at the University of Texas for 19 of

  the past 21 years. (Id.) Based on his professional background, I find that Dr. Carson

  is qualified to testify as an expert. 33

         In this proceeding, Dr. Carson opines that

                Johnson’s Baby Powder and Shower to Shower pose a
                significant health hazard. The epidemiological studies
                show me that there is a consistent positive relationship
                between the genital use of talcum powders and about a 30
                percent increase in ovarian cancer. Talcum powder clearly
                migrates through the female reproductive tract when it’s
                applied to the perineum and exposes the ovaries.

                Inhalation of dust during those applications is a potential
                secondary route.     Talcum powder produces chronic
                inflammation in the tissues in which it contacts and is
                sequestered.

                Johnson’s Baby Powder and Shower to Shower contain
                mineral fibers including asbestos and fibrous talc that
                intensifies this exposure, and the inflammatory responses
                including cell growth and proliferation.

                Johnson’s Baby Powder and Shower to Shower are


  33     Despite the Third Circuit’s liberal approach to Rule 702’s qualification
  requirement, see Pineda, 520 F.3d at 244, Defendants raise certain challenges to Drs.
  McTiernan’s and Carson’s qualifications. Specifically, Defendants argue that Drs.
  McTiernan and Carson are not qualified to opine on certain issues that go outside
  their areas of stated expertise, epidemiology and toxicology, respectively. (See Defs.’
  Qualifications Br., at 3–5, 17–19.) For example, Defendants claim that Dr.
  McTiernan is not an oncologist or gynecologist such that she can opine on issues
  related to biological plausibility, and that Dr. Carson cannot opine on epidemiology.
  I disagree and decline to exclude these experts on that basis. As Defendants candidly
  conceded in their brief, it is well-accepted that an expert should not be excluded
  “merely because the court feels that the expert is not the best qualified or that the
  expert does not possess the most appropriate specialization.” In re Human Tissue,
  582 F. Supp. 2d at 655. As set forth in detail supra, Plaintiffs have sufficiently
  demonstrated that Drs. McTiernan and Carson are qualified to conduct a Bradford
  Hill analysis utilizing various epidemiological data.


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                 carcinogenic, and I believe the regular genital use of
                 Johnson’s Baby Powder and Shower to Shower can cause
                 epithelial ovarian cancer.

  (Id. at 1259–60.) Dr. Carson reached this conclusion by performing a “step-by-step

  risk assessment process that is similar to the one that is used by the National

  Institute for Occupational Safety and Health.” (Id. at 1261.) That process involved

  “identification of the hazard followed by assessment of whether or not there is

  potential for exposure, then assessment of response to what is known of regarding

  response to that exposure, and then characterization of the risk.” (Id.) Dr. Carson

  also performed a Bradford Hill analysis, through which he determined that “genital

  application of talcum powder over time raises the risk of ovarian cancer in everyone

  exposed and causes ovarian cancer in some of the people who are exposed.” (Id. at

  1310.)

                     ii.   The Experts’ Bradford Hill Analyses

           Plaintiffs’ experts formed their general causation opinions using the Bradford

  Hill criteria, “which are nine factors widely used in the scientific community to assess

  general causation.” Gannon, 292 F. App’x at 172–73. Those nine factors are (1)

  temporal relationship; (2) strength of association; (3) dose-response relationship; (4)

  replication; (5) biological plausibility; (6) consideration of alternative explanations;

  (7) cessation of exposure; (8) specificity of the association; and (9) consistency with

  other knowledge. Michael D. Green, et al., Reference Guide on Epidemiology, in

  Reference Manual on Scientific Evidence 549, 600 (Fed. Jud. Ctr., 3d Ed. 2011). 34



  34       The Court relies on the Reference Guide on Epidemiology for guidance on how
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        In weighing the Bradford Hill factors, the general causation experts conducted

  a review of the available epidemiologic studies, which included 28 case control

  studies, 3 cohort studies, 3 meta-analyses, and 1 pooled analysis. Both case control

  and cohort studies are observational studies. See id. at 556–57. The difference

  between case-control and cohort studies is “that cohort studies measure and compare

  the incidence of disease in the exposed and unexposed (‘control’) groups, while case-

  control studies measure and compare the frequency of exposure in the group with the

  disease (the ‘cases’) and the group without the disease (the ‘controls’).” Id. at 557. A

  meta-analysis aggregates information from published studies and “collects this

  number called relative risk from different studies and they combine those relative

  risks so that they could have one relative risk. It gives you a very big summary of

  what the literature looks like overall.” (McTiernan Daubert Hr’g Tr., at 733.) A

  pooled analysis “is where individual level data are obtained from the individuals in

  the study” and the “data then are analyzed as if it is one large study,” creating a



  a Bradford Hill analysis is conducted in the scientific community. This guide is a
  part of a series of guides included in the Reference Manual on Scientific Evidence,
  promulgated by the Federal Judicial Center. The Manual’s purpose is “to provide the
  tools for judges to manage cases involving complex scientific and technical evidence.”
  Fed. Judicial Ctr., Reference Manual on Scientific Evidence, at xv (3d ed. 2011).
  Indeed, the Reference Guide on Epidemiology has been relied upon by many courts in
  this Circuit in assessing the admissibility of an experts’ Bradford Hill analysis. See,
  e.g., Rowland v. Novartis Pharms. Corp., 9 F. Supp. 3d 553, 562 n.21 (W.D. Pa. 2014);
  Pritchard v. Dow Agro Sciences, 705 F. Supp. 2d 471, 484 (W.D. Pa. 2010); In re
  Human Tissue, 582 F. Supp. 2d at 663; Magistrini v. One Hour Martinizing Dry
  Cleaning, 180 F. Supp. 2d 584, 590 (D.N.J. 2002). Various Courts of Appeals have
  also cited to the Guide in assessing the reliability of an expert’s general causation
  analysis. See, e.g., Goodpaster v. City of Indianapolis, 736 F.3d 1060, 1068 n.1 (7th
  Cir. 2013); McClain v. Metabolife Inter., Inc., 401 F.3d 1233, 1239 (11th Cir. 2005);
  Norris v. Baxter Healthcare Corp., 397 F.3d 878, 882 (10th Cir. 2005).
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  summary of the statistics. (Id. at 734.)

        As a general matter, “consideration of the Bradford Hill factors is a reliable

  method for determining causation.” In re Roundup Prods. Liab. Litig., 390 F. Supp.

  3d 1102, 1130 (N.D. Cal. 2018); see also In re Zoloft (Sertraline Hydrochloride) Prods.

  Liab. Litig., 858 F.3d 787, 795 (3d Cir. 2017) (acknowledging that the Bradford Hill

  analysis is “generally reliable”); Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227,

  1235 n.4 (9th Cir. 2017) (“The Bradford Hill methodology refers to a set of criteria

  that are well accepted in the medical field for making causal judgments.”).

  Nevertheless, the Third Circuit has cautioned that “despite the fact that the

  methodology is generally reliable, each application is distinct and should be analyzed

  for reliability.” Zoloft, 858 F.3d at 795. Accordingly, the Zoloft court held that “the

  specific techniques by which the weight of the evidence/Bradford Hill methodology is

  conducted must themselves be reliable according to the principles articulated in

  Daubert.”   Id. at 796.   In other words, “the ‘techniques’ used to implement the

  [Bradford Hill] analysis must be 1) reliable and 2) reliably applied.” Id. 35

        Defendants argue that the Bradford Hill analyses conducted by Plaintiff’s

  general causation experts are “unreliable and conclusion driven.” (See Defs.’ General

  Causation Br., at 31.) In response, Plaintiffs maintain that the experts’ analyses are




  35     In assessing the experts’ analyses of the Bradford Hill factors, the Court refers
  to case law outside of the Third Circuit. While a number of district courts in this
  circuit have examined these factors, they do not discuss each factor with the type of
  detailed analysis that this Court is called upon to conduct here. Moreover, there is a
  dearth of case law in the Third Circuit on these issues. Accordingly, where
  appropriate, the Court seeks guidance from out-of-circuit cases.
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  reliable under Daubert and that Defendants’ arguments go only to the weight of their

  testimony. (Pls. General Causation Br., at 75–76.) Below, the Court addresses the

  reliability of the experts’ applications of each Bradford Hill factor.

                               a. Strength of Association

        The strength of association factor asks “[h]ow strong is the association between

  the exposure and disease.” Green, supra, at 602. Strength of an association may be

  measured in terms of “relative risk,” which is the approach taken by Plaintiffs’

  experts. See id. at 566. Relative risk “is defined as the ratio of the incidence rate . .

  . of disease in exposed individuals to the incidence rate in unexposed individuals.” Id.

        Plaintiffs’ general causation experts placed significant weight on the strength

  of association factor, finding a 1.2 to 1.6 relative risk. Dr. McTiernan explains in her

  expert report:

               The meta-analyses and pooled analysis showed that risk of
               ovarian cancer among users of talcum powder products is
               22-31% higher than in women who never used these
               products. A total of 28 case-control studies, 3 prospective
               cohort studies, 2 meta-analyses, and one pooled analysis
               were reviewed in depth. The meta-analyses found a
               statistically significant 24-25% increased risk of developing
               serous ovarian cancer—representing 52% of epithelial
               ovarian cancer cases—in women who had ever used talcum
               powder products compared with never users. The pooled
               analysis, which included data from 5 previously published
               and 3 unpublished case-control studies, found similar
               statistically significant increased risks for overall
               epithelial ovarian cancer and serous ovarian cancer (24%
               and 20%, respectively). Thus, when combining these
               studies through meta-analyses, the totality of the evidence
               shows a statistically significant increased risk of ovarian
               cancer with use of perineal talcum powder products.
               Viewed in the context of the high consistency of the study
               results across time, diverse study populations, and strong

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               study designs, bias and chance as explanation for the
               increased risk are unlikely. Further, my confidence in the
               reliability of the data on magnitude of the risk is enhanced.
               Therefore, my analysis of these studies strongly supports a
               causal association and, given the high prevalence of the use
               of talcum powder products in this population, these levels
               of risk present a clinically significant public health
               concern.     [I] placed high weight on this aspect of
               determination of causality.

  (McTiernan Expert Rep., at 63–64 (footnote omitted).) Drs. Clarke-Pearson and

  Carson, for similar reasons, afford this factor significant weight in their Bradford Hill

  analyses. (See Clarke-Pearson Expert Rep., at 8; Carson Expert Rep., at 8–9.)

        Defendants argue that these experts’ opinions with respect to this Bradford

  Hill factor are unreliable because “they mischaracterize the objective magnitude of

  the association reported in the studies and rest on inapposite comparisons to causal

  relationships.” (Defs.’ Post-Hr’g Br., at 18.) They further argue that while the experts

  opine that the association between use of talc products and ovarian cancer is strong,

  it is in fact, objectively weak. (Id. at 15–16.) In that connection, Defendants maintain

  that at least one court has recognized the 1.2 to 1.6 relative risk identified by the

  experts as “a weak, not strong, association by any objective measure.” (Defs.’ General

  Causation Br., at 32 (citing Carl v. Johnson & Johnson, Nos. ATL-L-6546-14, ATL-

  L-6540-14, 2016 WL 4580145, at *18 (N.J. Super. Ct. Law Div. Sept. 2, 2016).)36



  36     Carl is a parallel New Jersey mass tort litigation involving perineal talc use
  and ovarian cancer. The court in Carl issued its decision in 2016, excluding the
  epidemiological experts presented by the plaintiffs in that matter, prior to a
  significant number of additional studies and testing having been conducted, and more
  data having been published, on the possible link between talc use and ovarian cancer.
  Importantly, the epidemiological experts presented in Carl are different than those
  presented by Plaintiffs in the instant matter. Indeed, the experts in this case, at
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  Defendants further fault Plaintiffs’ causation experts for relying primarily on case-

  control studies, as opposed to cohort studies, which Defendants maintain provide

  more reliable results. (See Defs.’ General Causation Br., at 34–41.)

        I find that the opinions of the general causation experts with respect to this

  factor are admissible. The experts, both at the Daubert hearing and in their expert

  reports, provided good grounds for their decisions to place significant weight on the

  strength of association factor.     Defendants have not presented any compelling

  grounds for the Court to find otherwise. First, Defendants’ argument with respect to

  whether the association is “weak” or “strong” is one that goes to the weight of the

  experts’ testimony, not the reliability.

        Relative risk is the foundation of the strength of association factor and

  “[d]etermining the relative risk is important in understanding the results of a study

  because virtually every disease associated with a risk factor also occurs, at some rate,

  in the general population not exposed to the risk factor.” Magistrini v. One Hour

  Martinizing Dry Cleaning, 180 F. Supp. 2d 584, 591 (D.N.J. 2002). The Reference




  arriving their conclusions, relied upon epidemiological studies that have been
  released since Carl. See, e.g., Taher, et al., Critical Review of the Association Between
  Perineal Use of Talc Powder and Risk of Ovarian Cancer, 90 Reproducers. Toxicol. 88
  (2019); Penninkilampi, et al., Perineal Talc Use and Ovarian Cancer: A Systematic
  Review and Meta-Analysis, 29(1) Epidemiology 41 (2018); Berge, et al., Genital Use
  of Talc and Risk of Ovarian Cancer: A Meta-Analysis, 27(3) Eur. J. Cancer Prev. 248
  (2018); Schildkraut, et al., Association Between Body Powder Use and
  Ovarian Cancer: The African American Cancer Epidemiology Study, 25(10) Cancer
  Epidemiol. Biomarkers Prev. (2016). But, more importantly, one crucial difference
  between the proofs of causation in Carl and in this MDL, is the theory of asbestos
  and the biological testing conducted in light of the alleged presence of asbestos in talc
  products, which was not done in Carl.
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  Guide on Epidemiology explains that relative risk can be interpreted as follows:

                If the relative risk equals 1.0, the risk in exposed
                individuals is the same as the risk in unexposed
                individuals. There is no association between the exposure
                to the agent and disease.

                If the relative risk is greater than 1.0, the risk in exposed
                individuals is greater than the risk in unexposed
                individuals. There is a positive association between
                exposure to the agent and the disease, which could be
                causal.

                If the relative risk is less than 1.0, the risk in exposed
                individuals is less than the risk in unexposed individuals.
                There is a negative association, which could reflect a
                protective or curative effect of the agent on risk of disease.

  Green, supra at 567 (footnotes omitted). A relative risk of 2.0 means the risk has

  doubled, “indicating that the risk is twice as high among the exposed group as

  compared to the non-exposed group.”          Magistrini, 180 F. Supp. 2d at 591.          In

  epidemiology, there is, however, no threshold, or a magical number, of a relative risk

  that must be found in order to place significant weight on the strength of association

  factor. Indeed, “[a] relative risk of 2.0 is not so much a password to a finding of

  causation as one piece of the evidence, among others for the court to consider in

  determining whether an expert has employed a sound methodology in reaching his or

  her conclusion.” Magistrini, 180 F. Supp. 2d at 606 (quoting Landrigan v. Celotex

  Corp., 127 N.J. 404, 419 (1992)). 37 Courts may also “consider whether the authors of



  37     I note that in the context of relative risk, courts have endorsed “a flexible
  Daubert inquiry rather than bright-line rules.” Pritchard, 705 F. Supp. 2d at 486
  (concluding that “a relative risk of 2.0 is not dispositive of the reliability of an expert’s
  opinion relying on an epidemiology study, but it is a factor, among others, which the
  Court is to consider in its evaluation”). Accordingly, in the context of relative risk on
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  the study found the association to be statistically significant and, where the authors

  found an association to not be statistically significant, an opinion may be unreliable.”

  Pritchard, 705 F. Supp. 2d at 486.

        The question of whether the relative risk found by Plaintiffs’ experts can be

  categorized as “strong” or “weak” is best left to the jury. As to reliability, the Court’s

  inquiry, here, must focus on whether the experts used a sound methodology in

  reaching their conclusion that the relative risk range of 1.2 to 1.6 demonstrates a risk

  association between talc powder use and ovarian cancer. Defendants do not challenge

  the experts’ basis for this conclusion, and in fact, do not suggest that the experts’

  calculation of relative risk, based on the aggregate studies, was not reliably reached.

  Instead, they focus solely on whether the relative risk can be characterized as

  objectively “weak” or “strong.” In Defendants’ view, a range of 1.2 to 1.6 is a weak

  indicator of associational risk. But, the resolution of that dispute is a question that

  goes to the weight of the evidence. As previously explained, the Court is satisfied

  that Plaintiffs’ general causation experts employed a sound methodology in deciding

  to place a significant weight on the “strength of association” factor. The experts




  a Daubert motion, the Court’s role is to determine whether the expert has reliably
  arrived at, based on sound scientific methods, a relative risk that in his or her view
  could be clinically significant. See, e.g., Pick v. Am. Med. Sys., Inc., 958 F. Supp. 1151,
  1160 (E.D. La. 1997) (“A relative risk above 1.0 is statistically significant, even if not
  sufficient, by itself, to establish causation by a preponderance of the evidence.”);
  Miller v. Pfizer Inc., 196 F. Supp. 2d 1062, 1079 (D. Kan. 2002) (declining to find, as
  a matter of law, that a relative risk must be above a certain number to be clinically
  significant). Of course, the greater the relative risk, the stronger an association would
  be, and indeed, if the relative risk is 2.0, the “agent was more likely than not the
  cause of an individual’s disease.” Magistrini, 180 F. Supp. 2d at 591.
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  examined, as they must, the totality of the available epidemiological evidence on talc

  use and ovarian cancer, and drew conclusions based on sound scientific reasoning.

  Even if the range of relative risk given by Plaintiffs’ causation experts is found not to

  be objectively “strong,” it is not for the Court to decide whether they reached the

  correct conclusion on strength of association or to otherwise disagree with their

  opinions. See Daubert, 509 U.S. at 595 (noting that the court’s focus “must be solely

  on principles and methodology, not on the conclusions that they generate”). In fact,

  to do so would unnecessarily broaden the scope of this Court’s role as a gatekeeper.

  See In re Viagra Prods. Liab. Litig., 572 F. Supp. 2d 1071, 1081 (D. Minn. 2008) (“[O]n

  a Daubert motion involving general-causation evidence in an MDL matter, lack of

  statistical significance under some circumstances ‘does not detract from the

  reliability of the study.’” (quoting In re Phenylpropanolamine (PPA) Prods. Liab.

  Litig., MDL No. 1407, 289 F. Supp. 2d 1230, 1241 (W.D. Wash. 2003))).

         Moreover, contrary to Defendants’ position, the Court finds that the experts’

  reliance on the case-control studies does not render their opinions unreliable under

  Daubert. Defendants submit that there is a hierarchy of observational epidemiologic

  studies, “which include[s] in descending order of reliability – cohort studies, case-

  control studies and cross-sectional studies.” (Defs.’ General Causation Br., at 10.)

  Based on that hierarchy, Defendants posit that “it is especially unreliable for

  plaintiffs’ experts to characterize the objectively ‘weak’ 1.2-.6 figure as indicative of a

  strong association because that figure is artificially inflated by the fact that it is based

  primarily on case-control studies.” (Id. at 34.) What is more, Defendants contend



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  that Plaintiffs’ experts fail to consider the weaknesses of the case-control studies, i.e.,

  recall bias and confounding. (Id. at 35–41.) Plaintiffs counter that “even the most

  basic epidemiology textbooks teach that there is not a rigid hierarchy [of evidence],”

  and maintain that their general causation experts properly considered the strengths

  and weaknesses of all relevant talc studies. (Pls.’ General Causation Br., at 114–

  131.)

          The Court finds that Plaintiffs’ experts reliably considered all the relevant

  studies. Dr. McTiernan explained at the Daubert hearing, which I found credible,

  that there are “benefits and drawbacks” to both the case-control and cohort studies.

  (McTiernan Daubert Hr’g Tr., at 737.) Dr. McTiernan expressed her belief that the

  case-control studies are better suited for assessing the relationship between talc

  usage and ovarian cancer, and explained that

                when you are looking at what a woman has used, and you
                want to know her lifetime exposure, and you want details,
                you are going to see that best described in a case-control
                study that can be focused. The cohort studies have their
                strengths, and we’ll go over those in a bit also. I found both
                types of studies provided useful information, and I
                summarized that in my deliberations.

  (Id.) Dr. McTiernan also explained her opinion with respect to the weaknesses in

  the cohort studies, more in depth, in her report, noting that

                three cohort studies have reported on talcum powder use
                and ovarian cancer risk. The Women’s Health Initiative
                recruited from the general population of postmenopausal
                women from 40 clinical centers around the U.S. The rate
                of response was only around 1-2%, however, and therefore
                the cohort is unlikely to represent the population of
                American postmenopausal women. The Nurses’ Health
                Study recruited nurses from around the U.S. Their rate of

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               response was higher than for the Women’s Health
               Initiative, but they are all nurses, and therefore have
               different health knowledge, income, and socioeconomic
               status compared with the general U.S. population. The
               Sisters’ Study recruited from the general population,
               targeting women who had at least one sister with breast
               cancer. The responding participants therefore represent
               only women with a family history of breast cancer, and
               given their self-selection, likely differ from the general
               population in vulnerability to cancer and other
               characteristics.

  (McTiernan Expert Rep., at 16.)

        Dr. Clarke-Pearson testified that he did not find the cohort studies “useful in

  terms of going to the totality, and that what we’re trying to talk about.” (Clarke-

  Pearson Daubert Hr’g Tr., at 1678.) Instead,

               [w]hat [he] did was to look at the case-control studies, the
               cohort studies, and the pooled studies, and then the meta-
               analysis. So looking at the totality, the meta-analyses,
               were much more helpful and stronger evidence to identify
               the real outcome of use of talc in the perineal area which
               increases the risk of ovarian cancer in every one of those
               meta-analyses.

  (Id. at 1678.) Dr. Clarke-Pearson further elaborated on his decision not to cite to the

  cohort studies in his report, explaining that “the cohort studies were included in the

  meta-analysis, so I was considering them in that setting, but just not isolated as

  cohort studies.” (Id. at 1679.) Dr. Clarke-Pearson went on:

               [The cohort studies] contributed to the meta-analysis; and
               even though they were not very strong studies in many
               ways, and were not statistically significant, they did show
               an increased relative risk. They were included in the meta-
               analysis, and they didn’t bring down the fact the meta-
               analysis showed a statistically significant increased risk of
               developing ovarian cancer with perineal talc use. If I
               excluded them, the results in the meta-analysis would have

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                been even more negative in the use of talc in the perineal
                area.

  (Id.)

          Finally, Dr. Carson testified that he reviewed the cohort studies in connection

  with his review of the meta-analyses, and that “when [the meta-analyses] looked at

  the cohort studies alone, they showed that there was a significant and positive

  relative risk associated with serous epithelial ovarian cancer, which is the most

  common and most deadly form of the disease.” (Carson Daubert Hr’g Tr., at 1277.)

  Dr. Carson explained further that he did not cite to the cohort studies in his expert

  report, because he was not of the view that the “three cohort studies contributed to

  the opinions that [he] expressed,” and noted that he “did cite to the meta-analyses

  that included them and looked at those data. So they are included within those meta-

  analyses, and that was much more fundamental to [his] opinions.” (Id. at 1418.)

  Moreover, Dr. Carson stated that “those cohort studies likely suffered from an

  underpowered condition, and when they reanalyzed them as a group with a larger

  sample size [in the meta-analyses], they were able to increase the power and were

  able to detect an effect.” (Id. at 1422.)

          Based on this testimony, the Court is satisfied that the general causation

  experts have demonstrated that their decisions to rely on the case-control studies, as

  opposed to the three cohort studies, is supported by good grounds and does not

  constitute a “rigid” dismissal of the cohort studies. See Carl, 2016 WL 4580145, at

  *19. Indeed, this is not a situation where the experts purposefully ignored the cohort

  studies entirely because they were inconsistent with their opinions.

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        The Northern District of California addressed a similar dispute over the

  relevant weight of observational epidemiology studies in In re Roundup Products

  Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018). In Roundup, as here, the

  plaintiffs’ experts relied heavily on the case-control studies and meta-analyses,

  whereas defendants maintained that a cohort study was more reliable and not

  properly considered by plaintiffs’ experts. Id. at 1116–26. The court reviewed the

  relevant studies and the plaintiffs’ experts’ reasons for relying on the case-control

  studies versus the cohort study; the court ultimately found that the studies were

  “open to different interpretations, and the potential flaws in the data from the case-

  control studies and meta-analyses are not overwhelmingly greater than the potential

  flaws in the data from the [cohort] study.” Id. at 1126. Accordingly, the Roundup

  court concluded that “an expert who places more weight on the case-control studies

  than the [cohort] study cannot be excluded as categorically unreliable for doing so.”

  Id.

        The same holds true here. The Court cannot deem Plaintiffs’ experts’ opinions

  unreliable simply because they determined that the case-control studies were entitled

  to greater weight than the cohort studies, particularly since the experts’ explanations

  of their methods were supported by scientific reasons. In the end, Defendants may

  disagree with the experts’ interpretations of those studies and their usefulness, but

  such issues go to the weight of the experts’ testimony, and not their reliability.

  Defendants may cross-examine the experts on questions of interpretation. See, e.g.,

  Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d 408, 414–15 (3d Cir. 2002) (“A party



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  confronted with an adverse expert witness who has sufficient, though perhaps not

  overwhelming, facts and assumptions as the basis for his opinion can highlight those

  weaknesses through effective cross-examination.”); Gutierrez v. Johnson & Johnson,

  No. 01-5302, 2006 WL 3246605, at *8 (D.N.J. Nov. 6, 2006) (“[D]isagreements about

  the conclusions to be drawn from a particular test affect the weight of a[n expert]

  report, not its admissibility.”); see also Smith v. Ford Motor Co., 215 F.3d 713, 718

  (7th Cir. 2000) (“The soundness of the factual underpinnings of the expert’s analysis

  and the correctness of the expert’s conclusion based on that analysis are factual

  matters to be determined by the trier of fact, or, where appropriate, on summary

  judgment.”).

        Finally, I do not agree with Defendants that Plaintiffs’ general causation

  experts failed to consider issues of confounding and recall bias in relying on the case-

  control studies. Defendants maintain that the experts specifically failed to consider

  the issue as to whether media attention to the relationship between talc and ovarian

  cancer skewed results in certain of the case-control studies and, further, whether

  certain results are skewed by “confounders,” such as douching. (See Defs.’ General

  Causation Br., at 35–41.) However, a review of the experts’ reports and testimony

  reveals that they in fact accounted for these external circumstances and factors. For

  example, Dr. McTiernan’s expert report details her findings with respect to the

  possible sources of bias in the epidemiological studies she reviewed. As to recall bias

  and media attention, Dr. McTiernan explained that

                 [f]or the case-control studies, media reports of associations
                 between talc and ovarian cancer could have influenced

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               cases such that they recalled use of talcum powder
               products to a greater degree than controls. However, the
               studies for which data collection pre-dated news reports of
               this association showed similar effects to those for which
               data were collected afterward. Thus, “recall bias” is
               unlikely to be an issue. As mentioned above, recall bias is
               a theoretical bias; studies that have investigated other
               sources of data on exposures have failed to confirm the
               presence of differential recall between cases and controls.

  (McTiernan Expert Rep., at 26.)

        Nevertheless, Defendants contend that Dr. McTiernan’s opinion on this point

  is supported only by her own ipse dixit, and assert that “major U.S. newspapers” have

  written on the relationship between talc and ovarian cancer.            (Defs.’ General

  Causation Br., at 36–37.) However, at least one study relied upon by Dr. McTiernan

  came to the same conclusion. As explored at the Daubert hearing, the authors of one

  meta-analysis determined that “[w]hile the results of case control studies are prone

  to recall bias especially with intense media attention following commencement of

  litigation in 2014, the confirmation of an association in cohort studies between

  perineal talc use and serious invasive ovarian cancer is suggestive of a causal

  association.” (See McTiernan Daubert Hr’g Tr., at 944 (quoting Penninkilampi, et al.,

  Perineal Talc and Ovarian cancer: A Systematic Review and Meta-Analysis, 29

  Epidemiology 41 (2018)).) In the end, Defendants and their experts may disagree

  with Plaintiffs’ general causation experts’ assessment of recall bias in the case-control

  studies, but that does not render their opinions unreliable under Daubert.           See

  Walker, 46 F. App’x at 694.

        The same is true for Plaintiffs’ general causation experts’ assessment of



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  potential confounders in the epidemiologic literature. Defendants argue that these

  experts “fail to meaningfully address” certain possible confounders.         (See Defs.’

  General Causation Br., at 38–42.) “Confounding occurs when another causal factor

  (the confounder) confuses the relationship between the agent of interest and the

  outcome of interest.” Green, supra at 591. Dr. McTiernan explained her methodology

  as to confounding factors at the Daubert hearing:

              In all but one of the case-control studies presented the
              information on confounders.           The problem with
              confounding, you can’t assume from reading the paper that
              these are all the potential confounding variables because
              the studies will present the confounding variables and they
              will present them for their data for their own study; and
              you can’t assume something should be a confounder, if it
              wasn’t in that study. It’s always study specific, the
              confounding.

              I did go through the exercise of looking at those individual
              studies that had reported on when they took the
              confounders into account and when they didn’t, when they
              had a relative risk that was just a plain old relative risk
              and then had one that adjusted for these confounders and
              then presented both of those types of data, and the relative
              risk were almost identical in all but one, and that one only
              changed, that relative risk changed a small amount. That
              tells me if the relative risks don’t change with adjusting for
              confounding, then it really wasn’t a problem in their study.
              If the relative risk looks the same after the adjustment,
              then it didn’t affect the relative risk.

  (McTiernan Daubert Hr’g Tr., at 759–60.) Again, Defendants’ argument reveals their

  disagreement with the conclusions of the experts—not the methodology employed in

  consideration of the studies. To the extent Defendants contend that the general

  causation experts’ consideration of confounding elements is insubstantial or weak,

  they may explore those inquiries on cross-examination. See Daubert, 509 U.S. at 596

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  (“Vigorous cross-examination, presentation of contrary evidence, and careful

  instruction on the burden of proof are the traditional and appropriate means of

  attacking shaky but admissible evidence.”).

                              b. Consistency

        The consistency factor considers whether the results of the relied upon studies

  have been replicated. See Green, supra at 604. As explained in the Reference Guide:

               In epidemiology, research findings often are replicated in
               different populations. Consistency in these findings is an
               important factor in making a judgment about causation.
               Different studies that examine the same exposure-disease
               relationship generally should yield similar results.
               Although inconsistent results do not necessarily rule out a
               causal nexus, any inconsistencies signal a need to explore
               whether different results can be reconciled with causality.

  Id. With respect to this Bradford Hill factor, Plaintiffs’ general causation experts

  found that both the case-control and cohort studies are “remarkably consistent” in

  “indicating increased risk of ovarian cancer in women who used talcum powder

  products compared to women who do not use them.” (McTiernan Daubert Hr’g Tr.,

  at 752; see also Carson Daubert Hr’g Tr., at 1311 (“If you consider the forest plot of

  the various studies looking at the connection from an epidemiological point of view

  over time, there is little doubt there is consistency among those studies almost all

  showing a positive odds ratio or relative risk, and the majority of those being

  statistically significant studies.”); Clarke-Pearson Daubert Hr’g Tr., at 1530

  (“Looking particularly at the epidemiologic studies in their totality, there are many

  studies – and it’s only fair to look at them in their totality – the data shows really

  consistent statistically significant increase risks of developing epithelial ovarian

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  cancer after application of talcum powder to the perineum.”).)

         More to the point, Dr. McTiernan provides a detailed consistency analysis in

  her expert report, explaining that 24 of the 28 case-control studies show relative risks

  greater than 1.1 “for women who had any perineal exposure to talcum powder

  products, compared with never users.” (McTiernan Expert Rep., at 64.) Of those 24

  studies, Dr. McTiernan notes that 16 were statistically significant. (Id.) The doctor

  observes that 7 of the 8 studies that were not statistically significant “had a sample

  size lower than that estimated to be needed to have power to detect a statistically

  significant result.” (Id.) With respect to the cohort studies, the doctor opines that

  they “on average showed more attenuated relative risks of ovarian cancer in relation

  to use of talcum powder products,” likely because the “studies were not well designed

  to determine true risk for ovarian cancer and perineal talc use.” (Id.) Thus, Dr.

  McTiernan finds that the cohort studies’ “results as a group do not negate the

  significant case-control study findings and the significant results of the meta-

  analyses and the pooled analysis.” (Id.) Nevertheless, Dr. McTiernan opines that the

  cohort studies, similar to case control studies, also tend to show a positive association

  between talc use and ovarian cancer, albeit the connection is weaker. Overall, as

  explained by Dr. McTiernan, because both cohort and case control studies

  demonstrate a positive association, they are consistent. (See McTiernan Daubert Hr’g

  Tr., at 752.)

         Defendants raise two main arguments in challenging these experts’ opinions

  on consistency. First, Defendants contend that the epidemiological studies are not,



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  in fact, consistent, in that the cohort and case-control studies have reached different

  results. (See Defs.’ Post-Hr’g Br., at 19.) In other words, Defendants argue that

  because no cohort study concluded there was a statistically significant association

  between talc use and ovarian cancer, the two types of studies cannot be consistent.

  (See id.; see also Defs.’ General Causation Reply Br., at 26.) Moreover, Defendants

  argue that the experts unreliably “attack the long-established concept of statistical

  significance” in opining on this Bradford Hill factor. (See Defs.’ General Causation

  Br., at 61–66.) Specifically, Defendants maintain that the causation experts found

  consistency of the association simply because a majority of the studies show a relative

  risk greater than 1.0. (See id. at 63.) By so opining, Defendants reason that the

  experts “ignore the statistically insignificant nature of purportedly positive results”

  from cohort studies that may not even support an association.           (Defs.’ General

  Causation Reply Br., at 35.)

        Defendants’ challenge to Plaintiffs’ general causation experts’ opinions on

  consistency is, fundamentally, a dispute over the role that statistical significance

  plays in determining the consistency of epidemiological studies. In assessing whether

  epidemiology studies are statistically significant, it is important that an expert

  determine whether a positive association (a relative risk greater than 1.0) “represents

  a true association or is the result of random error.” Green, supra at 575. The

  Reference Guide on Epidemiology identifies two methods for assessing random error:

  (1) by calculating a p-value, or (2) by using confidence intervals. 38 See id. at 576–77.



  38    A p-value “represents the probability that an observed positive association
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        The Third Circuit addressed the role of statistical significance in proving

  causality in In re Zoloft. There, the court declined to adopt a bright-line rule and

  instead stated certain guiding principles:

               A causal connection may exist despite the lack of
               significant findings, due to issues such as random
               misclassification or insufficient power. Conversely, a
               causal connection may not exist despite the presence of
               significant findings. If a causal connection does not
               actually exist, significant findings can still occur due to,
               inter alia, inability to control for a confounding effect or
               detection bias.     A standard based on replication of
               statistically significant findings obscures the essential
               issue: a causal connection. This is not to suggest, however,
               that statistical significance is irrelevant. Despite the
               problems with treating statistical significance as a magic
               criterion, it remains an important metric to distinguish
               between results supporting a true association and those
               resulting from mere chance.

  Zoloft, 858 F.3d at 793 (footnote omitted).

        Despite Defendants’ arguments to the contrary, the causation experts

  considered statistical significance with respect to both cohort and case control studies,

  and did so in a reliable fashion. For example, at the Daubert hearing, Dr. McTiernan




  could result from random error even if no association were in fact present.” Green,
  supra, at 576. Thus, “[t]o minimize false positives, epidemiologists use a convention
  that the p-value must fall below some selected level known as alpha or significance
  level for the results of the study to be statistically significant.” Id. Calculating a
  confidence interval, the Reference Guide explains, “permits a more refined
  assessment of appropriate inferences about the association found in an epidemiologic
  study.” Id. at 579 “A confidence interval is a range of possible values calculated from
  the results of a study. If a 95% confidence interval is specified, the range encompasses
  the results [one] would expect 95% of the time if samples for new studies were
  repeatedly drawn from the same population. Thus, the width of the interval reflects
  random error. The narrower the confidence interval, the more statistically stable the
  results of the study.” Id. at 579–80.
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  testified that, in reviewing each study, she considered the type of statistical

  significance    analysis    performed—whether        p-value   or   confidence   interval.

  (McTiernan Daubert Hr’g Tr., at 830.) In addition, Dr. McTiernan explained that she

  also gave weight to positive, non-significant results where such weight was

  warranted:

                 Q.    Would it be appropriate as a scientist to dismiss
                 studies due to their p-Value?
                 A.     I believe it would be especially when you are looking
                 in the totality of evidence than to say one study is
                 statistically significant and one is not, and, therefore, to
                 dismiss the one where the p-Value is greater than
                 something doesn't give you the full picture. You really need
                 the full picture.
                 Q.     Would it be inappropriate methodology to dismiss as
                 a finding a result that is not statistically significant?
                 A.     To dismiss a study that is not significant, not
                 statistically significant? It would be inappropriate to
                 dismiss that, yes.
                 Q.    It would be inappropriate?
                 A.    Inappropriate.
                 Q.     Dr. McTiernan, looking at this forest plot of both
                 case-control and cohort studies, what does the data from
                 this forest plot of the epidemiological studies that you
                 reviewed both case-control and cohort tell us about the
                 consistency of the data from your review?
                 A.     It tells me it is remarkably consistent because you
                 could see that almost all of those relative risk data points
                 are to the right of the line. They are all indicating increased
                 risk in ovarian cancer in women who used talcum powder
                 products compared to women who do not use them.
                 Q.    That's regardless of study design. Is that correct?
                 A.    Yes.
  (McTiernan Daubert Hr’g Tr., at 751–52.)

        The doctor’s view in this regard is based on a recent expert opinion by Dr.

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  Kenneth Rothman, a leading epidemiologist, in Modern Epidemiology. Dr. Rothman

  opined that “[i]t is sometimes claimed that a literature or set of results is

  inconsistent simply because some of the results are statistically significant and

  some are not. This sort of evaluation is completely fallacious even if one accepts the

  use of significance testing methods.” (Id. at 934–35.) In other words, according to

  the experts, in the epidemiology context, inconsistent statistical significance from

  one study to the next does not, in of itself, show inconsistency under Bradford Hill.

        While Defendants may disagree with the general causation expert’s approach

  to statistical significance, the Court does not find that their methodology is

  unreliable and unsupported by science. Rather, at this stage, I find that they have

  provided detailed reasons for their findings and their approach to considering

  statistical significance within the studies in determining consistency.         What

  Defendants have ultimately presented on statistical significance is a battle of the

  experts.   See In re Gabapentin Patent Litig., 2011 WL 12516763, at *10.          For

  instance, Defendants’ epidemiology expert, Dr. Diette, as discussed infra, follows

  the exact method of assessing consistency that Defendants promote to be the correct

  methodology. Defendants may well believe this is the better approach, but that is

  not a question for this Court to decide when Plaintiffs’ experts have provided good

  grounds for their approach.

        Defendants additionally argue that the general causation experts “mostly

  ignore the inconsistency between cohort and case-control studies or brush the cohort

  studies aside as flawed and irrelevant.” (Defs.’ General Causation Br., at 48 (footnote



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  omitted).) Stated differently, Defendants argue that the experts fail to meaningfully

  address the cohort studies, which show a weaker connection between perineal talc

  use and the increased risk of ovarian cancer. (Defs.’ General Causation Reply. Br.,

  at 50.) As the Court discussed supra, I do not find that the experts dismissed the

  cohort studies outright without considering them in conducting their Bradford Hill

  analyses. Indeed, while the experts explained why the results of cohort studies may

  have yielded a non-statistically significant casual connection, they nevertheless

  concluded that these cohort studies, like the case control studies, are consistent

  because they show a positive association (greater than 1.0 relative risk). In arguing

  that the experts’ opinions should be excluded in this context, Defendants challenge

  the causation experts’ conclusion that cohort studies, which show a weaker

  association between talc use and ovarian cancer, are designed with flaws.

  Specifically, Defendants take issue with the experts’ position on the cohort studies’

  lack of statistical power, for employing an insufficient follow-up period in light of the

  long latency period of ovarian cancer, and for failing to ascertain the exposure of each

  participant to talc.   (Defs.’ General Causation Br., at 50–58.)      What is evident,

  however, from Defendants’ arguments is that they dispute the experts’ conclusions

  and interpretations of the different studies, not the experts’ methodologies. Stated

  differently, Defendants may very well disagree with Plaintiffs’ criticisms of the cohort

  studies, but a dispute over whether the experts are correct in discounting the

  causative results of the cohort studies relate to the weight of their testimony, not

  their reliability. See Stecyk, 295 F.3d at 414–15.



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                               c. Biological Plausibility

        The next Bradford Hill factor weighed by the general causation experts is

  biological plausibility, i.e., whether the purported association biologically plausible

  and consistent with existing scientific knowledge.         See Green, supra at 604.

  Commenters have observed that biological plausibility is a difficult criterion because

  it “depends upon existing knowledge about the mechanisms by which the disease

  develops.” Id. Indeed, “observations have been made in epidemiologic studies that

  were not biologically plausible at the time but subsequently were shown to be correct.

  When an observation is inconsistent with current biological knowledge, it should not

  be discarded, but the observation should be confirmed before significance is attached

  to it.” Id. at 604–05.

        Plaintiffs’ general causation experts present two theories of biological

  plausibility, both of which are premised on their understanding that talc contains

  asbestos and other heavy metals. 39 Drs. McTiernan, Carson, and Clarke-Pearson



  39     The Court finds that the causation experts can reasonably rely on the
  assumption that talc contains asbestos. Indeed, as I have already determined, Dr.
  Longo, on whose report these experts rely, will be permitted to testify as to his opinion
  that J&J talc contains asbestos. Apart from asbestos, Defendants argue that Dr.
  Carson’s testimony—that the heavy metals contained in talc, i.e., cobalt, chromium,
  and nickel, may also cause ovarian cancer—is unreliable, because these metals have
  not been proven to be specifically carcinogenic to the ovary. (See Defs.’ Post-Hr’g Br.,
  at 43–45.) At the outset, for the purposes these Daubert motions, Defendants do not
  dispute that talc powder may contain these heavy metals. (See id.) Dr. Carson
  explained that while there are no studies linking these specific metals to ovarian
  cancer, they have been identified by the International Agency for Research on Cancer
  (“IARC”) as carcinogens, and these metals have been linked to specific types of cancer.
  (See Carson Daubert Hr’g Tr., at 1308.) However, importantly, the IARC, in its 2012
  Monograph explains that while it may identify certain carcinogens as having specific
  target organs or tissues where an increased risk of cancer has been shown, it further
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  present two different theories as to how the purported carcinogens in talc reach the

  ovaries and fallopian tubes: (1) talc migrates up and through the female reproductive

  system when applied to the perineum, or (2) inhaled talc particles travel through the

  lymphatic system to the ovaries and fallopian tubes. Then, once talc is present in the

  ovaries, the carcinogens contained in talc cause chronic inflammation which can lead

  to carcinogenesis and ovarian cancer.

        Defendants argue that the theory of the experts that talc “migrates up” the

  female reproductive system to the ovaries must be excluded as unsupported by

  medical evidence. (See Defs.’ Post-Hr’g Br., at 67.) In support of this theory, Dr.

  Carson testified that

               [t]here are a number of studies that have been done over
               the years looking at various kinds of particulate substance
               and their ability to migrate through the female
               reproductive system. . . .

               The earliest [study] being Egli and Newton in 1961 where
               they looked at the transport of carbon particles through the
               female reproductive system and noted that transport
               occurred.

               In 1979, Venter and Iturralde, they studied the migration


  states that “identification of a specific target organ or tissue does not preclude the
  possibility that the agent may cause cancer at other sites.” Int’l Agency for Research
  on Cancer, 100C Monographs on the Evaluation of Carcinogenic Risks to Humans:
  Arsenic, Metals, Fibres, and Dusts, at 29 (2012) (emphasis added). As such, in
  conducting this analysis, Dr. Carson relied, inter alia, on the IARC’s conclusions and,
  consistent with that conclusion, opined that similar to asbestos, the carcinogenic
  heavy metals found in talc may plausibly cause other types of cancer, such as ovarian
  cancer. In that regard, because Dr. Carson’s opinion is based on biological
  plausibility, the Court will permit him to testify that it is plausible that, as
  carcinogens, these heavy metals may cause ovarian cancer with respect to his
  Bradford Hill analysis only. To the extent Defendants take issue with that opinion,
  they may cross-examine Dr. Carson on that basis.
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             of technetium-labeled particles through the reproductive
             system from the vagina to the peritoneal cavity and ovaries
             and showed that occurred as well.

             There have been other studies since notably studies on
             retrograde menstruation and Halme and colleagues in
             1984, that showed that retrograde menstruation occurs
             frequently in many women.

             The Kunz article in 1997 studied the uterine peristaltic
             pump, which is produced by muscular activity in the uterus
             and fallopian tubes, and showed that sperm traveled much
             faster through the reproductive system than would be
             expected based on their motility, and in fact non-motile
             sperm traveled at about the same rate all the way through
             the reproductive system.

             There was a study by Heller in 1996 that showed perineal
             cosmetic talc usage and the relationship of talc being found
             in ovarian specimens.

             ...

             [T]here were animal studies that were done mostly in
             rodent species, and it was determined by the authors that
             rodents really are not a good model of the human
             reproductive system. As a matter of fact, there is not really
             a good nonprimate model of the female reproductive
             system for this purpose. And so I pretty much discounted
             animal research trying to look at this issue.

             There was one study in monkeys that was done by an
             investigator named Wehner and colleagues that looked at
             migration in monkeys. They did not find that migration
             occurred in these monkeys, but the authors still were of the
             opinion that this was a viable transport mechanism and
             listed reasons why their study may not have been able to
             show that.

             ...

             [T]he Food & Drug Administration has reached the opinion
             that while there exists no direct proof of talc and ovarian
             carcinogenesis, the potential for particulates to migrate

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              from the perineum and the vagina to the peritoneal cavity
              is indisputable. And then the Health Canada report, . . .
              stated:

              “This evidence of retrograde transport supports the
              biological plausibility of the association between perineal
              talc application and ovarian exposure.”

  (Carson Daubert Hr’g Tr., at 1279–81.)40         Dr. Clarke-Pearson, an expert in

  gynecologic-oncology, explained

              These are all human experiments where the first one,
              carbon particles, were put in the vagina, radioactive
              particles were put in the vagina, glove powder just on the
              pelvic examination came off the gloves. It was not
              intentionally put in the vagina. It was just glove powder.

              In those three papers, migration from the vagina to the
              fallopian tube and ovary occurred within 24 hours. Then
              you could say: Well, wait a minute. This is a particle. It
              doesn’t have any motility to it. It’s just a carbon particle or
              radioactive microsphere. How did it get here?

              So this paper on uterine peristaltic pump, it’s been well
              demonstrated with ultrasound that the uterus actually has
              – the uterus is contracting in labor to push the baby out.
              But the uterus during the menstrual cycle contracts and
              has a retrograde so it pumps upward, if you will, and that
              pumping mechanism increases in the early part of the
              menstrual cycle until the mid-cycle, right before the follicle
              comes out, before the egg comes out of the follicle. That
              gets the maximum pumping mechanism in a retrograde
              fashion which pumps things up and works toward getting
              that egg into the fallopian tube.

              It can also pump sperm, and that’s intense. I think
              biologically, the pump is pulling sperm. If we just put
              sperm in the cervix and believe it is going to get to the tubes


  40    Dr. McTiernan testified similarly on the issue, stating that “several clinical
  studies in humans show that application of particles of similar size to talc when
  applied to the genital tract can move up to the Fallopian tubes and ovaries.”
  (McTiernan Daubert Hr’g Tr., at 780–82.)
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               in a very short period of time, the sperm is motile, but it
               doesn’t move fast. The experiments with this peristaltic
               pump show that sperm moves much faster than what
               would be expected up into the fallopian tube to hopefully
               achieve pregnancy because of this peristaltic pump.

               So there is this pump that’s going backward, and it is a
               demonstration of putting microspheres on the cervix at
               different points in the menstrual cycle. In mid-cycle, when
               you want to biologically optimize pregnancy, that pump is
               bringing sperm up into the uterus and fallopian tubes.

               So whether it’s the pump bringing up sperm or bringing up
               talcum powder or other things, it pumps or pulls that up.
               It’s not just a passive flow, because there’s been arguments
               I’ve read where: Well, there is a flow out of the uterus,
               menstrual period, and that sort of thing, and that’s true.
               But this peristaltic pump in mid-cycle when there is not a
               menstrual period, is actually going the other direction,
               pulling things up into the fallopian tubes.

  (Clarke-Pearson Daubert Hr’g Tr., at 1560–62.)

        As Defendants point out, the studies cited by Drs. Clarke-Pearson and Carson

  do not directly support their theory that externally applied talc can migrate up the

  vagina to the ovaries. (Defs.’ Post-Hr’g Br. at 66.) However, biological plausibility

  does not require certainty or even proof for the biological mechanism in question—

  the relevant question is “whether the hypothesized causal link is credible in light of

  what is known from science and medicine about the human body and the potentially

  offending agent.” Milward v. Acuity Specialty Prods. Grp., Inc., 639 F.3d 11, 25 (1st

  Cir. 2011). The fact that there remains debate in the scientific community as to the

  mechanism which permits talc to migrate up to the ovaries does not preclude

  admission of the experts’ theory. See In re Fosamax Products Liability Litigation,

  645 F. Supp. 2d 164, 183 (S.D.N.Y. 2009) (“That the mechanism remains unknown

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  does not mean that the one proposed by the [plaintiffs’] experts is not widely accepted

  as plausible.” (emphasis added)); see also In re PPA, 289 F. Supp. 2d at 1247 (“The

  fact that the mechanism remains unclear does not call the reliability of the opinion

  into question . . . .”). Indeed, “biological plausibility is not the same as biological

  certainty.” In re Abilify Products Liab. Litigation, 299 F. Supp. 3d 1291, 1308 (N.D.

  Fl. 2018); see also Milward, 639 F.3d at 22 (“Lack of certainty is not, for a qualified

  expert, the same thing as guesswork.” (quoting Primiano v. Cook, 598 F.3d 558, 565

  (9th Cir. 2010))). Thus, Bradford Hill and Daubert do not require that an expert prove

  the proposed mechanism—they need only provide reliable support that demonstrates

  that the mechanism is plausible. The Court is satisfied that these experts, based on

  the various studies and their past scientific experience and knowledge, have done so

  under Daubert; I will permit them to testify as to this theory of biological plausibility.

  Of course, Defendants may vigorously cross-examine the experts on this theory before

  a jury.

        For the same reasons, the Court will permit Plaintiffs’ general causation

  experts to testify that it is biologically plausible that talc can lead to chronic

  inflammation, which in turn increases the risk of ovarian cancer. First, with respect

  to whether talc can cause chronic inflammation in the ovaries, Defendants fault the

  experts for failing to cite any studies that have found that talc causes chronic

  inflammation in the fallopian tubes or ovaries. Again, the question of biological

  plausibility does not require proof of the mechanism. Abilify, 299 F. Supp. 3d at

  1335–36. And, indeed, Plaintiffs’ experts provided a solid basis for their theory. Dr.



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  Clarke-Pearson explained at the Daubert hearing that in vitro studies in which

  ovarian cells are treated with talc have “demonstrated an inflammatory response.”

  (Clarke-Pearson Daubert Hr’g Tr., at 1544.) Dr. Clarke-Pearson further explained

  that research on this issue is limited because in vivo studies cannot be performed due

  to ethical issues. (Id.) Thus, the in vitro studies provide the best evidence—as of

  now—for the theory that talc exposure causes a “chronic inflammatory response to

  the ovary . . . which then leads to oxidative stress, production of cytokines and then

  gene mutations, and those mutations result in cancer.”              (Id. at 1552–53.)

  Furthermore, as opined by Dr. Saed in this case, when ovarian cells are treated with

  talcum powder, inflammation and oxidative stress may occur. I have allowed that

  testimony to be introduced at trial. Accordingly, in the context of demonstrating

  biological plausibility, the Court is satisfied that the hypothesis that talcum powder

  can cause chronic inflammation, which may ultimately lead to cancer, is reliable

  under Daubert.     The hypothesis is based on scientific research and reasoning.

  Contrary to Defendants’ position, the fact that the mechanism has not been proven

  does not negate the reliability of the experts’ opinion on this issue.       Moreover,

  Defendants have not introduced any evidence that this theory has been disproven as

  a matter of science, and therefore, I have no basis to find that such a hypothesis is

  implausible so as to warrant exclusion under a Daubert inquiry. See Berg v. Johnson

  & Johnson, 940 F. Supp. 2d 983, 993 (D. S. Dakota 2013). To the extent Defendants

  seek to challenge the basis for Plaintiffs’ theory further, they may do so before a jury

  and that jury will determine what weight to ascribe to this scientific hypothesis. See



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  In re Neurontin Mktg., 612 F. Supp. 2d 116, 159 (D. Mass. 2009) (“[D]isputes over [the

  expert’s] theory of biological plausibility ‘should be tested by the adversary process -

  competing expert testimony and active cross-examination—rather than excluded

  from a jury's scrutiny.” (quoting Ruiz-Troche v. Pepsi Cola of P.R. Bottling Co., 161

  F.3d 77, 85 (1st Cir. 1998))); In re PPA, 289 F. Supp. 2d at 1248 (finding that an

  expert’s opinion on biological plausibility is reliable when that opinion is founded on

  “reports, textbooks and treatises, and the clinical experience of several experts and

  other scientists”); see also Berg, 983 F. Supp. 2d at 1161; see also Hopkins v. Dow

  Corning Corp., 33 F.3d 1116, 1124–25 (9th Cir. 1994); Glaser v. Thompson Med. Co.,

  32 F.3d 969, 972–75 (6th Cir. 1994).

        The Court, however, excludes the inhalation theory presented by Plaintiffs’

  general causation experts. In addition to positing that talc can migrate up the female

  reproductive system to the ovaries—which the Court finds plausible—the experts

  additionally opine that talc particles can reach the ovaries through inhalation. Dr.

  Carson explained, albeit not convincingly:

               A portion of talcum powder that is aerosolized as dust
               during hygienic applications can be inhaled into the
               respiratory system. A very small portion of that may enter
               the bloodstream and be able to circulate to other tissues
               including the ovaries. I think the potential for that to be a
               significant exposure is very insignificant, and it is although
               a secondary route of exposure to perineal application of talc
               I think it is an extremely minor one.

  (Carson Daubert Hr’g Tr. at 1282–83.) Dr. Clarke-Pearson’s testimony on this theory

  was similarly scant:

               Q.     Let’s transition from migration and talk just briefly

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               about inhalation. Did you consider inhalation as another
               route of exposure to the ovary?

               A.     Yes. I think it’s possible.

               THE COURT:          Possible or probable?

               A.     I think its plausible. It’s less likely than the
               ascension through the vagina and the genital application.
               I think it’s much stronger.

  (Clarke-Pearson Daubert Hr’g Tr., at1563–64.)

        Dr. McTiernan similarly provided very little support for the inhalation theory,

  explaining in her expert report that:

               Data also plausibly indicates that inhalation of talcum
               powder products can result in exposure leading to cancer,
               including mesothelioma. Studies also show that talcum
               powder products can be absorbed and transported via the
               lymphatic system or blood stream. Therefore, inhalation of
               talcum powder products could result in similar ovarian
               exposure. Published scientific data shows that talc reaches
               the ovary and becomes imbedded in the ovarian tissue.

  (McTiernan Expert Rep., at 66.) The “studies” referred to by Dr. McTiernan in this

  testimony presumably refer to the study cited for this proposition in her expert report:

  the 2007 Cramer study. 41 (See McTiernan Expert Rep., at 59.) However, that study,




  41      The 2007 Cramer study was a case study that examined the pelvic lymph nodes
  of a 68-year old woman with stage III serous ovarian cancer and “used talc daily for
  30 years as a body powder on the perineum and also applied it to underwear and
  sanitary napkins.” Daniel W. Cramer, et al., Presence of Talc in Pelvic Lymph Nodes
  of a Woman with Ovarian Cancer and Long-Term Genital Exposure to Cosmetic Talc,
  110(2) Obstetrics & Gynecology 498, 498 (2007). The Cramer study concluded that
  its finding of “talc in pelvic lymph nodes of a long-term talc user with ovarian cancer
  may begin to reshape understanding about the relationship between talc and ovarian
  cancer and shed new light on whether talc used externally in the genital area is
  capable of migrating into the pelvis.” Id. at 501.
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  which revealed the presence of talc in a patient’s pelvic lymph nodes, makes no

  findings as to how the talc ended up in the pelvic lymph node, let alone suggest that

  the talc entered the lymphatic system through inhalation. See Cramer, supra, at

  498–501.

         Aside from these experts claiming that the inhalation theory may be plausible,

  they fail to otherwise provide any scientific basis for the theory that talc somehow

  moves through the lymphatic system to the ovaries. More particularly, the experts

  fail to give any scientific support that findings of talc in the pelvic lymph nodes lends

  credence to their opinion that talc, once inhaled, moves through the lymphatic system

  to the reproductive tract and ultimately to the ovaries. While, as the Court discussed

  above, biological plausibility does not require proof of the biological mechanism, any

  such opinion must be “derived from and supported by reliable scientific knowledge

  and reasoning.” Abilify, 299 F. Supp. 3d at 1308. This Court need not “admit opinion

  evidence that is connected to existing data only by the ipse dixit of the expert.” Soldo

  v. Sandoz Pharms. Corp., 244 F. Supp. 2d 434, 563 (W.D. Pa. 2003) (citing Joiner, 533

  U.S. at 146). That is precisely what Plaintiffs’ experts have done in connection with

  their theory that inhalation of talc can cause ovarian cancer. For these reasons, I will

  exclude Plaintiffs’ general causation experts’ opinion on their secondary theory of

  biological plausibility, i.e., inhalation.

                                d. Dose-Response

         Under Bradford Hill, the dose-response factor considers whether there is a

  “dose-response relationship,” meaning “that the greater the exposure, the greater the



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  risk of disease.” Green, supra at 603. The Reference Guide on Epidemiology states

  that

                [g]enerally, higher exposures should increase the incidence
                (or severity) of disease. However, some causal agents do
                not exhibit a dose-response relationship when, for example,
                there is a threshold phenomenon . . . . Thus, a dose-
                response relationship is strong, but not essential, evidence
                that the relationship between an agent and disease is
                causal.

  Id.    Plaintiffs’ general causation experts generally found this factor to support

  causation. Dr. Carson explains in his expert report that “[a]lthough some studies

  have failed to find evidence of a dose-response relationship, several more recent

  reports have shown a clear dose-response when the number of subjects rose to a level

  producing sufficient statistical power to allow the analysis after subdivision of

  subjects into pertinent categorical groups, and frequency and duration were

  measured.” (Carson Expert Rep., at 9.) Dr. Clarke-Pearson noted that there has been

  difficulty in assessing dose-response because it is dependent on the recollection of the

  user, and studies have attempted to determine the frequency of use and/or duration.

  (Clarke-Pearson Expert Rep., at 9.) Nevertheless, Dr. Clarke-Pearson notes that “a

  number of studies have demonstrated an association between ‘dose’ and the

  occurrence of [epithelial ovarian cancer]” and the doctor expresses that he expects

  more data on this factor “as more in vitro studies are performed with talcum powder.”

  (Id.) Dr. McTiernan similarly placed significant weight on this factor, noting that

  more recent studies contained information that relate to dose-response. (McTiernan

  Expert Rep, at 65–66.) She specifically relied on the meta-analyses, which “found



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  evidence of relationships between increasing amount of exposure to talcum powder

  products in the perineal/genital area . . . and increased risk of developing epithelial

  ovarian cancer.” (Id.)

        At the Daubert hearing, Dr. McTiernan described her methodology for finding

  a dose-response relationship, explaining that the relevant question she asked when

  looking at the studies was “[d]oes increasing use of talcum powder products increase

  risk of ovarian cancer.” (See McTiernan Daubert Hr’g Tr., at 791–98.) For example,

  Dr. McTiernan explained how the Terry pooled analysis 42 assessed dose-response.

  (Id. at 791.) Dr. McTiernan explained that in that study participants were divided

  “into four categories by level of use of talcum powder products, and compared to never

  users” based on their relative risk of ovarian cancer. (Id.) 43 The study showed an

  increasing relative risk based on level of use—the relative risk for never users was



  42     The Terry pooled analysis “estimated the association between self reported
  genital powder use and epithelial ovarian cancer risk in eight population based case
  control studies.” Kathryn L. Terry, et al., Genital Powder Use and Risk of Ovarian
  Cancer: A Pooled Analysis of 8,525 Cases and 9,859 Controls, 6 Cancer Prevention
  Research 811 (2013). The Terry study concluded that “genital powder use is a
  modifiable exposure associated with small to moderate increases in risk of most
  histologic subtypes of epithelial ovarian cancer.” Id.

  43      The four categories of use were based on an estimate of lifetime number of
  application of talc “by multiplying total months of use by frequency of use per month,
  for all direct and indirect genital powder applications.” Terry, supra at 815. More
  specifically, “[n]ever regular users of genital powders and women who only reported
  nongenital use were coded as having zero lifetime genital powder applications.” Id.
  The four categories of talc users “were determined on the basis of the specific quartile
  cutoff points in controls (25th, 50th, and 75th percentile cutoff points are 612, 1,875,
  and 5,400 for participants <40 years old; 612, 2,160, and 7,200 for 41 [to] 50 years;
  720, 3,600, and 10,800 for 51 [to] 60 years; 1,440, 5,760, and 14,440 for 61 [to] 70; 840,
  7,200, and 18,800 for > 70 years).” Id.


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  1.0; for the first category of users the relative risk was 1.14; “for the second, 1.23; the

  third, 1.22; and the fourth, 1.32.” (Id. at 792.) According to Dr. McTiernan, “[t]he

  authors’ calculated confidence intervals for each of those levels of relative risk, and

  they all show significance or near significance.” (Id.) Moreover, Dr. McTiernan

  referred to the Penninkilampi 44 meta-analysis’s finding on dose-response, explaining

               they were able to find most studies that had some
               information either on duration of use or total lifetime
               applications. When they looked at the 12 studies who had
               duration of use, they looked at for those women who used
               for more than 10 years compared to less use, the relative
               risk was 1.25. So that tells us long-term use has an effect.
               Five of those studies they included [in] the meta-analysis
               had total lifetime applications. So its frequency times
               duration. And they divided those into two categories
               corresponding to daily use for 10 years. So 3600 total
               applications more or less, and you did see an increase. You
               see a relative risk of 1.32 for the lower group users and 1.42
               for the higher, and this is compared to non-users. The
               confidence intervals did not include one, so they are
               statistically significant.

  (Id. at 796.) Finally, Dr. McTiernan explained that while a few studies did not look

  at dose-response in this fashion, or at all, or, if the study did look at dose-response, it

  did not find any effect, she nevertheless found, based on the totality of available

  evidence, there is a dose-response relationship between talc use and ovarian cancer.

  (See id. at 796–97.)



  44     The Penninkilampi meta-analysis examined the results of observational
  studies, both case-control and cohort, that involved at least 50 cases of ovarian cancer.
  Ross Penninkilampi, et al., Perineal Talc Use and Ovarian Cancer: A systematic
  Review and Meta-Analysis, 29(1) Epidemiology 41, 41 (2018). The authors of the
  Penninkilampi study conclude that although there is “[s]ome variation in the
  magnitude of effect . . . when considering study design[,]” “[i]n general, there is a
  consistent association between perineal talc use and ovarian cancer.” Id.
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        Defendants submit that “evidence of dose-response is integral to an assessment

  of whether talc use causes ovarian cancer” and that the causation experts’ testimony

  demonstrate that “dose-response data are absent in many studies, and the data that

  do exist are inconsistent.” (Defs.’ Post-Hr’g Br., at 26.) Defendants further argue

  that the studies relied on by the experts do not, in fact, support their conclusions. (Id.

  at 28.) Plaintiffs, however, contend that Defendants’ argument ignores the Bradford

  Hill definition of dose-response and rests on the false requirement that evidence of

  dose-response “be clear and seen consistently ‘through the body of data.’” (Pls.’

  General Causation Br., at 155–56.) Plaintiffs, instead, maintain that in the context

  of a Bradford Hill analysis, the relevant question is whether there is any evidence

  that would support a dose-response relationship. (Id. at 159–60.) Plaintiffs disagree

  with Defendants’ position that the studies, upon which the causation experts rely, do

  not support the experts’ opinions. (See id. at 161–62.)

        Essentially, the parties’ dispute with respect to dose-response raises two

  issues:    (1) the weight dose-response is given in a Bradford Hill analysis, and

  correspondingly, what type of data is required for finding of a dose-response; and (2)

  whether Plaintiffs’ general causation experts’ finding of a dose-response is adequately

  supported by the studies on which they rely. On the first issue, as a threshold

  question, the parties dispute how to weigh dose-response in the greater Bradford Hill

  inquiry.    Defendants, on one hand, assert that dose-response “is integral to an

  assessment of whether talc use causes ovarian cancer,” whereas Plaintiffs maintain

  that, in the context of a Bradford Hill analysis specifically, a strong dose-response



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  relationship is not necessarily essential.

        Generally, “while precise information concerning the exposure necessary to

  cause specific harm to humans and exact details pertaining to the plaintiff's exposure

  are beneficial, such evidence is not always available, or necessary, to demonstrate

  that a substance is toxic to humans given substantial exposure and need not

  invariably provide the basis for an expert's opinion on causation.” Westberry v.

  Gislaved Gummi AB, 178 F.3d 257, 264 (4th Cir. 1999) (admitting expert testimony

  that exposure to talc caused sinus problems despite inability to determine threshold

  level of exposure necessary to cause plaintiff's injuries).          Here, the Court

  acknowledges, as correctly pointed out by Defendants, that strong evidence of dose-

  response would tend to show a stronger causative relationship between talc use and

  ovarian cancer. However, based on epidemiological principles, a strong dose-response

  is not necessarily required for an expert to find a casual nexus. See, e.g., Ferguson v.

  Riverside Sch. Dist. No. 416, No. 00-0097, 2002 WL 34355958, at *6 (E.D. Wash. Feb.

  5, 2002) (“The Court determines that the lack of a model for determining causation

  based on a ‘dose-response’ relationship does not undermine the reliability of [the

  expert’s] testimony.”). Even so, the causation experts have pinpointed studies that

  demonstrate evidence of dose-response, i.e., meta-analyses, and adequately explained

  why the studies, themselves, are reliable. See Green, supra at 603.

        Next, Defendants argue that, contrary to the causation experts’ opinions, only

  a limited number of studies show a dose-response relationship between talc use and

  ovarian cancer, and even in those studies that do show a dose-response, the



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  relationship tends to be weak. Thus, Defendants submit that the Court must find

  that the causation experts’ opinions are unreliable. I disagree for two reasons. First,

  as I already explained, the dose-response factor need not be significant in order for

  an expert to, nevertheless, find a causative relationship, so long as there is reliable

  epidemiological evidence of a dose-response. See Green, supra at 603 (observing that

  “a dose-response relationship is strong, but not essential, evidence that the

  relationship between an agent and disease is causal”).

        Second, as indicated above, Plaintiffs’ experts relied upon certain meta-

  analysis and pooled studies, which they interpreted as having demonstrated a dose-

  response relationship. While Defendants disagree with Plaintiffs’ general causation

  experts’ interpretation of those studies, the experts provided “good grounds” for their

  interpretations. For example, Defendants argue that, in their view, the Terry study

  “concluded that there was no trend in risk with increasing talc use,” and does not

  actually support a dose-response, contrary to Dr. McTiernan’s interpretation. (See

  id.) In support of their argument, Defendants point to the Terry study’s conclusion

  that “[a]lthough a significant increase in risk with an increasing number of genital

  powder applications was found for nonmucinous epithelial ovarian cancer when non-

  users were included in the analysis, no trend in cumulative dose was evident in

  analyses restricted to ever users of genital powder.” (See McTiernan Daubert Hr’g

  Tr., at 888.) On that point, however, Dr. McTiernan explained that she interpreted

  the study to show a dose-response relationship based on the comparison of never-

  users and users of talc.” (Id. at 888–91.) Dr. McTiernan further testified that it is



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  “appropriate to include non-users when you are looking at a dose-response effect,

  unless there is some other reason non-users are so different they should be excluded.

  I liken it to if you are testing a dose for effectiveness in a randomized trial, you would

  compare it to a placebo.”    (Id. at 890–91.) In fact, the Terry study also concluded,

  “[t]aken together, these observations suggest that the significant trend test largely

  reflects the comparison of ever regular use with never use.” Terry, supra at 817.

        Based on the parties’ arguments, I find that both sides offer different

  interpretations of the Terry study, which did not wholly rule out a dose-response

  relationship, but instead found the data inconsistent.        See Terry, supra at 819.

  Admittedly, while the body of evidence with respect to dose-response is inconclusive,

  the experts’ conclusions drawn from such evidence do not constitute an “unsupported

  scientific leap,” as the experts have explained the bases for their findings.         See

  Roundup, 390 F. Supp. 3d at 1134. Distilled to its essence, the dispute between the

  parties as to whether the studies support the experts’ opinions appears to be based

  on competing interpretations of the studies’ results and whether those results support

  a dose-response relationship. But, it is not the Court’s position as gatekeeper to

  determine whose interpretation of the studies is correct, as long as the competing

  interpretations are each rooted in some sound ground. See Stecyk, 295 F.3d at 414–

  15 (“A party confronted with an adverse expert witness who has sufficient, though

  perhaps not overwhelming, facts and assumptions as the basis for his opinion can

  highlight those weaknesses through effective cross-examination.”). That is an issue

  for cross-examination.



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                                 e. Specificity

        The next Bradford Hill factor, specificity, provides that “[a]n association

  exhibits specificity if the exposure is associated only with a single disease or type of

  disease.” Green, supra at 605. While “evidence of specificity may strengthen the case

  of causation, lack of specificity does not necessarily undermine it where there is a

  good biological explanation for its absence.” Id. Each of Plaintiffs’ experts found this

  factor to weigh in support of causation, but did not place significant weight on the

  factor. Dr. Clarke-Pearson explained that “the epidemiologic studies appear[] that

  this is specific for ovarian cancer, not other cancers, vaginal cancer, uterine cancer.”

  (Clarke-Pearson Daubert Hr’g Tr., at 1542.) Dr. Carson similarly opined that

                 [s]pecificity is a little less easy to define, but essentially it
                 means that this exposure causes a specific disease and not
                 other diseases, and that there is not a lot of confounding.
                 We know that ovarian cancer occurs at a particular rate in
                 women. What we have shown through research is that it
                 occurs more often in women who use talcum powder for
                 hygienic purposes on a regular basis. So based on that
                 information, I believe the specificity consideration is
                 satisfied.

  (Carson Daubert Hr’g Tr., at 1311–12.) Defendants argue that the experts’ findings

  “ignore[] the undisputed fact that ovarian cancer is not a single disease, but instead

  a number of different diseases, all with different genetic origins, risk factors, and

  treatments.”     (Defs.’ Post-Hr’g Br., at 29.)       Plaintiffs, however, maintain that

  Defendants’ position ignores the body of scientific evidence that demonstrates

  specificity with epithelial ovarian cancer, and more specifically, serous ovarian

  cancer. (Pls.’ General Causation Br., at 179–81.)



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        The testimony of Plaintiffs’ experts demonstrates that their opinions rest on

  good grounds and considered scientific evidence to conclude that the association is

  specific to ovarian cancer. The experts do not opine as to any link between talc use

  and any other genital cancer. Their findings are limited to epithelial ovarian cancer.

  While epithelial ovarian cancer may have various subtypes, Defendants have not

  sufficiently demonstrated that Plaintiffs’ findings are unreliable. Defendants may

  disagree with the experts’ conclusions as to specificity, but that is fodder for cross-

  examination and not exclusion under Daubert.

                              f. Temporality

        The Court next considers the parties’ arguments with respect to temporality.

  It is well-established that “[a] temporal, or chronological, relationship must exist for

  causation to exist,” i.e., the exposure must have occurred before the disease develops.

  Green, supra at 601. Plaintiffs’ general causation experts weighed this factor highly

  because “it’s been shown that talcum powder exposure [occurs] before the onset of

  ovarian cancer.” (See Clarke-Pearson Daubert Hr’g Tr., at 1542; Carson Daubert Hr’g

  Tr., at 1312; McTiernan Daubert Hr’g Tr., at 799.) Defendants, however, maintain

  that “the notion that talc use precedes the onset of ovarian cancer is unremarkable

  given that ovarian cancer typically develops late in life, whereas most women begin

  using talc by their mid-20s.” (Defs.’ General Causation Br., at 93–94.) Both positions

  are true.    Talc use precedes an ovarian cancer diagnosis, and that fact is

  “unremarkable.” The weight to be given this factor is an issue for the fact-finder.

  Defendants’ argument does not present a question of reliability—but scientific



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  disagreement. Dzielak, 2017 WL 1034197, at *26.

                              g. Coherence

        The coherence factor, as described by Dr. McTiernan, demonstrates that “[t]he

  cause-and-effect interpretation of the data should not significantly conflict with the

  known facts about the natural history and biology of the disease.” (McTiernan Expert

  Rep., at 29.) Dr. McTiernan did not weigh this factor heavily, explaining

               [t]he cause-and-effect interpretation of the data on talcum
               powder product use and risk of ovarian cancer clearly do
               not significantly conflict with the known facts about the
               natural history and biology of the disease. Increase[d]
               inflammation has been linked to risk of ovarian cancer, and
               talc and other contents of talcum powder products elicit
               inflammatory responses within areas of the body in which
               they have been found . . . . While these factors support a
               causal association and my opinions in this regard, I do not
               weigh them as heavily as the strength and consistency of
               the association.

  (McTiernan Expert Rep., at 67.) Similarly, Dr. Carson opines that

               [t]he proposal that talcum powder product use results in
               the occurrence of ovarian cancer is entirely consistent with
               what is known about other factors related to ovarian
               cancer, i.e. early menarche, late menopause, pregnancies,
               breastfeeding history, oral contraceptive use, etc. All are
               factors that influenced the local inflammatory
               environment of the ovary and its surroundings and have
               the potential to promote existing transcriptional errors and
               mutations.

  (Carson Expert Rep., at 10.)        Dr. Clarke-Pearson likewise opines that the

  “[e]pidemiological data, in vitro and in vivo research are consistent in explaining the

  pathogenesis of [epithelial ovarian cancer] through . . . inflammatory mechanisms,”

  as well as the causes of other cancers.” (Clarke-Pearson Expert Rep., at 9.)



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        Defendants present three arguments as to why the experts’ opinions on

  coherence are unreliable: (1) “there are numerous subtypes of ovarian cancer, and

  the notion that talc would cause all of them is incoherent”; (2) no animal studies have

  shown that use of talc causes ovarian cancer; and (3) the experts do not reconcile their

  opinions “with studies that have investigated the use of talcum powder on

  diaphragms and condoms and have found no increased risk.” 45           (Defs.’ General

  Causation Br., at 84–88.) Plaintiffs maintain that coherence is demonstrated by the

  observational studies which “are long enough to account for the development of

  ovarian cancer and the biologic evidence relied on is consistent with the natural

  course of ovarian cancer.” (Pls.’ General Causation Br., at 186.)

        Under Bradford Hill, the coherence factor ensures that the association (talc

  use and ovarian cancer), does not conflict with other known scientific facts, i.e.,

  coherent with existing knowledge of the development of the disease (ovarian cancer)

  in question. On this issue, Plaintiffs’ general causation experts have presented the

  theory that talc use causes inflammation, which leads to ovarian cancer. Defendants’

  arguments do not question whether this particular opinion was reached in an

  unreliable manner. Rather, Defendants argue that the experts’ theory is implausible



  45      The condom and diaphragm studies evaluated whether application of talcum
  powder to condoms and diaphragms, which are inserted directly into the genital tract,
  increased the risk of a woman developing ovarian cancer. (See Defs.’ General
  Causation Br., at 87 & n.206.) For example, case-control studies and meta-analyses
  that considered the risk of ovarian cancer resulting from application of talc to
  diaphragms before insertion did not show a positive association. (See McTiernan
  Daubert Hr’g Tr., at 904–08.) Dr. McTiernan acknowledged the studies’ findings, but
  criticized the studies’ lack of clarity as to the amount of talc exposure that results
  from diaphragm application. (See id.)
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  because “there are numerous subtypes of ovarian cancer,” and that it would be

  incoherent to suggest that talc causes all of them, particularly since, according to

  Defendants, some types of ovarian cancer are developed as a result of genetic

  mutations. However, whether a plaintiff’s ovarian cancer is caused by genetic

  mutations or use of talc, is a question of specific causation that each plaintiff would

  have to separately prove. Rather, in assessing coherence, it is sufficient that the

  causation experts examined generally known facts regarding inflammation and

  cancer, and opined that these facts are coherent with their theory that talc, which

  may contain carcinogens, can inflame epithelial cells resulting in cancer. That there

  are different types of ovarian cancer does not undermine the experts’ opinion on this

  factor.

            Defendants’ remaining arguments merely show disagreement with the

  conclusion on coherence drawn by the causation experts. On one hand, the experts

  point to scientific knowledge on the potential for talcum powder to cause cellular

  inflammation, which may lead to cancer. In that connection, the experts opine that

  it is entirely coherent with known scientific fact for the studies upon which they rely

  to show a causative relationship between talc use and ovarian cancer.

  Notwithstanding this scientific knowledge, Defendants insist that the experts failed

  to consider the lack of animal studies of talc use and ovarian cancer, and the studies

  based on condom and diaphragm usage. However, the experts did consider the

  studies cited by Defendants, though they interpreted the studies differently. For

  example, with respect to the condom and diaphragm studies, Dr. McTiernan



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  acknowledged the studies’ findings, but criticized the studies’ lack of clarity as to the

  amount of talc exposure that results from diaphragm application. (See id.) Indeed,

  Dr. McTiernan found that they were flawed because they did not consider “whether

  “the woman rinsed the diaphragm before putting spermicidal jelly and before

  inserting. So we don’t know about the amount of real exposure.” (Id. at 906–07.)

  With respect to the relevant animal studies, Defendants fault the experts for not

  considering the 2009 Keskin study 46 or the 1984 Hamilton study. 47 (Defs.’ General

  Causation Br., at 86.) Again, Plaintiffs’ experts, in fact, considered these studies.

  Notably, they rely on these studies to support their opinion that application of talc

  causes inflammation, which may lead to cancer. (See McTiernan Expert Rep., at 62–

  63 (opining that the animal studies “demonstrate that talcum powder products and

  its attendant inflammation can induce carcinogenesis”); Clarke-Pearson Expert Rep.,

  at 4 (“Talcum powder is known to elicit an inflammatory response in animals and

  humans.”); Carson Expert Rep., at 5 (“When implanted under the skin or into tissues

  of laboratory animals, talcum powder induces an inflammatory response.”).) That



  46      In the 2009 Keskin study, researchers treated rats with intravaginal and
  perineal talc. Nadi Keskin, et al., Does Long-Term Talc Exposure Have a
  Carcinogenic Effect on the Female Genital System of Rats? An Experimental Pilot
  Study, 280 Archives Gynecologic Obstet. 925, 925 (2009). The study concluded that
  “[t]alc has unfavorable effects on the female genital system,” but that “this effect is
  in the form of foreign body reaction and infection, rather than being neoplastic.” Id.

  47     The 1984 Hamilton study involved exposing rat ovaries to talc by intrabursal
  injection. T.C. Hamilton, et al., Effects of Talc on the Rat Ovary, 65(1) J. Exp. Pathol.
  101 (1984). The Hamilton study found that the talc injection “was followed by
  changes in the ovary and its associated tissues” and observed “papillary changes . . .
  in the surface epithelium of a proportion of the injected ovaries.” Id. at 105.


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  these studies only showed inflammation as a result of the talc application, and not

  neoplastic transformation, i.e., formation of cancer cells, does not undermine the

  experts’ coherence analysis which only refers to the scientific knowledge that talc can

  cause inflammation. Importantly, Defendants do not dispute the known fact about

  the link of cellular inflammation to cancers in general, (see Defs.’ Bio. Plausibility Br.,

  at 49), which is the basic premise of the experts’ opinion on coherence. Defendants,

  instead, raise issues on this Daubert motion beyond whether the experts’ opinions

  were reached using sound methodology; because Plaintiffs’ general causation experts

  have presented scientific grounds for their opinion on coherence, that opinion and its

  bases must be explored on cross-examination. See Daubert, 509 U.S. at 596.

                               h. Remaining Bradford Hill Factors

        Finally, Defendants argue that Plaintiffs’ general causation experts’ analysis

  of the final two Bradford Hill factors—analogy and experiment—are unreliable.

  Defendants raise these arguments only in their moving briefs and do not address the

  factors in their Post-Hearing briefing because the factors “were not covered

  extensively at the hearing.” (Defs.’ Post-Hr’g Br., at 29 n.89.)

        First, with respect to the experiment factor, which considers whether there is

  experimental evidence to support the association, Defendants posit there is “no

  reliable support for [P]laintiffs’ experts’ causation opinions.”         (Defs.’ General

  Causation Br., at 92–93.) The experts generally did not afford this factor great weight

  because of the ethical implications for conducting a randomized trial on women to

  explore the relationship between talc use and ovarian cancer. (See McTiernan Expert



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  Rep., at 67; Clarke-Pearson Expert Rep., at 9). Nevertheless, the experts reference

  certain in vitro experiments and animal studies as support for causation.          (See

  McTiernan Expert Rep., at 67; Clarke-Pearson Expert Rep., at 9.) To the extent

  Defendants assert that contradictory animal and in vitro studies do not otherwise

  support causation, that is a question of weight for the jury to decide. As the Court

  has reiterated throughout this Opinion, the fact that experts may disagree as to how

  to interpret the relevant studies at issue does not indicate one expert is more reliable

  than the other. See, e.g., Stecyk, 295 F.3d at 414–15. Moreover, to the extent there

  are competing studies relied upon by the parties’ experts, a weighing of those studies

  is reserved for the factfinder at trial.

         Second, the analogy factor of Bradford Hill provides that “[s]ubstantiation of

  relationships similar to the putative causal relationship increases the likelihood of

  causation.”   In re Mirena Ius Levonorgestrel-Related Prods. Liab. Litig. (No. II)

  (“Mirena II”), 341 F. Supp. 3d 213, 243 (S.D.N.Y. 2018); see also Carson Expert Rep.,

  at 10 (framing analogy criteria as considering whether “there [have] been other

  environmental exposures that have been associated with ovarian cancers that act via

  similar mechanisms.”). On this factor, the general causation experts compare the

  relationship between talc and ovarian cancer to the relationship between asbestos

  and the development of ovarian and lung cancer. (See McTiernan Expert Rep., at 67;

  Clarke-Pearson Expert Rep., at 9; Carson Expert Rep., at 10.)          Dr. McTiernan

  explains that “a similar mechanism has been reported by which asbestos causes

  ovarian cancer. These mechanisms are consistent with one another and the accepted



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  understanding of the role of inflammation in carcinogenesis.” (McTiernan Expert

  Rep., at 67.) The experts do not weigh this factor heavily. (See id.)

        The Court finds the weighing of this factor by Plaintiffs’ experts to be reliable.

  There is no dispute that asbestos is carcinogenic and that asbestos has been shown

  to cause cancer. In that connection, it is not unreliable for the experts to opine that

  because asbestos has been found in talc, it can similarly cause ovarian cancer.

  Defendants, nevertheless, argue that because the asbestos mineral that has been

  most associated with ovarian cancer—crocidolite—was not found in its talcum

  powder products, this analogy is inappropriate. 48 To better understand Defendants’

  argument, the Court reiterates that crocidolite is in the same family as the types of

  asbestos (anthophyllite and tremolite) that were found in talc—amphibole asbestos;

  all of these asbestoses are regulated. See Int’l Agency for Research on Cancer, World

  Health Org., 100 Monographs on the Evaluation of Carcinogenic Risks to Humans:

  Arsenic, Metals, Fibres, and Dusts 220 (2012) (defining as “the five amphibole

  minerals – actinolite, amosite . . . , anthophyllite, crocidolite, . . ., and tremolite”).

  Based on that science, the general causation experts analogize that the asbestos



  48      The studies to which Defendants referred specifically examined the effect of
  occupational exposure to asbestos. (See Defs.' Longo Br., at 88–89.) For example,
  Defendants point to the 2011 Reid meta-analysis, which identified three studies that
  associated occupational exposure to crocidolite asbestos with ovarian cancer. Reid,
  et al., Does Exposure to Asbestos Cause Ovarian Cancer? A Systematic Literature
  Review and Meta-Analysis, 20(7) Cancer Epidemiol Biomarkers Prev. 1287, 1289–90
  (2011). While Defendants rely on this study to suggest that only crocidolite asbestos
  has been associated with ovarian cancer, (see Defs.' Asbestos Br., at 89), the Court
  notes that the Reid meta-analysis also highlights four studies that found an
  association between asbestos and ovarian cancer, that did not indicate what type of
  asbestos to which the women were exposed. See id.
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  present in talc, like crocidolite, may cause ovarian cancer. Indeed, the purpose of the

  analogy factor is to compare the causal association at issue to other similarly known

  causative relationships. See Mirena II, 341 F. Supp. 3d at 243. The factor does not

  require an expert to prove causation, i.e., that anthophyllite or tremolite indeed cause

  ovarian cancer, as Defendants have suggested; in fact, to adopt Defendants’ argument

  would turn the analogy factor on its head. Rather, it is sufficient, under this factor,

  that the causation experts compared the known relationship between a similar

  carcinogen (crocidolite) and ovarian cancer to the putative carcinogenic effect of

  anthophyllite and tremolite on the ovaries.

        Defendants further challenge the experts’ conclusion that talc and asbestos are

  comparable minerals. Defendants assert that it is improper to compare talc and

  asbestos because “asbestos and talc are distinct minerals with distinct chemical

  structures and morphology, and talc lacks the unique chemical and physical

  properties that make asbestos harmful.”         (Defs.’ General Causation Br., at 89.)

  Putting aside that the experts assumed, by relying on certain studies, that talc

  contains asbestos, it is, nevertheless, apparent that the experts’ comparison of

  asbestos and talc is based on these minerals’ tendency to cause inflammation, which

  could lead to carcinogenesis. (See McTiernan Expert Rep., at 67.) I cannot find that

  such a comparison is not supported by science, such that it was unreliable or inapt.

  Defendants may disagree with the experts’ findings, but that, in and of itself, is not

  grounds for exclusion.




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                   iii.   Consistency with Public Health Agencies

        Finally, Defendants argue that the opinions of Plaintiffs’ general causation

  experts should be excluded as unreliable because “they are generally inconsistent

  with the scientific consensus that a causal relationship between talc use and ovarian

  cancer has not been established.” (Defs.’ General Causation Br., at 108.) Defendants

  assert that the opinions of the causation experts are contrary to the findings of the

  FDA, NCI, and IARC which have declined to find any association between ovarian

  cancer and perineal application of talc. (See id. at 110.) For example, Defendants

  highlight that in 2014, the FDA conducted a review of the literature available at that

  time and “did not find that the data submitted presented conclusive evidence of a

  causal association between talc use in the perineal area and ovarian cancer.” (Id.

  (quoting FDA Denial Letter).)

        Plaintiffs counter that the scientific community has not “reached any

  consensus that talcum powder does not cause ovarian cancer.”              (Pls.’ General

  Causation Br., at 197.) At the outset, I note that Defendants overstate IARC’s

  position on this issue.    IARC, in their 2006 Monograph, concluded that talc is

  “possibly carcinogenic.” See IARC, 93 Monographs on the Evaluation of Carcinogenic

  Risks to Humans: Carbon Black, Titanium Dioxide, and Talc 412 (2010). In that

  regard, IARC made no definitive pronouncement that talc use is not linked to ovarian

  cancer. See id. (noting that “[t]here is limited evidence in humans for carcinogenicity

  of perineal use of talc-based body powder”). In fact, Plaintiffs argue that IARC’s

  categorization of talc as a possible carcinogen supports their position. (See Pls.’ Post-



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  Hr’g Br., at 24.) In addition, Plaintiffs point to Health Canada’s 2018 report on talc,

  which examines the association between talc and ovarian cancer and concluded, after

  applying the Bradford Hill criteria, that “available data are indicative of a causal

  effect” and that “[g]iven that there is potential for perineal exposure to talc from the

  use of various self-care products . . . , a potential concern for human health has been

  identified.” Health Canada, Draft Screening Assessment: Talc, at iii (Dec. 2018).

  Plaintiffs’ general causation experts maintain that the Health Canada report is

  generally supportive of their findings. (See McTiernan Daubert Hr’g Tr., at 721.)

  Indeed, Dr. McTiernan testified that Health Canada’s analysis differed slightly from

  her own, but that overall its conclusion is consistent with her conclusion on the

  association between talc and ovarian cancer. 49

        The Court agrees with Plaintiffs—there does not appear to be scientific

  consensus on the issue of the association between talc use and ovarian cancer. The

  case law cited by Defendants to support their argument that the lack of consensus

  renders the experts’ opinions unreliable present a very different picture than the case

  at hand. For example, Defendants rely on Norris v. Baxter Healthcare Corp., 397



  49      In arguing that the Plaintiffs’ general causation experts improperly rely on
  Health Canada’s report, Defendants highlight differences between the experts’
  Bradford Hill analyses and those of Health Canada. (See Defs.’ Post-Hr’g Br., at 7–
  9.) However, the question of whether Health Canada and the general causation
  experts identically applied the Bradford Hill factors does not affect the reliability of
  the experts’ opinions. Each of the experts, here, has conducted his or her own analysis
  under Bradford Hill by examining the available epidemiological evidence to reach his
  or her own conclusions on the association between talc use and ovarian cancer. That
  Health Canada may have assessed certain Bradford Hill factors differently or come
  to a slightly different conclusion as to each factor does not undermine the reliability
  of the experts’ opinions.
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  F.3d 878, 885–86 (10th Cir. 2005), in which the expert’s opinion was “flatly contrary

  to all of the available epidemiological evidence.” That is simply not the case here.

  The public health agencies have not reached any consensus that talc does not cause

  ovarian cancer. Indeed, the groups identified by Defendants have simply interpreted

  and weighed the relevant epidemiological evidence differently than Plaintiffs’ experts

  and other agencies. The Court cannot, in its capacity as a gatekeeper under Daubert,

  weigh the findings of the public health groups against those of Plaintiffs’ general

  causation experts and the various scientific, peer-reviewed, studies on which they

  rely.    See, e.g., In re Testosterone Replacement Therapy Prods. Liab. Litig.

  Coordinated Pretrial Proceedings, MDL No. 2545, 2017 WL 1833173, at *13 (N.D. Ill.

  May 8, 2017) (finding that expert’s disagreement with FDA report did not undermine

  reliability of testimony and instead was issue of weight for jury to resolve).

          In conclusion, what remains clear from the general causation evidence relied

  on by the experts on both sides in this matter, is that there is scientific evidence

  supporting each side’s opinion. At best, that the body of relevant scientific evidence

  is inconclusive and may be open to different interpretations—does not mean one

  side’s interpretation is more reliable than the other. See Roundup, 390 F. Supp. 3d

  at 1126 (finding that “[t]he upshot of all this is that the epidemiology evidence is open

  to different interpretations”). Ultimately, the question of whose experts are correct

  is a question for the jury; it would be erroneous for this Court to make those factual

  findings on a Daubert motion. See Mitchell, 365 F.3d at 244 (“Daubert does not

  require that a party who proffers expert testimony carry the burden of proving to the



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  judge that the expert’s assessment of the situation is correct” (quoting Ruiz–Troche,

  161 F.3d at 85); In re Processed Egg Prods. Antitrust Litig., 81 F. Supp. 3d 412, 416

  (E.D. Pa. 2015) (“Proponents of expert testimony do not ‘have to prove their case

  twice—they do not have to demonstrate to the judge by a preponderance of the

  evidence that the assessments of their experts are correct, they only have to

  demonstrate by a preponderance of evidence that their opinions are reliable.’”

  (citation omitted)).

        Accordingly, the Court finds that the opinions of Plaintiffs’ general causation

  experts are admissible under Daubert, subject to the limitations on certain testimony

  as set forth above. The experts reliably applied each factor of the Bradford Hill

  analysis as required under Zoloft, even if their conclusions in the context of some of

  these factors demonstrate a relatively minimal causal relationship between talc use

  and ovarian cancer. 858 F.3d at 795–96; see Mathis v. Exxon Corp., 302 F.3d 448, 461

  (5th Cir. 2002) (explaining that the Daubert analysis was never intended to supplant

  trial on the merits). Where, as here, the causation experts’ opinions are based on

  facts, a reasonable investigation (including documented findings), and traditional

  technical/mechanical expertise, and the experts provide a reasonable link between

  the information and procedures they use and the conclusions reached, the Daubert

  requirements are met. See id.; Bigelow v. N.Y. Lighter Co., Inc., No. 03-340, 2005 WL

  67424971, at *1–*3 (W.D. Tex. June 27, 2005); see also Tassin v. Sears, Roebuck &

  Co., 946 F. Supp. 1241, 1248 (M.D. La. 1996). To the extent any of the causation

  experts’ analyses are “shaky but admissible,” Defendants ought to raise these issues



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  on cross-examination before the fact finder. It is the role of the adversarial system,

  not the Court, to highlight weak evidence. See Primrose Operating Co. v. Nat’l Am.

  Ins. Co., 382 F.3d 546, 562 (5th Cir. 2004). 50

  III.   DEFENSE EXPERTS 51

         A.    Dr. Gregory Diette

         Defendants proffer Dr. Gregory Diette as an expert in epidemiology. Dr. Diette

  is a professor of medicine at Johns Hopkins University School of Medicine and holds

  joint appointments in the Departments of Environmental Health Sciences and

  Epidemiology at the Johns Hopkins Bloomberg School of Public Health. (Diette



  50     In addition to challenging the reliability of the methodology employed by
  Plaintiffs’ general causation experts, Defendants assert that these experts should be
  excluded because they “are not employing the same level of rigor in the courtroom
  that characterizes their activities in the field.” (Defs.’ Post-Hr’g Br., at 76.)
  Specifically, Defendants fault Dr. Clarke-Pearson for not advising patients of the
  dangers of talc, (id. at 76–78); Dr. McTiernan for previously acknowledging a
  hierarchy of epidemiological evidence, (id. at 78–79); and Dr. Carson for contradicting
  his previous statement made clinically that even some exposure to a carcinogen, i.e.,
  benzene, does not necessarily raise a health concern. (Id. at 79–80.) Unlike in other
  cases where experts have been excluded because their litigation opinions on an
  ultimate issue contradicted other of their published opinions, see In re Zoloft
  (Sertraline Hydrochloride) Prods. Liab. Litig, 26 F. Supp. 3d 449, 460 (E.D. Pa. 2014)
  (excluding expert whose testimony contradicted her own peer-reviewed publications),
  the so-called contradictory statements suggested by Defendants appear to be more
  akin to credibility issues that may be raised on cross-examination.

  51     Like Defendants, Plaintiffs have filed motions to exclude various defense
  experts. Unlike, for example, Drs. Longo and Saed, Defendants’ experts, for the most
  part did not conduct their own individual testing, i.e., testing the components of talc
  or the effect of talc exposure on ovarian cells. Instead, Defendants’ experts rebut the
  opinions offered by Plaintiffs’ experts. In this regard, Plaintiffs’ briefing on their
  motions to exclude repeat many of the arguments already raised in their opposition
  to Defendants’ motions to exclude. I note that neither Plaintiffs nor Defendants
  address the arguments raised in Plaintiffs’ motions to exclude in their Post-Hearing
  briefing.
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  Daubert Hr’g Tr., at 1005.) In that capacity, Dr. Diette has three major roles: (1)

  evaluate patients at the clinic; (2) educate medical students, residents, fellows, and

  other trainees; and (3) conduct research. (Id.) He received his M.D. from Temple

  University School of Medicine. (Diette Expert Rep., at 1.) The doctor also holds an

  M.H.S. in epidemiology and clinical epidemiology from the Johns Hopkins Bloomberg

  School of Public Health.      (Id.)   His areas of clinical expertise include internal

  medicine, pulmonary medicine, and critical care medicine. (Id.) While Plaintiffs

  imply in their briefing that Dr. Diette is not qualified to provide an epidemiological

  opinion as to the relationship between talc use and ovarian cancer, because the

  primary focus of his research is pulmonary disease, (see Pls.’ Mem. Of Law in Supp.

  of Mot. To Exclude Opinions of Defendants’ Epidemiology Experts (“Pls.’

  Epidemiology Br.”), at 6), the Court is satisfied that Dr. Diette is qualified to testify

  on epidemiology. Daubert’s qualification requirement is liberally construed, and the

  Third Circuit has instructed that an expert should not be excluded “merely because

  the court feels that the expert is not the best qualified or that the expert does not

  possess the most appropriate specialization.” In re Human Tissue, 582 F. Supp. 2d

  at 655. I find that Dr. Diette has extensive training and experience in epidemiology

  and, further, that his medical training affords him the expertise to interpret

  epidemiological studies. As such, to the extent Plaintiffs seek to exclude Dr. Diette

  based on a lack of qualifications, I decline to do so.

        Dr. Diette opines that “[t]he body of relevant epidemiological evidence does not

  support a causal connection between perineal use of talcum powder products



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  (whatever constituents those products may contain in addition to talc) and ovarian

  cancer.” (Diette Expert Rep., at 2.) Dr. Diette, like Plaintiffs’ general causation

  experts, performed a Bradford Hill analysis and explains that, most notably, the

  strength of association, consistency, dose-response, and biological plausibility factors

  did not demonstrate a causal relationship. (Id. at 3.) In sum, Dr. Diette opines

               1. The epidemiological literature shows a non-existent
                  association or, at most, a small association between
                  perineal talc use and ovarian cancer that constitutes
                  only weak epidemiological evidence.     Because any
                  purported association demonstrated in the literature is
                  weak, it may well be attributed to factors such as
                  confounding, bias or chance.

               2. Studies have not consistently shown an association. The
                  prospective epidemiological studies (cohort studies) do
                  not show a statistically significant association; the
                  hospital based case-control studies do not show a
                  statistically significant association; and only a subset of
                  the population-based case-control studies show a
                  statistically significant association. If consistency could
                  be drawn from these inconsistent results, it would be a
                  consistency of null results because case-control studies,
                  which are more easily subject to certain biases and
                  confounding facts, are not the best evidence for proving
                  causation.

               3. Evidence of a dose-response relationship is lacking.
                  None of the cohort studies reveals a dose-response
                  relationship, and only a handful of case-control studies,
                  including those analyzing “cumulative” talc use, have
                  purported to find one. Moreover, study authors and
                  plaintiffs’ experts all agree that there are major
                  challenges to interpreting the study findings on dose-
                  response because there can be no assurance that any
                  estimates of talc use are accurate or valid. Indeed, there
                  is not a single epidemiologic study that has used, or
                  purports to have used, a validated measure of talcum
                  powder use. Without a validated measure of talcum
                  powder use, it is impossible to correctly determine

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                  whether or not an exposure occurred or the quantity of
                  purported exposure, casting considerable doubt on any
                  purported causative relationship between perineal
                  talcum powder use and ovarian cancer.

               4. The theories as to how talc or asbestos would reach the
                  ovaries have not been validated, and the scientific
                  community has repeatedly expressed the opinion that
                  the potential mechanism by which talcum powder is
                  associated with ovarian cancer remains speculative.

               5. Additional Bradford Hill factors–temporality, coherence
                  of the association and analogy–are not satisfied based on
                  the available epidemiologic evidence and do not support
                  the allegation that talcum powder use can cause ovarian
                  cancer.

  (Diette Expert Rep., at 3.)

        Plaintiffs contend that Dr. Diette’s opinions are unreliable and specifically

  challenge his assessment of the consistency of association, dose-response, and

  biological plausibility criteria. (See Pls.’ Epidemiology Br., at 7–57.) First, with

  respect to the consistency of association, Plaintiffs contend that Dr. Diette’s

  methodology is flawed as he conducted statistical significance testing and erroneously

  applied a “‘hierarchy of the evidence’ principle to assess the talc studies by generic

  design or category of study,” as opposed to considering the specific strengths and

  weaknesses of each individual study. (Id. at 20–47.) Second, as to dose-response,

  Plaintiffs argue that Dr. Diette incorrectly requires, against the Bradford Hill

  principles, that there be consistent findings of dose-response across the studies. (See

  id. at 52–53 & n.110.) Finally, Plaintiffs contend that Dr. Diette similarly misdefined

  and misapplied the biological plausibility factor by conflating biological plausibility

  with biological proof. (Id. at 57–61.)

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         Defendants maintain, however, Dr. Diette reliably applied the Bradford Hill

  criteria. Defendants reason that, in addition to considering statistical significance in

  addressing the consistency factor, Dr. Diette also “considers and rejects Plaintiffs’

  experts’   arguments     criticizing   the    cohort    studies,”   and     addresses   other

  inconsistencies in the epidemiological studies. (Defs.’ Opp. To Pls.’ Mot to Exclude

  Defs.’ Epidemiology Experts (“Defs.’ Epidemiology Br.”), at 18–20.) With respect to

  dose-response, Defendants maintain that Dr. Diette correctly found that the studies

  do not present evidence of a dose-response and “that even the studies plaintiffs’

  experts believe provide the strongest indication of a dose-response instead refute

  [their] theory.” (See id. at 41–50.) Finally, as to the biological plausibility factor,

  Defendants contend that Dr. Diette applied the correct standard for biological

  plausibility and reliably opines that a plausible biological mechanism has not been

  shown by the relevant studies. (Id. at 50–55.)

         Where, as here, the parties have offered competing expert testimony, the

  testimony of each expert is admissible so long as it is reliable and meets the other

  Daubert requirements. See Perry v. Novartis Pharm. Corp., 564 F. Supp. 2d 452, 464

  (E.D. Pa. 2008). Indeed, “[t]hat two different experts reach opposing conclusions from

  the same information does not render their opinions inadmissible.” Walker v. Soo

  Line R.R. Co., 208 F.3d 581, 589 (7th Cir. 2000); see also Pritchard, 705 F. Supp. 2d

  at 483 (noting that “it will be left to the jury to establish the relative credibility of the

  parties’   competing    experts”    (citing    Perry,   564    F.   Supp.     2d   at   464));

  Allapattah Servs, Inc. v. Exxon Corp., 61 F. Supp. 2d 1335, 1340-41 (S. D. Fla. 1999)



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  (“Merely because two qualified experts reach directly opposite conclusions using

  similar, if not identical, data bases or disagree over which data to use or the manner

  in which the data should be evaluated, does not necessarily mean that, under

  Daubert, one opinion is per se unreasonable.”). Instead, such a situation presents a

  classic “battle of the experts” scenario which is for the jury to resolve. In re Asbestos,

  714 F. Supp. 2d at 547 (observing that “[t]he ultimate determination of whether

  expert testimony is correct and ‘reliable’ in this sense remains with the jury” (quoting

  Cook v. Rockwell Int’l Corp., 580 F. Supp. 2d 1071, 1085 (D. Colo. 2006))); see also

  Abilifiy, 299 F. Supp. 3d at 1336 (“To the extent Defendants’ experts draw a different

  conclusion from those same facts, this presents a proverbial ‘battle of the experts,’

  which appropriately should be decided by a jury.”); Dzielak, 2017 WL 1034197, at *26

  (“What is presented here is a classic battle of the experts over disputed facts, to be

  settled by the finder of fact; it does not affect admissibility.”).

         The Court finds that Dr. Diette’s opinions are reliable and admissible pursuant

  to Daubert. Dr. Diette’s testimony at the Daubert hearing and his expert report

  demonstrate that his opinions reasonably flow from the epidemiological studies and

  that he followed a reliable methodology in reaching his conclusions. As to Dr. Diette’s

  analysis of consistency, the parties, again, dispute the role of significance testing, or

  statistical significance, in assessing the consistency of an association. Plaintiffs’

  arguments related to Dr. Diette’s analysis of the consistency factor restate the

  arguments raised by the parties with respect to Plaintiffs’ general causation experts’

  assessment of the same factor.           As the Court discussed above, the parties



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  fundamentally disagree as to the weight that should be given to the cohort and case-

  control studies, respectively, and, further, what role statistical significance should

  play in the assessment of the consistency of association. These disputes, based on

  each experts’ interpretation of the relevant studies’ results and trends, cannot be

  resolved in the context of this Daubert motion. Rather, pursuant to Daubert, my

  review of Dr. Diette’s testimony and his expert report is only confined to whether Dr.

  Diette’s methodologies in interpreting the studies are reliable, and on the issue, I find

  that his opinion is based on a fair interpretation of the relevant epidemiological

  studies and is not methodologically flawed. In his expert report, Dr. Diette explains

  in detail his consistency findings:

               the prospective epidemiologic studies (cohort studies) do
               not show a statistically significant association, while only
               a subset of the population-based case-control studies do.
               This disparity reflects inconsistent results across different
               types of studies, undermining the conclusion that cosmetic
               talc use causes ovarian cancer. The fact that none of the
               cohort studies found a statistically significant association
               between talc use and ovarian cancer is critical in this
               regard, because it calls into doubt even the modest
               association in some of the population-based case-control
               studies.

  (Diette Expert Rep., at 24 (footnotes omitted).) Dr. Diette goes on to criticize the

  consistency findings of Plaintiffs’ general causation experts, notably disagreeing with

  their assessment of the cohort studies. (See id. at 24–25.) At the Daubert hearing,

  the doctor elaborated on his methodology for this analysis, explaining that

               I’m not saying that the entire consistency criterion is
               fulfilled by whether things are statistically significant or
               not. What I really focused on primarily was that the
               different [study] designs produce different answers, and it

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               is not because of something that looks like that. It’s
               because there is a null effect from the cohort studies and
               not the case-control.

  (Diette Daubert Hr’g Tr., at 1160.) The Court finds this analysis to be reliable. It is

  evident that Dr. Diette considered the totality of the studies and that his assessment

  of the studies is based on “good grounds.” That Dr. Diette interprets the studies’

  results differently than Plaintiffs’ experts is not a ground for exclusion.

        Next, as to his findings on a dose-response relationship, Dr. Diette explained

  that “none of the prospective cohort studies showed a dose-response,” and “[w]here

  the case-control studies that had some estimate of dose-response, the results were

  highly variable.” (Id. at 1051.) Dr. Diette read these results as “highly inconsistent”

  and possibly demonstrative of a lack of a causal relationship. (See id. at 1052–53.)

  While Plaintiffs assert that Dr. Diette unreliably required consistency in dose-

  response results, Plaintiffs overstate Dr. Diette’s analysis. It is apparent from his

  hearing testimony that Dr. Diette’s finding of a lack of dose-response is not because

  of the inconsistent dose-response results, but instead, based on his opinion that the

  inconsistent results demonstrate the lack of a clear dose-response trend. This is a

  fair reading of the epidemiologic studies. Dr. Diette reviewed the results of the

  studies and assessed whether they were sufficient to show a dose-response

  relationship. Based on the inconsistent data, Dr. Diette determined there is not such

  a relationship. That determination rests on “good grounds” and is reliable. That

  Plaintiffs disagree with that interpretation is a question for cross-examination. See

  Roundup, 390 F. Supp. 3d at 1150–51 (finding that “different interpretations of



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  [epidemiology] studies are not necessarily evidence of unreliability” so long as each

  interpretation is “sufficiently grounded in scientific principles”).

        And, finally, with respect to biological plausibility, Dr. Diette in his expert

  report assessed the studies relied upon by Plaintiffs’ experts as to their theory that it

  is biologically plausible that talc can travel from the perineal area to the ovaries,

  where it causes inflammation that can lead to ovarian cancer. (See Diette Expert

  Rep., at 36–42.) Dr. Diette opines that the there is “insufficient” scientific evidence

  to support that theory. (See id.) Again, the record demonstrates that Dr. Diette

  reliably reached this opinion based on his interpretation of the available data. Simply

  because Dr. Diette and Plaintiffs’ experts “reach directly opposite conclusions using

  similar, if not identical data bases, or disagree over which data to use or the manner

  in which the data should be evaluated, does not necessarily mean that, under

  Daubert, one opinion is per se unreliable.” Allapattah Servs., 61 F. Supp. 2d at 1341.

        Indeed, the dispute over the reliability of Dr. Diette’s testimony mirrors the

  dispute over the admissibility of the opinions of Plaintiffs’ general causation experts.

  The parties fundamentally disagree as to which experts’ opinion and interpretation

  is best and, further, which experts reached the correct conclusions. Where the Court

  has determined that the experts on both sides have applied a reliable methodology in

  reaching their conclusions, “it is up to the jury to decide whether the expert used the

  best or most reliable methodology, what weight to accord to his testimony and which

  of [the] competing experts’ opinions should be credited.” In re Asbestos, 714 F. Supp.

  2d at 547 (alteration in original) (quoting Cook, 580 F. Supp. 2d at 1085). That is



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  because “[t]he ultimate determination of whether expert testimony is correct and

  ‘reliable’ in this sense remains with the jury.” Id.; see also Phillips v. Cohen, 400 F.3d

  388, 400 (6th Cir. 2005) (observing that “competing expert opinions present the

  ‘classic battle of the experts’ and it [is] up to a jury to evaluate what weight and

  credibility each expert opinion deserves” (alteration in original)); Quiet Tech. DC-8,

  Inc. v. Hurel-Dubois UK, Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003) (noting that on a

  Daubert motion, “it is not the role of the district court to make ultimate conclusions

  as to the persuasiveness of the proffered evidence”). The Court, in its capacity as a

  gatekeeper under Daubert, cannot determine whose opinions or conclusions are more

  sound. To do so would usurp the role of the jury. For these reasons, Plaintiffs’ motion

  to exclude Dr. Diette is denied.

        B.     Dr. Cheryl Saenz

        Dr. Saenz has been presented as an expert in gynecologic-oncology.             She

  received her M.D. at the University of California, Irvine, and completed her residency

  in obstetrics and gynecology at the University of California, San Diego. (Saenz

  Daubert Hr’g Tr., at 1799.) Following her residency, Dr. Saenz completed a fellowship

  in gynecologic oncology at Memorial Sloan Kettering Cancer Center. (Id.) The doctor

  is currently a clinical professor in gynecologic oncology at the University of California,

  San Diego, in the Department of Obstetrics, Gynecology, and Reproductive Sciences.

  (Id. at 1800.) In that position, Dr. Saenz testifies that she frequently teaches medical

  students and trainees risk factors for developing ovarian cancer. (Id.) Plaintiffs do




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  not dispute that Dr. Saenz is qualified to act as an expert in gynecologic-oncology. 52

        In this proceeding, Dr. Saenz opines that “perineal application of talcum

  powder does not cause ovarian cancer.” (Saenz Daubert Hr’g Tr., at 1807.) Dr. Saenz

  came to that opinion using the following methodology:

               I went about researching this question as to whether or not
               talc is a risk factor for the development of ovarian cancer,
               much like I would go about asking any other question in
               the field of gynecologic oncology. I did a very extensive
               literature search. I reviewed somewhere around 30 case-
               control studies. I reviewed the four published cohort
               studies. I reviewed seven meta-analyses and one pooled
               analysis.

               I went back and looked at the literature surrounding what
               are the known established risk factors for ovarian cancer,
               and put together a report based on that research.

               I also relied very heavily upon my experience in the field
               practicing in the subspecialty of gynecologic oncology for
               almost 25 years . . . , and considered all of the patients that
               I have taken care of that have had the diagnosis of ovarian
               cancer, as well as the women that are in my practice and
               that I have taken care of that are at high risk for
               developing ovarian cancer, including all of the slides that I


  52      Plaintiffs argue that Dr. Saenz’s critique of the opinion of Dr. Rebecca Smith-
  Bindman, another of Plaintiffs’ epidemiology experts, should be excluded because Dr.
  Saenz’s criticisms are unfounded. In that connection, Plaintiffs contend that because
  Dr. Saenz is not an epidemiologist she “lacks the basic qualifications to critique Dr.
  Smith-Bindman’s epidemiological assessment.” (Pls.’ Br. in Supp. Mot. to Exclude
  Defs.’ Gynecology-Oncology Experts (“Pls.’ Gynecology-Oncology Br.”), at 32.) The
  Court will not disqualify Dr. Saenz on these grounds. As the Court has explained, it
  is well-established that medical doctors are qualified to opine as to epidemiology
  studies. See, e.g., In re Mirena IUD Prods. Liab. Litig. (“Mirena I”), 169 F. Supp. 3d
  396, 426 (S.D.N.Y. 2016) (“[M]edical doctors do not need to be epidemiologists in order
  to testify regarding epidemiological studies.”); Wolfe v. McNeil-PPC, Inc., 881 F. Supp.
  2d 650, 659 (E.D. Pa. 2012). Indeed, the Third Circuit has cautioned that a court may
  not exclude an expert’s testimony because he or she does not have the particular
  degree that the court views to be “most appropriate.” In re Paoli, 916 F.2d at 855.
  Accordingly, the Court does not find it appropriate to exclude Dr. Saenz on this basis.
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               have looked at from their surgeries, all of the findings that
               I find when I’m operating. I relied upon the breadth and
               depth of my experience.

  (Id. at 1308–09.) While Dr. Saenz did not complete a full Bradford Hill analysis as

  part of her methodology, she considered certain of the Bradford Hill criteria in

  rendering her opinion and criticized the Bradford Hill analyses conducted by

  Plaintiffs’ experts.   (See id. at 1974–76.)   Dr. Saenz specifically considered the

  following Bradford Hill factors: (1) strength of association, (2) consistency, (3)

  coherence, (4) dose-response, and (5) biological plausibility. (Id. at 1974.) In sum,

  Dr. Saenz found that

               the epidemiologic literature on the association between the
               use of talc in the genital area and the development of
               ovarian cancer does not support a causal role for talc. The
               case-control studies are inconsistent, both between studies
               and within individual studies and they are unable to
               demonstrate a dose-response curve; the cohort studies do
               not demonstrate any statistically significant associations
               across the tens of thousands of women studied over decades
               and they undermine the hypothesis of biologic[al]
               plausibility; and lastly the meta-analyses bring nothing
               new to the discussion, again rehashing the same data many
               times over and still being unable to demonstrate any
               changes in the purported strength of association or any
               evidence of a dose-response curve.

  (Saenz Expert Rep., at 17.)

        Plaintiffs raise two key arguments as to why Dr. Saenz’s testimony in this

  matter should be excluded. First, Plaintiffs posit that Dr. Saenz did not properly

  consider the “totality of the evidence” because she gave greater weight to the cohort

  studies than the case-control studies.     (Pls.’ Gynecology-Oncology Br., at 6–22.)

  Notably, Plaintiffs assert that Dr. Saenz dismissed statistically significant case-

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  control studies simply because they had a relative risk of less than 2.0 and that she

  relies on no epidemiologic authority for her dismissal of the case control studies. (Id.

  at 14–22.)

        I first address the contention that Dr. Saenz unreliably weighed the case-

  control and cohort studies. At the Daubert hearing, Dr. Saenz explained that she

  placed greater weight on the cohort studies because she “think[s] they are more

  scientifically credible because they are not as subject to the biases of the case-control

  studies.” (Saenz Daubert Hr’g Tr., at 1912.) In her expert report, Dr. Saenz provides

  detailed reasons as to why she placed more weight on the cohort studies than the

  case-control studies. (See Saenz Expert Rep., at 9–13.) Indeed, Dr. Saenz identifies

  certain internal inconsistencies of the case-control studies and highlights the high

  risk of recall bias “that is inherent not just in the case-control studies on talc and

  ovarian cancer, but all case-control studies.” (See id.) The Court is satisfied that Dr.

  Saenz has provided “good grounds” for her opinions with respect to the weight she

  placed on the varying case-control and cohort studies. Plaintiffs may disagree with

  Dr. Saenz’s assessment of the epidemiology studies, but, as this Court has stated

  repeatedly, “Daubert neither requires nor empowers trial courts to determine which

  of several competing scientific theories has the best provenance.” Mitchell, 365 F.3d

  at 244 (quoting Ruiz-Troche, 161 F.3d at 85. It is clear from the extensive briefing in

  this matter that the experts disagree about how to assess and weigh the relevant

  epidemiological studies related to the question of whether talc use causes ovarian

  cancer. Resolution of that disagreement is reserved for the finder of fact.



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        Next, Plaintiffs challenge Dr. Saenz’s testimony as to biological plausibility.

  In this regard, Plaintiffs raise two arguments: (1) Dr. Saenz incorrectly requires proof

  of a mechanism, and (2) Dr. Saenz’s testimony on biological plausibility is unreliable

  because she admittedly did not review all the relevant studies cited by Plaintiffs’

  experts with respect to this Bradford Hill criteria. (See Pls.’ Gynecology-Oncology

  Br., at 22–31.) Plaintiffs specifically take issue with Dr. Saenz’s failure to review five

  in vitro studies which they allege demonstrate Plaintiffs’ theory of biological

  plausibility: (1) the 2007 Buz’Zard study, (2) the 2009 Shukla study, (3) the 2010 and

  2014 Ahktar studies, and (4) Dr. Saed’s 2019 in vitro study. (See Saenz Daubert Hr’g

  Tr., at 1936–37.) Dr. Saenz explained that she “knew about the studies, and [she]

  knew from reading the expert reports that none of these studies actually showed

  malignant transformation,” and thus, she determined they were not important to her

  analysis. (Id. at 1938, 1976.) Dr. Saenz further testified that she did, in fact, read

  and consider Dr. Saed’s 2019 study as set forth in his expert report in this matter.

  (See id. at 1937.)

        It is axiomatic that “[w]here an expert ignores evidence that is highly relevant

  to [her] conclusion, contrary to [her] own stated methodology, exclusion of the expert’s

  testimony is warranted.” Mirena II, 341 F. Supp. 3d at 241. There is not, however,

  any requirement that an expert review every single study in the relevant body of

  literature. See, e.g., In re C .R. Bard, Inc. v. Pelvic Repair Sys. Prods. Liab. Litig.,

  MDL No. 2187, 2018 WL 4220616, at *5 (S.D. W. Va. Sept. 5, 2018) (observing that

  “nothing in Daubert requires an expert to consider every single article on a topic in



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  order to be admitted as an expert”); In re Testosterone Replacement Therapy Prods.

  Liab. Litig. Coordinated Pretrial Proceedings, MDL No. 2545, 2018 WL 4030585, at

  *6 (N.D. Ill. Aug. 23, 2018) (finding that simply because an expert did not consider

  all studies deemed relevant by the opposing party or overlooked a study “does not

  mean that he unreliably applies his methodology”). Here, Dr. Saenz’s deliberate

  choice to not review these articles identified by Plaintiffs, does not render her opinion

  inadmissible. Dr. Saenz explained that because the studies referred to, but did not

  reveal, any malignancy from talc, she did not view them as relevant on the question

  of biological plausibility.    While Plaintiffs dispute Dr. Saenz’s opinion, that

  disagreement is better explored on cross-examination.

        As to Dr. Saenz’s opinion on biological plausibility, Plaintiffs submit that Dr.

  Saenz unreliably requires that there be “proof” that talc can migrate from the

  perineum to the ovaries, notably in the form of a mechanistic study.               (Pls.’

  Gynecology-Oncology Br., at 22–23.) However, at the Daubert hearing, Dr. Saenz

  testified that biological plausibility does not require “proof positive, nor does it need

  to be an exact representation of whatever is your hypothesis,” but that there needs to

  be “enough science to make sense and extend it.” (Saenz Daubert Hr’g Tr., at 1827–

  28.) Dr. Saenz disagrees with both the aspects of biological plausibility theory put

  forth by Plaintiffs’ general causation experts—migration and inflammation—based

  on her clinical experience as a gynecologic-oncologist and her review of the

  epidemiological literature. (See id. at 1828–32.) Based on her testimony, Dr. Saenz

  questions the scientific basis of the biologic mechanism presented by Plaintiffs’



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  general causation experts. Where those experts purport to present a supported

  hypothetical mechanism, Dr. Saenz asserts that they have proffered a guess that is

  not based on sufficient scientific evidence. Again, resolution of that question would

  require the Court to weigh the credibility or reliability of each expert’s theory to

  determine which is more correct; that is not within the province of a judge on a

  Daubert motion. See Gutierrez, 2006 WL 3246605, at *8.

        In what has become a repeated refrain in this Opinion, I again note that the

  dispute between the parties on the admissibility of various causation experts, here,

  boils down to which experts are more accurate in their opinions based on competing

  interpretations of the relevant studies. While Plaintiffs attempt to undermine the

  reliability of Dr. Saenz’s testimony, the Court finds that Dr. Saenz’s opinions are

  admissible under Daubert. Accordingly, Plaintiffs’ motion to exclude Dr. Saenz is also

  denied.

        C.     Dr. Benjamin Neel

        Dr. Neel is proffered by Defendants as an expert in cancer biology. Dr. Neel is

  currently the Acting-Director of the Laura and Issac Perlmutter Cancer Center at

  NYU Langone Health. (Neel Daubert Hr’g Tr., at 279–80.) He is a Professor of

  Medicine at NYU School of Medicine, where he also runs a 13-person research

  laboratory. (Id. at 280.) The focus of Dr. Neel’s research laboratory is “cell signaling

  in normal cells and how that is regulated in cancer” and “on generating new models

  of ovarian cancer and the cell of origin of ovarian cancer. (Id. at 282.) Dr. Neel

  received a Ph.D. in viral oncology at the Rockefeller University in 1982 and his M.D.



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  from Cornell University Medical School in 1983. (Neel Expert Rep., at 2.)

        Dr. Neel opines that “[t]alc is not genotoxic, does not cause mutations, does not

  cause inflammation in the female genitourinary tract and has not been shown to

  cause ovarian cancer.” (Neel Expert Rep., at 14.) The core of Dr. Neel’s opinions are

  focused on the experiment conducted by Dr. Saed, and in that connection, Dr. Neel

  opines that Dr. Saed’s in vitro study was “flawed on multiple levels” and that the

  results of his study do not support his conclusion that Defendants’ products can cause

  ovarian cancer. (Neel Daubert Hr’g Tr., at 303.) Dr. Neel additionally reviewed the

  epidemiological literature and, based on his interpretation of the relevant studies and

  his weighing of the Bradford Hill criteria, he concludes that there is no evidence to

  support Plaintiffs’ claim that perineal use of talcum powder can cause ovarian cancer.

  (Id. at 296; see also Neel Expert Rep., at 14–28.)

        Plaintiffs attack Dr. Neel’s opinions on two grounds. First, Plaintiffs argue

  that Dr. Neel’s opinion with respect to biological plausibility is not reliable because

  he is unaware of the constituent components of talc products, i.e., whether such

  products are fibrous, contain asbestos, or contain heavy metals. (Pls.’ Br. in Supp.

  Mot. to Exclude Defs.’ Molecular Biologists (“Pls.’ Molecular Biology Br.”), at 13.)

  Second, Plaintiffs contend that Dr. Neel is not qualified to testify “regarding the

  strengths and weaknesses of the epidemiological studies,” nor is he qualified to

  conduct a Bradford Hill analysis, as he did here. (Id. at 28.) Defendants maintain

  that Dr. Neel need not consider the components of talc in his opinion because his

  report is focused on criticizing the methodologies of Plaintiffs’ experts and, to the



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  extent he offers an opinion on biological plausibility, his testimony is focused on in

  vitro studies that considered the carcinogenic effect of talc, notwithstanding talc’s

  components. (Defs.’ Br. in Opp. Pls.’ Mot. to Exclude Defs.’ Molecular Biologists

  (“Defs.’ Molecular Biology Br.”)., at 14–17.) Defendants additionally argue that Dr.

  Neel, as a medical doctor, is qualified to opine as to the epidemiologic evidence. (Id.

  at 19–22.)

        At the outset, it appears that Plaintiffs do not move to exclude Dr. Neel’s

  rebuttal opinion to Dr. Saed’s testimony.        Indeed, Plaintiffs’ briefing makes no

  mention of Dr. Neel’s testimony in this regard, or otherwise suggests it to be

  unreliable or inadmissible under Daubert.        The Court, after hearing Dr. Neel’s

  testimony at the Daubert hearing and reviewing his expert report, finds that Dr. Neel

  can reliably serve as a rebuttal expert as to Dr. Saed’s opinion that talc causes cellular

  inflammation. 53 Cf. In re Front Loading Washing Machine Class Action Litig., No.

  08-51, 2013 WL 3466821, at *4–5 (D.N.J. July 10, 2013) (admitting testimony of

  rebuttal expert where he reliably reviewed testing conducted by other experts in the

  proceeding). In short, there is no basis for the Court to find that Dr. Neel’s opinions

  in this specific context are unreliable under Daubert.

        What Plaintiffs argue is that Dr. Neel’s opinion is unreliable because he did



  53     The Court notes that to the extent Dr. Neel is called to rebut the expert
  testimony of Dr. Saed, his opinions must be limited to Dr. Saed’s admissible opinions.
  As the Court determined above, Dr. Saed’s testimony is limited to his finding that
  talc causes inflammation and oxidative stress. Dr. Saed will not be permitted to opine
  as to whether such inflammation leads to ovarian cancer. Correspondingly, Dr. Neel
  will not be permitted to rebut any portion of Dr. Saed’s report that has been excluded
  by the Court.
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  not consider the components of talc. In other words, Plaintiffs fault Dr. Neel for not

  analyzing whether talc contains known carcinogens, such as asbestos or other heavy

  metals, because, they argue, knowledge of the components of talc is essential to any

  opinion as to whether talc causes ovarian cancer. (See Pls.’ Molecular Biology Br., at

  12–14.)   Defendants argue Plaintiffs ignore the “core” of Dr. Neel’s report and

  opinion—that is, to critique the methodologies employed by Plaintiffs’ experts. (Defs.’

  Molecular Biology Br., at 12.) Defendants maintain that “the alleged contamination

  of talc with other substances is utterly irrelevant to” Dr. Neel’s opinion. (See id. at

  15.) The Court agrees. There is no requirement that Dr. Neel opine as to the

  components of talc; indeed, Dr. Neel has been proffered as an expert to rebut the

  methodology employed by Dr. Saed in conducting his in vitro study. That study does

  not make any finding as to whether any component of talc is carcinogenic, but instead

  opines that talc itself can cause inflammation and oxidative stress. The issue of the

  composition of talc is, thus, irrelevant to Dr. Neel’s testimony, and his silence as to

  those components does not render his testimony unreliable.

        Plaintiffs additionally argue that Dr. Neel is not qualified to provide an opinion

  as to the strengths and weaknesses of the epidemiological studies, because he is not

  an epidemiologist. (Pls.’ Molecular Biology Br., at 32–33.) In so arguing, Plaintiffs

  concede that “the law recognizes that ‘most arguments about an expert’s

  qualifications relate more to the weight to be given the expert’s testimony than to its

  admissibility.” (Id. at 28 (quoting Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782

  (3d Cir. 1996).) Nevertheless, Plaintiffs state, without support, that because Dr. Neel



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  is not an epidemiologist, he cannot reliably opine as to causation determined by

  epidemiological grounds. Again, I disagree. The Third Circuit has made clear that

  an expert should not be excluded because he or she does not have “a certain kind of

  degree or background.” In re Paoli, 916 F.2d at 855; see also Pineda, 520 F.3d at 244

  (“[I]t is an abuse of discretion to exclude testimony simply because the trial court does

  not deem the proposed expert to be the best qualified or because the proposed expert

  does not have the specialization that the court considers most appropriate.”

  (alteration in original) (quoting Holbrook, 80 F.3d at 782)). Dr. Neel has extensive

  medical training, which establishes his qualifications to interpret the relevant

  epidemiologic literature. In addition to being a cancer biologist, Dr. Neel holds an

  M.D. This is sufficient to qualify him to render an opinion with respect to the

  epidemiological studies under Daubert. See, e.g., Wolfe, 881 F. Supp. 2d at 659;

  Mirena I, 169 F. Supp. 3d at 424.

        Finally, Plaintiffs argue that Dr. Neel incorrectly applies the Bradford Hill

  criteria as he places too much weight on biological plausibility.        Defendants, in

  response, maintain that Plaintiffs’ position distorts Dr. Neel’s testimony on this issue

  to make it appear that Dr. Neel, in his opinion, requires proof of biological plausibility

  as “essential.” (Defs.’ Molecular Biology Br., at 23–24.) Plaintiffs’ argument relies on

  Dr. Neel’s deposition testimony in which he explained that where “a series of

  epidemiological associations . . . are conflicting and weak, the biological plausibility

  becomes essential.” (Neel Dep. Tr., at 148.) Dr. Neel expanded on this testimony at

  the Daubert hearing, explaining that biological plausibility is “particularly important



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  when the other evidence is relatively inconsistent or weak.” (Neel Daubert Hr’g Tr.,

  at 294.) The doctor elaborated further that he understands biological plausibility to

  require “some credible scientific evidence supporting the hypothesis.” (Id. at 295.)

  This is an issue that goes to the weight of Dr. Neel’s testimony. Dr. Neel presented

  good grounds for his opinion that, where an association is weak and inconsistent,

  biological plausibility may become more important in the overall Bradford Hill

  analysis. While Plaintiffs disagree, that is not a reliability issue for this Court to

  decide. For these reasons, the Court denies Plaintiffs’ motion to exclude Dr. Neel.

  IV.      CONCLUSION

        For the foregoing reasons, the Court rules as follows:

           1. Defendants’ Motion to Exclude the Expert Testimony of Dr. Saed is

              GRANTED in part and DENIED in part. Specifically, Dr. Saed’s testimony

              is limited to his opinion and testing that talcum powder causes

              inflammation and oxidative stress. Dr. Saed is not permitted to opine as to

              any connection between talcum powder use and ovarian cancer.

           2. Defendants’ Motion to Exclude the Testimony of Dr. Longo is GRANTED in

              part and DENIED in part. Dr. Longo is permitted to opine as to his findings

              of asbestos in Defendants’ talcum powder products based on his TEM

              analysis; however, any opinions based on his PLM analysis are excluded.

              Further, his opinion that women who used talcum powder products were

              exposed to asbestos is excluded as unreliable.

           3. Defendants’ Motion to Exclude the Testimony of Plaintiffs’ General



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           Causation Experts—Drs. McTiernan, Carson, and Clarke-Pearson, is

           GRANTED in part and DENIED in part. Plaintiffs’ General Causation

           Experts will not be permitted to testify as to their secondary theory of

           biological plausibility—i.e., that ovarian cancer may be caused by

           inhalation of talcum powder that travels through the lymphatic system to

           the ovaries. They may otherwise testify as to their opinions on all other

           Bradford Hill factors.

        4. Plaintiffs’ Motion to Exclude the Testimony of Dr. Diette is DENIED.

        5. Plaintiffs’ Motion to Exclude the Testimony of Dr. Saenz is DENIED.

        6. Plaintiffs’ Motion to Exclude the Testimony of Dr. Neel is DENIED.




  DATED: April 27, 2020                             s/ Freda L. Wolfson
                                                    Freda L. Wolfson
                                                    Chief U.S. District Judge




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